PACHULSKI STANG ZIEHL & JONES LLP
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Counsel for the Debtor and Debtor in Possession

                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

                                                                 §
In re:                                                           § Chapter 11
                                                                 §
HIGHLAND CAPITAL MANAGEMENT, L.P.,1                              § Case No. 19-34054-sgj11
                                                                 §
                                    Debtor.                      §
                                                             Objection Deadline: May 11, 2021 at 4:00 p.m. (ET)
                                                                      Hearing Date: Scheduled only if necessary

            EIGHTEENTH MONTHLY APPLICATION FOR COMPENSATION
            AND REIMBURSEMENT OF EXPENSES OF PACHULSKI STANG
               ZIEHL & JONES LLP AS COUNSEL TO THE DEBTOR FOR
            THE PERIOD FROM MARCH 1, 2021 THROUGH MARCH 31, 2021




1
 The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service
address for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.
DOCS_SF:105340.1 36027/002
Name of Applicant:                                     Pachulski Stang Ziehl & Jones LLP

Authorized to Provide Professional Services to:        Debtor and Debtor in Possession
                                                       October 16, 2019 by Order entered December 2,
Date of Retention:
                                                       2019
Period for which Compensation and
                                                       March 1, 2021 - March 31, 2021
Reimbursement is Sought:
Amount of Compensation Sought as Actual,
                                                       $1,277,710.00
Reasonable and Necessary:
Amount of Expense Reimbursement Sought as
                                                       $13,687.50
Actual, Reasonable and Necessary:

This is a:            monthly               interim                 final application.

                  The total time expended for preparation of this monthly fee application is

approximately 7.0 hours and the corresponding compensation requested is approximately

$5,000.00.

                             PRIOR MONTHLY APPLICATIONS FILED

  Date                                  Requested         Requested        Approved            Approved
                  Period Covered
  Filed                                    Fees           Expenses            Fees             Expenses
12/11/19       10.16.19 – 10.31.19     $ 383,583.75       $ 9,958.84      $ 383,583.75         $ 9,958.84
12/30/19       11.01.19 – 11.30.19     $ 798,767.50       $26,317.71      $ 798,767.50         $26,317.71
01/24/20       12.01.19 – 12.31.19     $ 589,730.75       $26,266.80      $ 589,730.75         $26,266.80
02/20/20       01.01.20 – 01.31.20     $ 898,094.25       $28,854.75      $ 898,094.25         $28,854.75
03/19/20       02.01.20 – 02.29.20     $ 941,043.50       $ 8,092.94      $ 941,043.50         $ 8,092.94
04/14/20       03.01.20 – 03.31.20     $1,222,801.25      $18,747.77      $1,222,801.25        $18,747.77
05/21/20       04.01.20 – 04.30.20     $1,113,522.50      $ 3,437.28      $1,113,522.50        $ 3,437.28
06/23/20       05.01.20 – 05.31.20     $ 803,509.50       $ 4,372.94      $ 803,509.50         $ 4,372.94
07/20/20       06.01.20 – 06.30.20     $ 818,786.50       $ 3,205.81      $ 818,786.50         $ 3,205.81
08/11/20       07.01.20 – 07.31.20     $ 739,976.00       $ 1,189.12      $ 739,976.00         $ 1,189.12
09/24/20       08.01.20 – 08.31.20     $ 672,815.00       $ 3,428.14      $ 672,815.00         $ 3,428.14
10/21/20       09.01.20 – 09.30.20     $ 828,193.00       $ 7,707.11      $ 828,193.00         $ 7,707.11
11/20/20       10.01.20 – 10.31.20     $1,119,675.50      $19,132.28      $1,119,675.50        $19,132.28
12/07/20       11.01.20 – 11.30.20     $ 759,428.00       $ 1,672.80      $ 759,428.00         $ 1,672.80
01/19/21       12.01.20 – 12.30.20     $1,046,024.00      $ 4,130.90      $1,046,024.00        $ 4,130.90
03/16/21       01.01.21 – 01.31.21     $2,557,604.00      $32,906.65      $2,557,604.00        $32,906.65
03/26/21       02.01.21 – 02.28.21     $1,358,786.50      $21,401.29        Pending            Pending




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                                    PSZ&J PROFESSIONALS

                                Position of the Applicant,      Hourly
                                 Number of Years in that        Billing     Total
 Name of Professional                                                                   Total
                                 Position, Prior Relevant        Rate       Hours
     Individual                                                                      Compensation
                              Experience, Year of Obtaining   (including    Billed
                                    License to Practice        Changes)
                             Partner 1983; Member CA Bar
Richard M. Pachulski                                          $1,595.00    0.40      $638.00
                             1979
                             Partner 2001; Member NY Bar
Robert J. Feinstein                                           $1,395.00    52.10     $72,679.50
                             1982
                             Partner 1987; Member CA Bar
Ira D. Kharasch                                               $1,325.00    68.80     $91,160.00
                             1982; Member NY Bar 2011
                             Partner 1995; Member CA Bar
Jeffrey N. Pomerantz                                          $1,295.00    150.90    $195,415.50
                             1989
                             Partner 2008; Member NY Bar
John A. Morris                                                $1,245.00    134.30    $167,203.50
                             1991
                             Of Counsel 2020; Member TX
Judith Elkin                                                  $1,195.00    118.50    $141,607.50
                             Bar 1982; Member NY Bar 2004
                             Of Counsel 2020; Member NY
Karen B. Dine                                                 $1,195.00    5.20      $6,214.00
                             Bar 1994
                             Partner 1999; Member NY Bar
Iain A.W. Nasatir                                             $1,145.00    18.80     $21,526.00
                             1983; Member CA Bar 1990
                             Partner 2005; Member PA Bar
James E. O’Neill                                              $1,050.00    17.20     $18,060.00
                             1985; Member DE Bar 2001
                             Partner 2006; Member CA Bar
Joshua M. Fried                                               $1,050.00    57.90     $60,795.00
                             1995; Member NY Bar 1999
                             Of Counsel 1999; Member CA
Jonathan J. Kim                                                 $995.00    13.80     $13,731.00
                             Bar 1996
                             Of Counsel 2019; Member IL Bar
Gregory V. Demo                                                 $950.00    243.60    $231,420.00
                             2008; Member NY Bar 2015
                             Of Counsel 2009; Member CA
Elissa A. Wagner                                                $925.00    23.70     $21,922.50
                             Bar 2001; Member AZ Bar 2009
                             Of Counsel 2001; Member NY
Robert M. Saunders           Bar 1984; Member FL Bar 1995;      $925.00    63.50     $58,737.50
                             Member CA Bar 2003
                             Associate 2020; Member NY Bar
Hayley R. Winograd                                              $695.00    183.50    $127,532.50
                             2018




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                                Position of the Applicant,      Hourly
                                 Number of Years in that        Billing     Total
 Name of Professional                                                                   Total
                                 Position, Prior Relevant         Rate      Hours
     Individual                                                                      Compensation
                              Experience, Year of Obtaining   (including    Billed
                                    License to Practice        Changes)
Leslie A. Forrester          Law Library Director                $475.00   11.40     $5,415.00
Karina K. Yee                Paralegal                           $460.00   14.50     $6,670.00
La Asia S. Canty             Paralegal                           $460.00   66.80     $30,728.00
Patricia J. Jeffries         Paralegal                           $460.00   3.30      $1,518.00
Mike A. Matteo               Paralegal                           $425.00   1.20      $510.00
Melisa DesJardien            Other                               $395.00   3.20      $1,264.00
Beatrice M. Koveleski        Case Management Assistant           $375.00   7.90      $2,962.50

                                       Grand Total:    $1,277,710.00
                                       Total Hours:         1260.50
                                       Blended Rate:      $1,013.65




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                             COMPENSATION BY CATEGORY

           Project Categories                   Total Hours                  Total Fees
Asset Analysis/ Recovery                            31.20                      $30,337.50
Appeals                                             72.30                      $53,902.50
Bankruptcy Litigation                              448.20                     $451,649.00
Case Administration                                 55.00                      $46,756.00
Claims Administration/ Objections                  119.20                     $122,339.50
Compensation Professionals                          13.60                      $13,898.50
Compensation Professionals/ Other                     6.50                      $5,978.00
Employee Benefits/ Pension                          11.60                      $12,706.50
Executory Contracts                                 19.80                      $21,312.50
General Business Advice                             36.30                      $41,991.00
General Creditors’ Committee                        12.70                      $15,020.00
Plan & Disclosure Statement                        423.60                     $451,473.50
Retention of Professionals                            1.60                      $1,680.00
Retention of Professionals/ Others                    4.40                      $3,870.00
Tax Issues                                            4.50                      $4,795.50
Total                                            1,260.50                   $1,277,710.00


                                     EXPENSE SUMMARY

                                                  Service Provider                   Total
         Expense Category
                                                   (if applicable)                  Expenses
                                     Elite Transportation, First City Cab, JTL
Auto Travel Expense                                                                 $1,519.40
                                     Management Cab, NYC Taxi
Bloomberg – Online Research                                                         $ 134.60
Conference Call                      AT&T, CourtCall, Loop Up                       $1,264.15
Federal Express                                                                     $ 237.07
                                     USBC SDNY, USDC SDNY, Supreme
Filing Fee                                                                          $ 512.00
                                     Court, 5th Circuit Court of Appeals
Legal Vision – Atty Mess. Srvc.                                                     $ 130.00
Lexis/Nexis – Legal Research                                                        $3,562.13
Outside Service                      Everlaw – eDiscovery Database                  $2,054.50
Pacer – Court Research                                                              $ 422.70
Postage                                                                             $ 446.02
Reproduction Expense                                                                $ 162.40
Reproduction/ Scan Copy                                                             $1,761.10
Transcript                           TSG Reporting                                  $1,276.80
Travel Expense                       Parking                                        $ 48.50
                                     BCD Tofu House, Chodang Gol, KFC,
Working Meals                                                                       $ 156.13
                                     Naya
Total                                                                              $13,687.50



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Counsel for the Debtor and Debtor in Possession

                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

                                                                 §
In re:                                                           § Chapter 11
                                                                 §
HIGHLAND CAPITAL MANAGEMENT, L.P.,1                              § Case No. 19-34054-sgj11
                                                                 §
                                    Debtor.                      §
                                                             Objection Deadline: May 11, 2021 at 4:00 p.m. (ET)
                                                                      Hearing Date: Scheduled only if necessary

            EIGHTEENTH MONTHLY APPLICATION FOR COMPENSATION
            AND REIMBURSEMENT OF EXPENSES OF PACHULSKI STANG
               ZIEHL & JONES LLP AS COUNSEL TO THE DEBTOR FOR
            THE PERIOD FROM MARCH 1, 2021 THROUGH MARCH 31, 2021




1
 The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service
address for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.



DOCS_SF:105340.1 36027/002
                  Pursuant to sections 330 and 331 of Title 11 of the United States Code (the

“Bankruptcy Code”), Rule 2016 of the Federal Rules of Bankruptcy Procedure (collectively, the

“Bankruptcy Rules”), Rule 2016-1 of the Local Bankruptcy Rules of the United States

Bankruptcy Court for the Northern District of Texas (collectively, the “LBR”), and the Order

Establishing Procedures for Interim Compensation and Reimbursement of Expenses of

Professionals [Docket No. 141] (the “Administrative Order”), Pachulski Stang Ziehl & Jones

LLP (“PSZ&J” or the “Firm”), counsel for the above-captioned debtor and debtor in possession

(the “Debtor”) hereby submits its Eighteenth Monthly Application for Compensation and for

Reimbursement of Expenses for the Period from March 1, 2021 through March 31, 2021 (the

“Application”).

                  By this Application, PSZ&J seeks (i) a monthly interim allowance of

compensation in the amount of $1,277,710.00 and actual and necessary expenses in the amount

of $13,687.50 for a total allowance of $1,291,397.50 and (ii) payment of $1,022,168.00 (80% of

the allowed fees pursuant to the Administrative Order) and reimbursement of $13,687.50 (100%

of the allowed expenses pursuant to the Administrative Order) for a total payment of

$1,035,855.50 for the period March 1, 2021 through March 31, 2021 (the “Interim Period”). In

support of this Application, PSZ&J respectfully represents as follows:

                                                Background

                  1.         On October 16, 2019 (the “Petition Date”), the Debtor filed a voluntary

petition for relief under chapter 11 of the Bankruptcy Code in the United States Bankruptcy

Court for the District of Delaware (the “Delaware Court”). The Debtor has continued in the



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possession of its property and has continued to operate and manage its business as a debtor-in-

possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. No trustee or

examiner has been appointed in this chapter 11 case.

                  2.         On October 29, 2019, the Official Committee of Unsecured Creditors (the

“Committee”) was appointed by the U.S. Trustee in the Delaware Court.

                  3.         On November 14, 2019, the Delaware Court entered the Administrative

Order authorizing certain professionals and members of any official committee (collectively

referred to hereafter as “Professionals”) to submit monthly applications for interim compensation

and reimbursement of expenses pursuant to the procedures specified therein. The Administrative

Order provides, among other things, that (i) a Professional may submit monthly fee applications

and (ii) if no objections are made within twenty-one (21) days after service of the monthly fee

application, the Debtor is authorized to pay the Professional eighty percent (80%) of its

requested fees and one hundred percent (100%) of its requested expenses. The Administrative

Order further provides that, beginning with the period ending December 31, 2019, and at three-

month intervals thereafter—or such other intervals convenient to the Court—each Professional

may file an interim application with seeking Court-approval and allowance of the amounts

sought in the Professional’s monthly fee applications for that period. The Administrative Order

further provides that all fees and expenses paid during the pendency of the Debtor’s case are on

an interim basis until final allowance by the Court.

                  4.         On December 4, 2019, the Delaware Court entered an Order [Docket No.

186] transferring venue of the Debtor’s bankruptcy case to this Court.



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                  5.         The retention of PSZ&J, as counsel to the Debtor, was approved effective

as of October 16, 2019, by the Delaware Court’s Order Pursuant to Section 327(a) of the

Bankruptcy Code, Rule 2014 of the Federal Rules of Bankruptcy Procedure and Local Rule

2014-1 Authorizing the Employment and Retention of Pachulski Stang Ziehl & Jones LLP as

Counsel for the Debtor and Debtor in Possession Nunc Pro Tunc to the Petition Date, signed on

December 2, 2019 [Docket No. 183] (the “Retention Order”). The Retention Order authorized

PSZ&J to be compensated on an hourly basis and to be reimbursed for actual and necessary out-

of-pocket expenses.

                       PSZ&J’S APPLICATION FOR COMPENSATION AND
                            FOR REIMBURSEMENT OF EXPENSES

                                    Compensation Paid and Its Source

                  6.         All services for which PSZ&J requests compensation were performed for

or on behalf of the Debtor. PSZ&J has received no payment and no promises for payment from

any source other than the Debtor for services rendered or to be rendered in any capacity

whatsoever in connection with the matters covered by this Application. There is no agreement or

understanding between PSZ&J and any other person other than the partners of PSZ&J for the

sharing of compensation to be received for services rendered in this case.

                  7.         PSZ&J had received payments from the Debtor during the year prior to the

Petition Date in the amount of $500,000, including the Debtor’s filing fee for this case, in

connection with the preparation of initial documents and the prepetition representation of the

Debtor. PSZ&J is current as of the Petition Date and has completed its final reconciliation of

prepetition fees and expenses (subject to any prepetition expenses that have not been received to


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date). Any retainer balance remaining from the prepetition payments to PSZ&J will be credited

to the Debtor and utilized as PSZ&J’s retainer to apply to postpetition fees and expenses

pursuant to the approved compensation procedures.

                                               Fee Statements

                  8.         The fee statements for the Interim Period are attached hereto as Exhibit A.

These statements contain daily time logs describing the time spent by each attorney and

paraprofessional during the Interim Period. To the best of PSZ&J’s knowledge, this Application

complies with sections 330 and 331 of the Bankruptcy Code, the Bankruptcy Rules and the

Administrative Order. PSZ&J’s time reports are entered by or at the direction of the attorney or

paralegal performing the described services. The time reports are organized on a daily basis.

PSZ&J is particularly sensitive to issues of “lumping” and, unless time was spent in one time

frame on a variety of different matters for a particular client, separate time entries are set forth in

the time reports. PSZ&J’s charges for its professional services are based upon the time, nature,

extent and value of such services and the cost of comparable services other than in a case under

the Bankruptcy Code. PSZ&J has reduced its charges related to any non-working travel time to

fifty percent (50%) of PSZ&J’s standard hourly rate. To the extent it is feasible, PSZ&J

professionals attempt to work during travel.

                                      Actual and Necessary Expenses

                  9.         A summary of actual and necessary expenses incurred by PSZ&J for the

Interim Period is attached hereto as part of Exhibit A. PSZ&J customarily charges $0.10 per

page for photocopying expenses related to cases, such as this, arising in Delaware. PSZ&J’s



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photocopying machines automatically record the number of copies made when the person that is

doing the copying enters the client’s account number into a device attached to the photocopier.

PSZ&J summarizes each client’s photocopying charges on a daily basis.

                  10.        PSZ&J charges $0.25 per page for out-going facsimile transmissions.

There is no additional charge for long distance telephone calls on faxes. The charge for outgoing

facsimile transmissions reflects PSZ&J’s calculation of the actual costs incurred by PSZ&J for

the machines, supplies and extra labor expenses associated with sending telecopies and is

reasonable in relation to the amount charged by outside vendors who provide similar services.

PSZ&J does not charge the Debtor for the receipt of faxes in this case.

                  11.        With respect to providers of on-line legal research services (e.g., LEXIS

and WESTLAW), PSZ&J charges the standard usage rates these providers charge for

computerized legal research. PSZ&J bills its clients the actual amounts charged by such

services, with no premium. Any volume discount received by PSZ&J is passed on to the client.

                  12.        PSZ&J believes the foregoing rates are the market rates that the majority

of law firms charge clients for such services. In addition, PSZ&J believes that such charges are

in accordance with the American Bar Association’s (“ABA”) guidelines, as set forth in the

ABA’s Statement of Principles, dated January 12, 1995, regarding billing for disbursements and

other charges.

                                      Summary of Services Rendered

                  13.        The names of the timekeepers of PSZ&J who have rendered professional

services in this case during the Interim Period are set forth in the attached Exhibit A. PSZ&J, by



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and through such persons, has prepared and assisted in the preparation of various motions and

orders submitted to the Court for consideration, advised the Debtor on a regular basis with

respect to various matters in connection with the Debtor’s case, and performed all necessary

professional services which are described and narrated in detail below. PSZ&J’s efforts have

been extensive due to the size and complexity of the Debtor’s case.

                                      Summary of Services by Project

                  14.        The services rendered by PSZ&J during the Interim Period can be grouped

into the categories set forth below. PSZ&J attempted to place the services provided in the

category that best relates to such services. However, because certain services may relate to one

or more categories, services pertaining to one category may in fact be included in another

category. These services performed, by categories, are generally described below, with a more

detailed identification of the actual services provided set forth on the attached Exhibit A.

Exhibit A identifies the attorneys and paraprofessionals who rendered services relating to each

category, along with the number of hours for each individual and the total compensation sought

for each category.

A.       Asset Analysis/ Recovery

                  15.        Time billed to this category relates to the analysis of the Debtor’s assets,

issues relating to the distribution of assets of funds managed by the Debtor. Much of the time

incurred during the Interim Period relates to transitional issues concerning the post confirmation

operation of the Debtor’s business and issues concerning shared service arrangements with third

parties. During the Interim Period, the Firm, among other things, (i) addressed issues concerning



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potential asset sales; (ii) addressed issues concerning the Multi Strat and Eagle Equity

transactions; and (iii) addressed additional operational issues associated with the Debtor’s

chapter 11 plan.

                             Fees: $30,337.50              Hours: 31.20

B.       Appeals

                  16.        Time allocated to this category during the Interim Period relates to

litigation in response to the multiple appeals of orders entered by the Court by Mr. Dondero and

certain related entities, including responding to a writ of mandamus petition and addressing

issues regarding the direct of appeal of the plan confirmation order to the Fifth Circuit.

                             Fees: $53,902.50              Hours: 72.30

C.       Bankruptcy Litigation

                  17.        During the Interim Period, the Firm, among other things: (i) prepared

pleadings, discovery documents, and scheduling orders in connection with the various note

adversary proceedings pending against certain defendants to recover amounts owed to the

Debtor; (ii) addressed issues concerning the settlement of claims with UBS and drafted

settlement documents in connection therewith; (iii) drafted pleadings, prepared for, and attended

the hearing relating to the motion for contempt against Mr. Dondero conducted on March 22 and

March 23, 2021; (iv) drafted summaries and litigation schedules with respect to several pending

adversary proceedings against Mr. Dondero and related entities; (v) drafted an opposition to the

petition for mandamus requested by Mr. Dondero and related entities; and (vi) prepared




DOCS_SF:105340.1 36027/002                             8
pleadings in connection with the motion for a stay of the Confirmation Order (defined below)

pending appeal by Mr. Dondero and related entities.

                             Fees: $451,649.00             Hours: 448.20

D.       Case Administration

                  18.        This category relates to work regarding administration of this case.

During the Interim Period, the Firm, among other things: (i) reviewed correspondences and

pleadings and forwarded them to appropriate parties; (ii) maintained a memorandum of critical

dates and drafted memoranda of pending core issues and activities; (iii) maintained service lists;

(iv) conferred and corresponded with parties in interest regarding case status and administration

issues; (v) conducted regular calls concerning lease and contract assumption issues; and (vi)

participated on regular internal status calls and regarding case issues, and pending matters.

                             Fees: $46,756.00              Hours: 55.00

E.       Claims Administration/ Objections

                  19.        During the Interim Period, the Firm, among other things: (i) drafted the

Debtor’s third omnibus objection to claims; (ii) conducted research regarding the assertion of

claims against the Debtor by certain former employees; (iii) drafted an objection to the claim of

Integrated Financial Associates; and (iv) addressed issues relating to various pending

administrative claims against the Debtor.

                             Fees: $122,339.50             Hours: 119.20




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F.       Compensation of Professionals

                  20.        Time billed to this category relates to compensation of the Firm. During

the Interim Period, the Firm prepared its February fee statement, and drafted certifications of

counsel regarding prior monthly fee statements.

                             Fees: $13,898.50              Hours: 13.60

G.       Compensation of Professionals/ Others

                  21.        Time billed to this category relates to compensation of estate

professionals, other than the Firm. During the Interim Period, the Firm, among other things:

(i) addressed inquiries regarding Deloitte’s fees and expenses; (ii) assisted DSI with the

preparation and filing of its monthly Staffing Reports and the Debtor’s ordinary course

professional report; and (iii) addressed issues in connection with the Debtor’s ordinary course

professional report.

                             Fees: $5,798.00               Hours: 6.50

H.       Employee Benefits/ Pension

                  22.        During the Interim Period, the Firm, among other things, addressed issues

in connection with employee claim issues and drafted a motion for pre-confirmation

compensation of James Seery.

                             Fees: $12,706.50              Hours: 11.60




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I.       Executory Contracts

                  23.        During the Interim Period, the Firm addressed issues in connection with

the assumption of certain CLO issuer agreements and researched issues regarding the assumption

of agreements assumed pursuant to the Confirmation Order.

                             Fees: $21,312.50              Hours: 19.80

J.       General Business Advice

                  24.        During the Interim Period, the Firm spent time preparing for and

participating in periodic telephonic meetings with the Debtor’s independent board of directors

and also regularly communicated with members of the Board regarding a variety of general

business matters, including claims reconciliation and objections, plan structure issues, and

insurance issues.

                             Fees: $41,991.00              Hours: 36.30

K.       General Creditors’ Committee

                  25.        During the Interim Period, the Firm conducted regular status and update

calls with the Committee and its professionals concerning case status issues.

                             Fees: $15,020.00              Hours: 12.70

L.       Plan & Disclosure Statement

                  26.        Time billed to this category during the Interim Period relates to issues

concerning the Debtor’s chapter 11 plan and the order confirming such plan entered by the Court

on February 22, 2021 (the “Confirmation Order”). The Firm reviewed and responded to the

appeals of the Confirmation Order filed by Mr. Dondero and certain related entities and the



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various motions to stay the Confirmation Order pending such appeals (the “Stay Pending Appeal

Motions’). The Firm researched issues and drafted oppositions to the Stay Pending Appeal

Motions. The Firm also prepared for and attended the hearing on the Stay Pending Appeal

Motions conducted by the Bankruptcy Court on March 19, 2021. The Firm assisted in the

preparation of pleadings concerning the appeal of the Bankruptcy Court’s March 19, 2021 order

denying the Stay Pending Appeal Motions to the district court.

                             Fees: $451,473.50              Hours: 423.60

M.       Retention of Professionals

                  27.        Time billed to this category relates to the preparation and filing of the

supplemental declaration filed by the Firm to its employment application.

                             Fees: $1,680.00                Hours: 1.60

N.       Retention of Professionals/ Others

                  28.        Time allocated to this category relates to issues concerning the retention of

other professionals, including services provided by Hunton Andews Kurth and Deloitte on behalf

of the Debtor.

                             Fees: $3,870.00                Hours: 4.40

O.       Tax Issues

         Time allocated to this category relates to issues concerning the prepetition tax audit of the

Debtor.

                             Fees: $4,795.00                Hours: 4.50




DOCS_SF:105340.1 36027/002                             12
                                           Valuation of Services

                  29.        Attorneys and paraprofessionals of PSZ&J expended a total 1,260.50

hours in connection with their representation of the Committee during the Interim Period, as

follows:

                                   Position of the Applicant,        Hourly
                                    Number of Years in that          Billing     Total
 Name of Professional                                                                        Total
                                    Position, Prior Relevant          Rate       Hours
     Individual                                                                           Compensation
                                 Experience, Year of Obtaining     (including    Billed
                                       License to Practice          Changes)
                                Partner 1983; Member CA Bar
Richard M. Pachulski                                                $1,595.00   0.40      $638.00
                                1979
                                Partner 2001; Member NY Bar
Robert J. Feinstein                                                 $1,395.00   52.10     $72,679.50
                                1982
                                Partner 1987; Member CA Bar
Ira D. Kharasch                                                     $1,325.00   68.80     $91,160.00
                                1982; Member NY Bar 2011
                                Partner 1995; Member CA Bar
Jeffrey N. Pomerantz                                                $1,295.00   150.90    $195,415.50
                                1989
                                Partner 2008; Member NY Bar
John A. Morris                                                      $1,245.00   134.30    $167,203.50
                                1991
                                Of Counsel 2020; Member TX
Judith Elkin                                                        $1,195.00   118.50    $141,607.50
                                Bar 1982; Member NY Bar 2004
                                Of Counsel 2020; Member NY
Karen B. Dine                                                       $1,195.00   5.20      $6,214.00
                                Bar 1994
                                Partner 1999; Member NY Bar
Iain A.W. Nasatir                                                   $1,145.00   18.80     $21,526.00
                                1983; Member CA Bar 1990
                                Partner 2005; Member PA Bar
James E. O’Neill                                                    $1,050.00   17.20     $18,060.00
                                1985; Member DE Bar 2001
                                Partner 2006; Member CA Bar
Joshua M. Fried                                                     $1,050.00   57.90     $60,795.00
                                1995; Member NY Bar 1999
                                Of Counsel 1999; Member CA
Jonathan J. Kim                                                      $995.00    13.80     $13,731.00
                                Bar 1996
                                Of Counsel 2019; Member IL Bar
Gregory V. Demo                                                      $950.00    243.60    $231,420.00
                                2008; Member NY Bar 2015
                                Of Counsel 2009; Member CA
Elissa A. Wagner                                                     $925.00    23.70     $21,922.50
                                Bar 2001; Member AZ Bar 2009
                                Of Counsel 2001; Member NY
Robert M. Saunders              Bar 1984; Member FL Bar 1995;        $925.00    63.50     $58,737.50
                                Member CA Bar 2003
                                Associate 2020; Member NY Bar
Hayley R. Winograd                                                   $695.00    183.50    $127,532.50
                                2018


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                                   Position of the Applicant,          Hourly
                                    Number of Years in that            Billing      Total
 Name of Professional                                                                             Total
                                    Position, Prior Relevant             Rate       Hours
     Individual                                                                                Compensation
                                 Experience, Year of Obtaining       (including     Billed
                                       License to Practice            Changes)
Leslie A. Forrester             Law Library Director                    $475.00    11.40       $5,415.00
Karina K. Yee                   Paralegal                               $460.00    14.50       $6,670.00
La Asia S. Canty                Paralegal                               $460.00    66.80       $30,728.00
Patricia J. Jeffries            Paralegal                               $460.00    3.30        $1,518.00
Mike A. Matteo                  Paralegal                               $425.00    1.20        $510.00
Melisa DesJardien               Other                                   $395.00    3.20        $1,264.00
Beatrice M. Koveleski           Case Management Assistant               $375.00    7.90        $2,962.50

                                             Grand Total:      $1,277,710.00
                                             Total Hours:           1260.50
                                             Blended Rate:        $1,013.65



                  30.        The nature of work performed by these persons is fully set forth in

Exhibit A attached hereto. These are PSZ&J’s normal hourly rates for work of this character.

The reasonable value of the services rendered by PSZ&J for the Debtor during the Interim Period

is $1,277,710.00.

                  31.        In accordance with the factors enumerated in section 330 of the

Bankruptcy Code, it is respectfully submitted that the amount requested by PSZ&J is fair and

reasonable given (a) the complexity of this case, (b) the time expended, (c) the nature and extent

of the services rendered, (d) the value of such services, and (e) the costs of comparable services

other than in a case under the Bankruptcy Code. Moreover, PSZ&J has reviewed the

requirements of the Administrative Order and the Guidelines for Reviewing Applications for

Compensation and Expense Reimbursement of Professionals, effective January 1, 2001 (the

“Guidelines”) and believes that this Application complies with such Order and Guidelines.



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                  WHEREFORE, PSZ&J respectfully requests that, for the period of March 1, 2021

through March 31, 2021, (i) an interim allowance be made to PSZ&J for compensation in the

amount $1,277,710.00 and actual and necessary expenses in the amount of $13,687.50 for a total

allowance of $1,291,397.50 and (ii) payment of $1,022,168.00 (80% of the allowed fees

pursuant to the Administrative Order) and reimbursement of $13,687.50 (100% of the allowed

expenses pursuant to the Administrative Order) for a total payment of $1,035,855.50, and for

such other and further relief as this Court may deem just and proper.

Dated: April 20, 2021                      PACHULSKI STANG ZIEHL & JONES LLP

                                             /s/ Jeffrey N. Pomerantz
                                           PACHULSKI STANG ZIEHL & JONES LLP
                                           Jeffrey N. Pomerantz (CA Bar No.143717)
                                           (admitted pro hac vice)
                                           Ira D. Kharasch (CA Bar No. 109084)
                                           (admitted pro hac vice)
                                           Gregory V. Demo (NY Bar 5371992)
                                           (admitted pro hac vice)
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                                                          gdemo@PSZ&Jlaw.com
                                           -and-

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                                           Zachary Z. Annable
                                           Texas Bar No. 24053075
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                                           Dallas, Texas 75231
                                           Tel: (972) 755-7100/ Fax: (972) 755-7110
                                           Counsel for the Debtor and
                                           Debtor in Possession




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                                CERTIFICATE OF SERVICE


        I hereby certify that a true and correct copy of the foregoing Application has been served
electronically via the Court’s CM/ECF system upon all parties appearing on the attached service
list.
                                             /s/ Jeffrey N. Pomerantz
                                             Jeffrey N. Pomerantz




DOCS_SF:105340.1 36027/002
In re Highland Capital Management, L.P.
Case No. 19-34054-sgj11
ECF Recipients:

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DOCS_SF:105340.1 36027/002                       3
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Counsel for the Debtor and Debtor in Possession

                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

                                                                 §
In re:                                                           § Chapter 11
                                                                 §
HIGHLAND CAPITAL MANAGEMENT, L.P.,1                              § Case No. 19-34054-sgj11
                                                                 §
                                    Debtor.                      §

                         CERTIFICATION OF JEFFREY N. POMERANTZ

         Jeffrey N. Pomerantz, under penalty of perjury, certifies as follows:

         1.       I am a partner with the law firm of Pachulski Stang Ziehl & Jones LLP

(“PSZ&J”). I make this certification in accordance with Appendix F of the Local Bankruptcy



1
 The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service
address for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.



DOCS_SF:105340.1 36027/002
Rules of the United States Bankruptcy Court for the Northern District of Texas (“Appendix F”)

regarding the contents of applications for compensation and expenses.

         2.       I have read the Eighteenth Monthly Application for Compensation and for

Reimbursement of Expenses of Pachulski Stang Ziehl & Jones LLP as Counsel to the Debtor for

the Period from March 1, 2021 to March 31, 2021 (the “Application”).

         3.       Pursuant to section I.G. of Appendix F, I hereby certify that, to the best of my

knowledge, information, and belief, formed after reasonable inquiry, that (a) the compensation

and expense reimbursement sought in the Application is in conformity with Appendix F, except

as specifically noted in the Application, and (b) the compensation and expense reimbursement

requested are billed at rates in accordance with practices no less favorable than those customarily

employed by PSZ&J and generally accepted by PSZ&J’s clients.

                  4.         I have reviewed the requirements of the Guidelines for Reviewing

Applications for Compensation and Expense Reimbursement of Professionals effective

January 1, 2001 (the “Guidelines”) and I believe that the Application complies with such

Guidelines

Dated: April 20, 2021
                                                          /s/ Jeffrey N. Pomerantz
                                                          Jeffrey N. Pomerantz




DOCS_SF:105340.1 36027/002                           2
                               Exhibit A
                             March 2021 Invoice




DOCS_SF:105340.1 36027/002
                                 Pachulski Stang Ziehl & Jones LLP
                                           10100 Santa Monica Blvd.
                                                  13th Floor
                                            Los Angeles, CA 90067
                                                                       March 31, 2021
Board of Directors                                                     Invoice 127522
Highland Capital Management LP                                         Client   36027
300 Crescent Court ste. 700                                            Matter   00002
Dallas, TX 75201
                                                                                JNP

RE: Postpetition

 _______________________________________________________________________________________

          STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 03/31/2021
                   FEES                                               $1,277,710.00
                   EXPENSES                                             $13,687.50
                   TOTAL CURRENT CHARGES                              $1,291,397.50

                   BALANCE FORWARD                                    $4,181,227.74
                   TOTAL BALANCE DUE                                  $5,472,625.24
Pachulski Stang Ziehl & Jones LLP                                     Page:     2
Highland Capital Management LP                                        Invoice 127522
36027 - 00002                                                         March 31, 2021




  Summary of Services by Professional
  ID        Name                        Title               Rate       Hours              Amount

 BMK        Koveleski, Beatrice M.      Case Man. Asst.    375.00       7.90            $2,962.50

 EAW        Wagner, Elissa A.           Counsel            925.00      23.70           $21,922.50

                                                                      243.60       $231,420.00
 GVD        Demo, Gregory Vincent       Counsel            950.00
                                                                      183.50       $127,532.50
 HRW        Winograd , Hayley R.        Associate          695.00
                                                                       18.80           $21,526.00
 IAWN       Nasatir, Iain A. W.         Partner           1145.00
                                                                       68.80           $91,160.00
 IDK        Kharasch, Ira D.            Partner           1325.00
 JAM        Morris, John A.             Partner           1245.00     134.30       $167,203.50

 JE         Elkin, Judith               Counsel           1195.00     118.50       $141,607.50

 JEO        O'Neill, James E.           Partner           1050.00      17.20           $18,060.00

 JJK        Kim, Jonathan J.            Counsel            995.00      13.80           $13,731.00

 JMF        Fried, Joshua M.            Partner           1050.00      57.90           $60,795.00

 JNP        Pomerantz, Jeffrey N.       Partner           1295.00     150.90       $195,415.50

 KBD        Dine, Karen B.              Counsel           1195.00       5.20            $6,214.00

 KKY        Yee, Karina K.              Paralegal          460.00      14.50            $6,670.00

 LAF        Forrester, Leslie A.        Other              475.00      11.40            $5,415.00

 LSC        Canty, La Asia S.           Paralegal          460.00      66.80           $30,728.00

 MAM        Matteo, Mike A.             Paralegal          425.00       1.20             $510.00

                                                                        3.20            $1,264.00
 MDJ        DesJardien, Melisa          Other              395.00
                                                                        3.30            $1,518.00
 PJJ        Jeffries, Patricia J.       Paralegal          460.00
                                                                       52.10           $72,679.50
 RJF        Feinstein, Robert J.        Partner           1395.00
 RMP        Pachulski, Richard M.       Partner           1595.00       0.40             $638.00

 RMS        Saunders, Robert M.         Counsel            925.00      63.50           $58,737.50

                                                                    1260.50        $1,277,710.00
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  Summary of Services by Task Code
  Task Code         Description                       Hours                       Amount

 AA                 Asset Analysis/Recovery[B120]     31.20                     $30,337.50

 AP                 Appeals [B430]                    72.30                     $53,902.50

 BL                 Bankruptcy Litigation [L430]     448.20                    $451,649.00

 CA                 Case Administration [B110]        55.00                     $46,756.00

 CO                 Claims Admin/Objections[B310]    119.20                    $122,339.50

 CP                 Compensation Prof. [B160]         13.60                     $13,898.50

 CPO                Comp. of Prof./Others              6.50                      $5,978.00

 EB                 Employee Benefit/Pension-B220     11.60                     $12,706.50

 EC                 Executory Contracts [B185]        19.80                     $21,312.50

 GB                 General Business Advice [B410]    36.30                     $41,991.00

 GC                 General Creditors Comm. [B150]    12.70                     $15,020.00

 PD                 Plan & Disclosure Stmt. [B320]   423.60                    $451,473.50

 RP                 Retention of Prof. [B160]          1.60                      $1,680.00

 RPO                Ret. of Prof./Other                4.40                      $3,870.00

 TI                 Tax Issues [B240]                  4.50                      $4,795.50

                                                         1260.50           $1,277,710.00
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  Summary of Expenses
  Description                                          Amount
Auto Travel Expense [E109]                    $1,519.40
Bloomberg                                       $134.60
Working Meals [E111]                            $156.13
Conference Call [E105]                        $1,264.15
Federal Express [E108]                          $237.07
Filing Fee [E112]                               $512.00
Lexis/Nexis- Legal Research [E                $3,562.13

Legal Vision Atty Mess Service                  $130.00
Outside Services                              $2,054.50
Pacer - Court Research                          $422.70
Postage [E108]                                  $446.02
Reproduction Expense [E101]                     $162.40
Reproduction/ Scan Copy                       $1,761.10
Travel Expense [E110]                            $48.50
Transcript [E116]                             $1,276.80

                                                     $13,687.50
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                                                                                         Hours           Rate     Amount

  Asset Analysis/Recovery[B120]
 03/01/2021   JAM      AA       Telephone conference with G. Demo, B. Sharp re:           0.70      1245.00       $871.50
                                disposition of certain computers/possible sale to
                                Advisors (0.4); e-mails with G. Demo, B. Sharp, P.
                                Montgomery, P. Reid re: disposition of certain
                                computers/possible sale to Advisors (0.3).
 03/01/2021   GVD      AA       Conference with J. Morris and B. Sharp re                 0.40       950.00       $380.00
                                transitioning of computers
 03/01/2021   GVD      AA       Conference with J. Romey and J. Seery re open             0.30       950.00       $285.00
                                transition issues
 03/01/2021   GVD      AA       Conference with HCMLP transition team re open             0.50       950.00       $475.00
                                issues and next steps
 03/01/2021   GVD      AA       Attend to issues re closing of purchase agreement         0.20       950.00       $190.00
 03/02/2021   JAM      AA       Telephone conference with G. Demo, B. Sharp re:           0.30      1245.00       $373.50
                                disposition of computers (0.2); e-mails with G.
                                Demo, B. Sharp, P. Montgomery re: disposition of
                                computers (0.1).
 03/02/2021   GVD      AA       Correspondence with counsel re final purchase             0.20       950.00       $190.00
                                agreement
 03/02/2021   GVD      AA       Multiple conferences with J. Romey re status of           0.50       950.00       $475.00
                                transition items
 03/02/2021   GVD      AA       Review back up materials re potential asset               0.40       950.00       $380.00
                                disposition issues
 03/03/2021   IDK      AA       Review of correspondence with CEO re Dondero              0.20      1325.00       $265.00
                                purchase offer, including review and consider same.
 03/03/2021   JNP      AA       Emails to and from Gregory V. Demo regarding              0.20      1295.00       $259.00
                                offer to acquire assets; Conference with Gregory V.
                                Demo regarding same.
 03/03/2021   GVD      AA       Correspondence with N. Burns re status of Korea           0.10       950.00        $95.00
                                Fund governance
 03/03/2021   GVD      AA       Correspondence with T. Silva re entity level control      0.20       950.00       $190.00
 03/03/2021   GVD      AA       Correspondence with J. Seery re potential asset           0.20       950.00       $190.00
                                purchase offer
 03/03/2021   GVD      AA       Conference with J. Romey re transition issues             0.40       950.00       $380.00
 03/03/2021   GVD      AA       Correspondence with DSI re cash reconciliation            0.10       950.00        $95.00
                                issues
 03/03/2021   GVD      AA       Prepare and circulate analysis of potential settlement    0.70       950.00       $665.00
                                offer
 03/03/2021   GVD      AA       Conference with T. Silva re control issues at             0.30       950.00       $285.00
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                                                                                      Hours           Rate      Amount
                                subsidiary
 03/03/2021   GVD      AA       Conference with L. Hogewood re potential               0.40       950.00        $380.00
                                settlement
 03/03/2021   GVD      AA       Correspondence with PSZJ team re Hunter                0.20       950.00        $190.00
                                Mountain note
 03/04/2021   GVD      AA       Draft demand letters re past due note                  1.10       950.00       $1,045.00
 03/04/2021   GVD      AA       Conference with WilmerHale and Baker McKenzie          0.20       950.00        $190.00
                                re NewCo transition
 03/04/2021   GVD      AA       Correspondence with J. Seery and T. Surgent re         0.20       950.00        $190.00
                                conference with Baker McKenzie re NewCo
 03/04/2021   GVD      AA       Review research re potential asset disposition         0.10       950.00         $95.00
 03/05/2021   IDK      AA       Review of correspondence with Sidley, J Pomerantz      0.10      1325.00        $132.50
                                on Dondero purchase proposal (.1).
 03/05/2021   JNP      AA       Conference with Gregory V. Demo and J. Seery           0.50      1295.00        $647.50
                                regarding potential sale transaction.
 03/05/2021   JNP      AA       Conference with M. Clemente regarding asset sale       0.30      1295.00        $388.50
                                proposal, D&O insurance and related issues.
 03/05/2021   JNP      AA       Email to M. Clemente regarding asset sale proposal.    0.10      1295.00        $129.50
 03/05/2021   GVD      AA       Conference with J. Pomerantz and J. Seery re asset     0.60       950.00        $570.00
                                purchase offer
 03/05/2021   GVD      AA       Conference with J. Donohue re term note issues         0.10       950.00         $95.00
 03/08/2021   GVD      AA       Conference with D. Klos, J. Romey, and J. Morris re    0.90       950.00        $855.00
                                investment in portfolio company
 03/09/2021   JNP      AA       Email to and from potential buyer of assets.           0.10      1295.00        $129.50
 03/09/2021   GVD      AA       Correspondence with counsel to CLO issues re asset     0.20       950.00        $190.00
                                values
 03/09/2021   GVD      AA       Prepare for meeting re asset proposal                  0.10       950.00         $95.00
 03/09/2021   GVD      AA       Conference with J. Seery, J. Pomerantz, and DSI re     0.50       950.00        $475.00
                                asset purchase proposal
 03/09/2021   GVD      AA       Review timeline re asset discovery research            0.20       950.00        $190.00
 03/09/2021   GVD      AA       Conference with J. Romey re transition issues          0.50       950.00        $475.00
 03/09/2021   GVD      AA       Conference with F. Caruso re insurance issues          0.30       950.00        $285.00
 03/10/2021   GVD      AA       Review tax issues re non-profit status                 0.50       950.00        $475.00
 03/10/2021   GVD      AA       Conference with DSI re employee insurance issues       0.90       950.00        $855.00
 03/10/2021   GVD      AA       Conference with J. Pomerantz and J. Seery re           0.40       950.00        $380.00
                                potential asset dispositions
 03/10/2021   GVD      AA       Conference re issues re LP buy out                     0.20       950.00        $190.00
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                                                                                         Hours           Rate      Amount
 03/10/2021   GVD      AA       Review correspondence re insurance issues                 0.10       950.00         $95.00
 03/10/2021   GVD      AA       Correspondence re contract transfer issues                0.20       950.00        $190.00
 03/10/2021   GVD      AA       Attend to issues re employee insurance                    0.20       950.00        $190.00
 03/11/2021   IDK      AA       Review of correspondence with Crusader Fund               0.20      1325.00        $265.00
                                counsel re asset information requests and J
                                Pomerantz correspondence with CEO re same
 03/11/2021   GVD      AA       Multiple correspondence re changing board of              0.20       950.00        $190.00
                                portfolio companies
 03/11/2021   GVD      AA       Draft notice under protocols re potential distribution    0.50       950.00        $475.00
 03/11/2021   GVD      AA       Conference with HCMLP team re directorship issues         1.00       950.00        $950.00
                                at portfolio companies
 03/11/2021   GVD      AA       Conference with J. Donohue re asset monetization          0.10       950.00         $95.00
                                issues
 03/12/2021   IDK      AA       E-mail DSI re notice to UCC of Acis 7 wind down.          0.10      1325.00        $132.50
 03/12/2021   GVD      AA       Attend multiple conferences re Cornerstone and            1.50       950.00       $1,425.00
                                follow up to same
 03/12/2021   GVD      AA       Correspondence with J. Seery re insurance issues          0.10       950.00         $95.00
 03/15/2021   GVD      AA       Conference with T. Cournoyer re status of portfolio       0.20       950.00        $190.00
                                company refinancing
 03/15/2021   GVD      AA       Attend to issues re change of Portfolio Company           0.50       950.00        $475.00
                                board of directors
 03/16/2021   JNP      AA       Conference with Gregory V. Demo and Robert J.             0.50      1295.00        $647.50
                                Feinstein and then J. Seery regarding potential
                                litigation and U.S. Trustee issues.
 03/16/2021   GVD      AA       Correspondence with WilmerHale re insurance               0.10       950.00         $95.00
                                resolutions
 03/16/2021   GVD      AA       Review employee insurance issues for F. Caruso            0.30       950.00        $285.00
 03/17/2021   GVD      AA       Conference with F. Caruso re vendor contract              0.30       950.00        $285.00
 03/18/2021   GVD      AA       Conference with S. Davis (WilmerHale) re Form             0.20       950.00        $190.00
                                13D/G filings
 03/19/2021   GVD      AA       Revise insurance letter for tender of policy              0.30       950.00        $285.00
 03/19/2021   GVD      AA       Correspondence re scheduling call re insurance            0.10       950.00         $95.00
 03/22/2021   GVD      AA       Conference with F. Caruso re Siepe settlement             0.10       950.00         $95.00
 03/22/2021   GVD      AA       Research issues re Select note                            0.20       950.00        $190.00
 03/22/2021   GVD      AA       Conference with J. Romey re Multi Strat redemption        0.20       950.00        $190.00
                                allocation
 03/22/2021   GVD      AA       Correspondence with PSZJ team re Multi Strat              0.10       950.00         $95.00
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                                                                                      Hours           Rate       Amount
                                allocations
 03/23/2021   GVD      AA       Correspondence with HCMLP re Acis expenses             0.20       950.00         $190.00
 03/23/2021   GVD      AA       Conference with J. Seery re Multi Strat allocations    0.10       950.00          $95.00
 03/23/2021   GVD      AA       Conference with HCMLP team re Multi Strat              0.40       950.00         $380.00
                                Allocations
 03/24/2021   JNP      AA       Email to and from Alvarez regarding provision of       0.10      1295.00         $129.50
                                information.
 03/25/2021   IDK      AA       Review of correspondence with CEO, G Demo on           0.20      1325.00         $265.00
                                Petrocap transaction (.2).
 03/25/2021   GVD      AA       Correspondence re closing of Eagle Equity deal         0.30       950.00         $285.00
 03/25/2021   GVD      AA       Multiple conferences with F. Caruso re potential       0.40       950.00         $380.00
                                asset sales and next steps
 03/25/2021   GVD      AA       Conference with J. Romey re asset sales                0.30       950.00         $285.00
 03/26/2021   GVD      AA       Conference with HCMLP team re distributions to         0.60       950.00         $570.00
                                related entities
 03/29/2021   JNP      AA       Conference with Alvarez and Gibson, Gregory V.         0.70      1295.00         $906.50
                                Demo and J. Seery regarding provision of
                                information.
 03/29/2021   LAF      AA       Research re: Cayman entity.                            1.60       475.00         $760.00
 03/29/2021   GVD      AA       Correspondence with HCMLP team re intellectual         0.20       950.00         $190.00
                                property issues
 03/29/2021   GVD      AA       Prepare closing documents re Eagle Equity deal         0.70       950.00         $665.00
 03/30/2021   GVD      AA       Draft and circulate settlement agreement re Siepe      2.20       950.00       $2,090.00
 03/30/2021   GVD      AA       Conference with F. Caruso re status of asset sales     0.30       950.00         $285.00
                                and next steps
 03/30/2021   GVD      AA       Conference with E. Weisgerber re potential             0.20       950.00         $190.00
                                HarbourVest claim issues
 03/31/2021   GVD      AA       Correspondence with HCMLP re BNY custody               0.10       950.00          $95.00
                                account
 03/31/2021   GVD      AA       Conference with J. Romey re intellectual property      0.40       950.00         $380.00
                                issues
 03/31/2021   GVD      AA       Conference with J. Seery re status of HarbourVest      0.20       950.00         $190.00
                                claim
 03/31/2021   GVD      AA       Revise and circulate flow of funds for Eagle Equity    0.10       950.00          $95.00
                                deal

                                                                                      31.20                    $30,337.50
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                                                                                       Hours           Rate      Amount

  Appeals [B430]
 03/09/2021   IDK      AP       E-mails with H Winograd and local counsel re 5th        0.20      1325.00        $265.00
                                Cir response to Dondero writ of mandamus (.2).
 03/11/2021   JNP      AP       Emails regarding direct appeal to Fifth Circuit.        0.10      1295.00        $129.50
 03/11/2021   HRW      AP       Draft response to Dondero's petition for mandamus       8.50       695.00       $5,907.50
                                (8.5).
 03/12/2021   HRW      AP       Draft response to Dondero's petition for mandamus      10.00       695.00       $6,950.00
                                (10.0).
 03/13/2021   HRW      AP       Draft response to Dondero's petition for mandamus       9.50       695.00       $6,602.50
                                (9.5).
 03/14/2021   JAM      AP       Review/revise draft opposition to Dondero petition      4.70      1245.00       $5,851.50
                                for writ of mandamus (4.5); e-mails with H.
                                Winograd re: revisions to draft opposition to
                                Dondero petition for writ of mandamus (0.2).
 03/14/2021   HRW      AP       Draft response to Dondero's petition for mandamus       3.80       695.00       $2,641.00
                                (3.8).
 03/15/2021   IDK      AP       E-mails with H Winograd re her updated draft            0.20      1325.00        $265.00
                                opposition to writ of mandamus and related issues
                                and feedback.
 03/15/2021   JNP      AP       Review opposition to Dondero Writ of Mandamus.          0.30      1295.00        $388.50
 03/15/2021   JMF      AP       Review appellate transmittal documents re               0.30      1050.00        $315.00
                                confirmation order appeal.
 03/15/2021   GVD      AP       Review motion re direct certification to the Fifth      0.20       950.00        $190.00
                                Circuit
 03/15/2021   HRW      AP       Draft response to Dondero's petition for mandamus      10.50       695.00       $7,297.50
                                (10.5).
 03/16/2021   LSC      AP       Prepare Appendix for response to Dondero Petition       4.70       460.00       $2,162.00
                                for Writ Mandamus and revisions to same (3.8);
                                revise Petition for Writ Mandamus and draft
                                correspondence to H. Winograd regarding the same
                                (.9).
 03/16/2021   GVD      AP       Review Dondero petition re writ of mandamus             0.30       950.00        $285.00
 03/16/2021   HRW      AP       Draft response to Dondero's petition for mandamus      10.00       695.00       $6,950.00
                                and prep for filing (10.0).
 03/17/2021   LSC      AP       Revisions to response to Dondero's Petition for Writ    3.80       460.00       $1,748.00
                                of Mandamus (.9); prepare appendix and
                                attachments to same and correspondence regarding
                                the same (2.9).
 03/19/2021   JNP      AP       Review Dugaboy motion regarding seal relating to        0.10      1295.00        $129.50
                                Harbourvest settlement appeal.
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                                                                                          Hours           Rate      Amount
 03/19/2021   JNP      AP       Review Dugaboy statement of issues on appeal.              0.10      1295.00        $129.50
 03/19/2021   LSC      AP       Review Appellant designation, confirm inclusion of         0.30       460.00        $138.00
                                Appellee's items, and draft correspondence to
                                attorneys regarding the same.
 03/24/2021   HRW      AP       Review critical dates for Highland appeals (0.3).          0.30       695.00        $208.50
 03/25/2021   HRW      AP       Review UBS draft motion for joint extension to file        0.20       695.00        $139.00
                                appellate brief (0.2).
 03/26/2021   HRW      AP       Review Dugaboy appeal of HarbourVest settlement            0.10       695.00         $69.50
                                and critical dates (0.1).
 03/29/2021   JNP      AP       Email to Latham regarding extending schedule on            0.10      1295.00        $129.50
                                appeal of Redeemer settlement.
 03/29/2021   JNP      AP       Review emails regarding District Court ruling on           0.10      1295.00        $129.50
                                briefing on Redeemer appeal.
 03/30/2021   JNP      AP       Review of Fifth Circuit submission by Advisors.            0.20      1295.00        $259.00
 03/30/2021   JNP      AP       Review and respond to emails from L Hogewood               0.30      1295.00        $388.50
                                regarding appeal issues.
 03/30/2021   JNP      AP       Conference with Ira D. Kharasch, Gregory V. Demo           0.40      1295.00        $518.00
                                and John A. Morris regarding Advisors petition to
                                the Fifth Circuit regarding direct appeal.
 03/30/2021   JNP      AP       Email to D. Rukavina regarding petition for appeal         0.20      1295.00        $259.00
                                to Fifth Circuit.
 03/30/2021   JNP      AP       Conference with J. Elkin regarding brief in response       0.10      1295.00        $129.50
                                to petition to Fifth Circuit.
 03/30/2021   JNP      AP       Email to J. Elkin regarding stay pending appeal brief      0.10      1295.00        $129.50
                                in District Court.
 03/30/2021   JNP      AP       Email to appellants regarding scheduling for               0.10      1295.00        $129.50
                                motions to stay pending appeal.
 03/30/2021   JE       AP       Call with Mr. Pomerantz regarding Advisors petition        1.40      1195.00       $1,673.00
                                to 5th Circuit (.2); review comments on brief fact
                                section (.2); review Advisors Petition (.8);
                                correspondence with Mr. Demo regarding briefing
                                and certification of direct appeal order (.2).
 03/31/2021   IDK      AP       Review of various correspondence with J Elkin,             0.20      1325.00        $265.00
                                others on Dondero direct appeal and certification to
                                5th Circuit.
 03/31/2021   JNP      AP       Review and comment on outline regarding response           0.20      1295.00        $259.00
                                to Fifth Circuit petition.
 03/31/2021   JAM      AP       Telephone conference with J. Pomerantz, G. Demo,           0.70      1245.00        $871.50
                                counsel for all appellants re: stipulations and process
                                for consolidation, discovery and stay of confirmation
                                order (0.4); telephone conference with J. Pomerantz,
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                                                                                        Hours           Rate       Amount
                                G. Demo re: stipulations and process for
                                consolidation, discovery and stay of confirmation
                                order (0.2); e-mails with J. Elkin, J. Pomerantz, G.
                                Demo re: timing of filing a response to Advisors'
                                submission to Fifth Circuit (0.1).

                                                                                        72.30                    $53,902.50

  Bankruptcy Litigation [L430]
 03/01/2021   IDK      BL       Review of correspondence with chambers, J Morris         0.10      1325.00         $132.50
                                re scheduling of contempt motion.
 03/01/2021   JNP      BL       Conference with John A. Morris regarding                 0.20      1295.00         $259.00
                                opposition to motion to dismiss, contempt motion
                                and related matters.
 03/01/2021   JNP      BL       Review opposition to motion to dismiss complaint         0.30      1295.00         $388.50
                                against advisors and funds.
 03/01/2021   JNP      BL       Conference with J. Dubel regarding UBS, stay             1.00      1295.00       $1,295.00
                                pending appeal and related matters (several).
 03/01/2021   JNP      BL       Conference with J. Seery regarding UBS, stay             0.50      1295.00         $647.50
                                pending appeal and related matters.
 03/01/2021   JNP      BL       Conference with J. Seery, A. Klubock and J. Bjork        1.00      1295.00       $1,295.00
                                regarding UBS settlement and related issues.
 03/01/2021   RJF      BL       Review correspondence from UBS and related               0.70      1395.00         $976.50
                                internal emails.
 03/01/2021   JAM      BL       Review/revise current draft opposition to K&L            2.90      1245.00       $3,610.50
                                Gates' clients motion to dismiss (2.0); e-mail to J.
                                Seery, J. Pomerantz, I. Kharasch, G. Demo, H.
                                Winograd re: current draft opposition to K&L Gates'
                                clients motion to dismiss (0.1); telephone conference
                                with J. Pomerantz re: current draft opposition to
                                K&L Gates' clients motion to dismiss (0.1); e-mails
                                with H. Winograd, Z. Annable re: finalizing,
                                serving, and filing opposition to K&K Gates' clients
                                motion to dismiss (0.5); telephone conference with
                                P. Montgomery re: timing of contempt and
                                document preservation motions (0.1); e-mails with J.
                                Bonds, T. Ellison re: timing of hearing on contempt
                                motion (0.1).
 03/01/2021   EAW      BL       Draft discovery requests to RCT.                         0.60       925.00         $555.00
 03/01/2021   GVD      BL       Conference with J. Morris re litigation issues           0.30       950.00         $285.00
 03/01/2021   GVD      BL       Review revisions to response to motion to dismiss        0.20       950.00         $190.00
 03/01/2021   GVD      BL       Review email discovery                                   0.50       950.00         $475.00
 03/01/2021   HRW      BL       Prepare filing for opposition to K&L Gates clients'      6.50       695.00       $4,517.50
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                                                                                       Hours           Rate      Amount
                                motion to dismiss complaint (6.5).
 03/02/2021   IDK      BL       E-mails with J Pomerantz, Board re UBS letter of        0.70      1325.00        $927.50
                                today re settlement and information request and need
                                call to respond (.2); Attend conference call with
                                Board, J Pomerantz, R Feinstein, G Demo on UBS
                                related issues (.5).
 03/02/2021   IDK      BL       Telephone conference with conference with J             0.30      1325.00        $397.50
                                Pomerantz, R Feinstein, G Demo re Reid Collins
                                and its withdrawal (.3).
 03/02/2021   IDK      BL       E-mails with G Demo and J Pomerantz re CDO              0.10      1325.00        $132.50
                                Fund issues and cash (.1).
 03/02/2021   JNP      BL       Conference with J. Seery regarding UBS settlement       0.50      1295.00        $647.50
                                issues, motion of Reid Collins to withdraw and
                                related issues.
 03/02/2021   JNP      BL       Conference with Katie at Latham regarding Reid          0.20      1295.00        $259.00
                                Collins withdrawal motion.
 03/02/2021   JNP      BL       Conference with Robert J. Feinstein regarding Reid      0.30      1295.00        $388.50
                                Collins withdrawal motion and related issues include
                                John A. Morris on one of the calls.
 03/02/2021   JNP      BL       Conference with Gregory V. Demo, Ira D. Kharasch        0.30      1295.00        $388.50
                                and Robert J. Feinstein regarding Reid Collins
                                withdrawal issues.
 03/02/2021   RJF      BL       Telephone conference with Jeffrey N. Pomerantz,         0.40      1395.00        $558.00
                                Ira D. Kharasch, Gregory V. Demo and John A.
                                Morris regarding Reid Collins.
 03/02/2021   RJF      BL       Further telephone conferences with Jeffrey N.           0.30      1395.00        $418.50
                                Pomerantz regarding Reid Collins.
 03/02/2021   JMF      BL       Review litigation summary and deadlines.                0.30      1050.00        $315.00
 03/02/2021   JAM      BL       Draft motion for continuance of contempt hearing        1.00      1245.00       $1,245.00
                                (0.2); communications with J. Pomerantz, I.
                                Kharasch, G. Demo, H. Winograd re: continuance
                                for contempt hearing (0.1); review draft order for
                                continuance for contempt hearing (0.1); review of
                                status of adversary proceedings concerning
                                promissory notes (0.4); e-mail to J. Pomerantz, I.
                                Kharasch, G. Demo, H. Winograd re: status of
                                adversary proceedings concerning promissory notes
                                (0.2).
 03/02/2021   EAW      BL       Emails to/from R. Feinstein re: discovery requests      0.10       925.00         $92.50
                                (RCT).
 03/02/2021   GVD      BL       Review motion for stay pending appeal and draft         2.00       950.00       $1,900.00
                                outline response re same
 03/02/2021   GVD      BL       Conference re discovery issues                          0.20       950.00        $190.00
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                                                                                       Hours           Rate      Amount
 03/02/2021   GVD      BL       Draft checklist of open litigation items                0.50       950.00        $475.00
 03/02/2021   GVD      BL       Conference with PSZJ team re status of UBS              0.40       950.00        $380.00
                                settlement
 03/02/2021   HRW      BL       Prepare joint proposed scheduling order for demand      3.60       695.00       $2,502.00
                                note adversary proceedings involving HCMFA and
                                NPA (1.2); PSZJ WIP call (0.8); Review adversary
                                proceedings and critical dates (0.6); Review NPA
                                and HCMFA answer to complaints (0.4); Review
                                Advisors motion to stay pending appeal (0.6).
 03/03/2021   IDK      BL       Attend conference call with J Pomerantz, R              1.40      1325.00       $1,855.00
                                Feinstein, G Demo on UBS latest markup and
                                problems with same (1.4).
 03/03/2021   IDK      BL       Review of correspondence from UBS re its new            0.40      1325.00        $530.00
                                markup of settlement, and brief review (.2); E-mails
                                with J Pomerantz, R Feinstein re problems with
                                same, as well as J Pomerantz list of issues on same
                                and need for call (.2).
 03/03/2021   JNP      BL       Emails with Robert J. Feinstein, Ira D. Kharasch and    0.10      1295.00        $129.50
                                Gregory V. Demo regarding call to discuss UBS
                                settlement agreement.
 03/03/2021   JNP      BL       Email to Board with latest UBS settlement               0.10      1295.00        $129.50
                                agreement.
 03/03/2021   JNP      BL       Review and comment on latest UBS settlement             0.30      1295.00        $388.50
                                agreement.
 03/03/2021   JNP      BL       Review emails regarding SOHC and authority              0.10      1295.00        $129.50
                                issues.
 03/03/2021   JNP      BL       Lengthy call with Ira D. Kharasch, Robert J.            1.40      1295.00       $1,813.00
                                Feinstein and Gregory V. Demo regarding UBS
                                settlement agreement.
 03/03/2021   JNP      BL       Review and respond to email regarding outstanding       0.10      1295.00        $129.50
                                notes litigation.
 03/03/2021   JNP      BL       Conference with J. Seery regarding UBS, Plan issues     0.50      1295.00        $647.50
                                and related.
 03/03/2021   JNP      BL       Review Dondero response to Committee                    0.10      1295.00        $129.50
                                preservation motion.
 03/03/2021   RJF      BL       Review UBS markup of settlement agreement.              0.60      1395.00        $837.00
 03/03/2021   RJF      BL       Internal call regarding UBS agreement.                  1.40      1395.00       $1,953.00
 03/03/2021   JAM      BL       Analysis of Hunter Mountain claim and related notes     1.80      1245.00       $2,241.00
                                litigation and send e-mail to J. Pomerantz, I.
                                Kharasch, G. Demo, H. Winograd re: same (0.8);
                                draft amended deposition notices for HCRE
                                litigation (0.2); e-mails with Z. Annable, H.
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                                                                                          Hours           Rate      Amount
                                Winograd re: amended deposition notices for HCRE
                                litigation (0.1);e-mails with J. Pomerantz, I.
                                Kharasch, G. Demo, H. Winograd re: Hunter
                                Mountain claim, Rand guaranty, and default under
                                the notes (0.2); telephone conference with J. Seery
                                re: litigation update (0.5).
 03/03/2021   EAW      BL       Draft discovery requests (RCT) and related email to        5.50       925.00       $5,087.50
                                R. Feinstein.
 03/03/2021   EAW      BL       Emails to/from G. Demo re: UBS judgment against            0.10       925.00         $92.50
                                Funds.
 03/03/2021   GVD      BL       Correspondence with Z. Annable re scheduling order         0.10       950.00         $95.00
 03/03/2021   GVD      BL       Conference with PSZJ team re status of UBS                 1.40       950.00       $1,330.00
                                settlement agreement and next steps
 03/03/2021   GVD      BL       Review revised UBS settlement agreement                    0.30       950.00        $285.00
 03/03/2021   GVD      BL       Schedule board call re UBS settlement                      0.10       950.00         $95.00
 03/03/2021   HRW      BL       Prepare joint proposed scheduling order for demand         0.80       695.00        $556.00
                                note adversary proceedings (0.8);
 03/04/2021   IDK      BL       Review briefly G Demo markup of UBS settlement             0.40      1325.00        $530.00
                                agreement, including feedback of J Pomerantz re
                                same
 03/04/2021   IDK      BL       Attend part of call with CEO, J Dubel, J Pomerantz,        1.20      1325.00       $1,590.00
                                others on how to respond to UBS markup and our
                                proposed counter markup (1.0); E-mails with J
                                Pomerantz, others re his draft response to UBS on
                                our settlement issues (.2).
 03/04/2021   IDK      BL       E-mails with G Demo re Gov Re payment re                   0.20      1325.00        $265.00
                                Sentinel and consider (.2).
 03/04/2021   JNP      BL       Review and comment on redline of UBS settlement            0.10      1295.00        $129.50
                                agreement.
 03/04/2021   JNP      BL       Conference with J. Seery, J. Dubel, Robert J.              1.60      1295.00       $2,072.00
                                Feinstein, Ira D. Kharasch and Gregory V. Demo
                                regarding UBS settlement agreement.
 03/04/2021   JNP      BL       Draft email to Latham regarding issues on settlement       0.60      1295.00        $777.00
                                agreement.
 03/04/2021   RJF      BL       Review revised settlement agreement.                       0.40      1395.00        $558.00
 03/04/2021   RJF      BL       Internal call regarding revised settlement agreement.      1.40      1395.00       $1,953.00
 03/04/2021   RJF      BL       Call BOD regarding revised settlement agreement.           0.50      1395.00        $697.50
 03/04/2021   JAM      BL       Review/revise model scheduling order for notes             0.60      1245.00        $747.00
                                litigation (0.3); e-mails with H. Winograd re: model
                                scheduling order for notes litigation (0.1); e-mail to.
                                L. Hogewood, D. Rukavina re: proposed scheduling
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                                                                                         Hours           Rate      Amount
                                orders for HCMFA and Nexpoint notes litigation
                                (0.2).
 03/04/2021   EAW      BL       Draft 2004 motion (RCT).                                  4.30       925.00       $3,977.50
 03/04/2021   GVD      BL       Conference with J. Morris re subpoena and follow          0.30       950.00        $285.00
                                up re same
 03/04/2021   GVD      BL       Revise UBS settlement agreement                           1.30       950.00       $1,235.00
 03/04/2021   GVD      BL       Further revise UBS settlement agreement re changes        0.30       950.00        $285.00
                                from J. Pomerantz and R. Feinstein
 03/04/2021   GVD      BL       Attend conference with J. Seery and J. Dubel re           1.60       950.00       $1,520.00
                                UBS settlement
 03/04/2021   GVD      BL       Review draft email to UBS re settlement                   0.10       950.00         $95.00
 03/04/2021   HRW      BL       Prepare joint proposed scheduling order for demand        1.80       695.00       $1,251.00
                                note adversary proceedings (1.8);
 03/05/2021   JNP      BL       Conference with John A. Morris regarding subpoena         0.20      1295.00        $259.00
                                and response.
 03/05/2021   JMF      BL       Review opposition to motion to dismiss (.3) and           0.40      1050.00        $420.00
                                scheduling stipulation and order re upcoming
                                hearing (.1).
 03/05/2021   JAM      BL       Review United Development subpoena (0.2);                 3.60      1245.00       $4,482.00
                                telephone conference with T. Surgent re: United
                                Development subpoena (0.4); telephone conference
                                with J. Pomerantz re: United Development subpoena
                                (0.2); e-mail to N. Stephens, J. Pomerantz re: United
                                Development subpoena (0.2); analysis and
                                preparation of cross-examination for Dondero in
                                connection with contempt hearing (2.3); e-mail to L.
                                Drawhorn, H. Winograd re: proposed scheduling
                                orders for HCRE and HCMS notes litigation (0.2);
                                e-mail to D. Rukavina re: proposed scheduling
                                orders for Nexpoint and HCMFA notes litigation
                                (0.1).
 03/05/2021   EAW      BL       Research and draft 2004 motion (RCT).                     5.60       925.00       $5,180.00
 03/07/2021   JAM      BL       Review/revise proposed scheduling orders for              3.70      1245.00       $4,606.50
                                HCMFA and NexPoint notes litigation (0.4); e-mail
                                to D. Rukavina, L. Hogewood, H. Winograd re:
                                revised proposed scheduling orders for HCMFA and
                                NexPoint notes litigation (0.2); review Hunter
                                Mountain note, Rand guaranty, and draft default
                                letters (0.7); e-mail to J. Pomerantz, I. Kharasch, G.
                                Demo, H. Winograd re: Hunter Mountain default
                                under Note (0.3); work on cross-examination for J.
                                Dondero for contempt hearing (2.1).
 03/07/2021   GVD      BL       Correspondence with J. Morris re term note defaults       0.20       950.00        $190.00
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                                                                                         Hours           Rate      Amount
 03/08/2021   IDK      BL       Review of Reid Collins reply to UBS opposition to         0.10      1325.00        $132.50
                                its withdrawal motion.
 03/08/2021   IDK      BL       Review briefly Dondero petition for writ of               0.30      1325.00        $397.50
                                mandamus, and related E-mails with J Pomerantz, H
                                Winograd re same.
 03/08/2021   JNP      BL       Conference with John A. Morris and lawyers                0.30      1295.00        $388.50
                                regarding third party subpoena.
 03/08/2021   JNP      BL       Conference with John A. Morris regarding                  0.10      1295.00        $129.50
                                promissory note litigation issues.
 03/08/2021   JNP      BL       Review Reid Collins reply regarding motion to             0.10      1295.00        $129.50
                                withdraw.
 03/08/2021   JNP      BL       Review Writ of Mandamus regarding Dondero                 0.20      1295.00        $259.00
                                preliminary injunction and emails regarding same.
 03/08/2021   RJF      BL       Review Reid Collins reply on motion to withdraw.          0.20      1395.00        $279.00
 03/08/2021   JMF      BL       Review scheduling orders re adversary motions and         0.40      1050.00        $420.00
                                opposition to preservation of documents re 3/22
                                hearing.
 03/08/2021   JAM      BL       Telephone conference with J. Pomerantz re:                1.80      1245.00       $2,241.00
                                litigation matters (0.1); e-mails with D. Rukavina, H.
                                Winograd, Z. Annable re: scheduling orders for
                                NexPoint and HCMFA notes litigation (0.2);
                                telephone conference with P. Keiffer re: Hunter
                                Mountain adversary proceeding (0.1); telephone
                                conference with D. Klos, G. Demo re: HCRE deal
                                structure concerning litigation (0.7); telephone
                                conference with G. Demo re: HCRE deal structure
                                concerning litigation (0.1); telephone conference
                                with J. Pomerantz, counsel to United re: subpoena
                                (0.3); communications with J. Seery, J. Pomerantz,
                                J. Bonds re: Dondero request for extension of time
                                to respond to notes litigation (0.2); communications
                                with J. Seery, J. Kathman re: status of Daugherty
                                settlement documents (0.1).
 03/08/2021   EAW      BL       Draft 2004 motion (RCT).                                  2.10       925.00       $1,942.50
 03/08/2021   GVD      BL       Review filed response of Reid Collins to withdrawal       0.20       950.00        $190.00
                                motion
 03/08/2021   HRW      BL       Review and draft joint proposed scheduling orders         2.10       695.00       $1,459.50
                                for Demand Note adversary proceedings relating to
                                HCRE, HCMFA, NPA, HCMS (1.5); Research
                                issues relating to Dondero petition for writ of
                                mandamus (0.6); Review adversary proceeding and
                                appeals critical deadlines and dates (1.0).
 03/09/2021   JNP      BL       Conference with J. Dubel regarding call with              0.10      1295.00        $129.50
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                                                                                        Hours           Rate      Amount
                                Latham.
 03/09/2021   JNP      BL       Conference with DSI, Gregory V. Demo, Robert J.          0.50      1295.00        $647.50
                                Feinstein and J. Seery in preparation for call with
                                Latham.
 03/09/2021   JNP      BL       Participate on call with Latham, J. Seery, J. Dubel      1.80      1295.00       $2,331.00
                                and Robert J. Feinstein regarding settlement and
                                related issues.
 03/09/2021   JNP      BL       Review proposed request for production.                  0.10      1295.00        $129.50
 03/09/2021   RJF      BL       Internal calls regarding UBS settlement.                 0.60      1395.00        $837.00
 03/09/2021   RJF      BL       Call with UBS counsel regarding settlement.              1.90      1395.00       $2,650.50
 03/09/2021   JAM      BL       Review exhibit lists for Dondero contempt hearing        4.80      1245.00       $5,976.00
                                and send e-mail to L. Canty re: specific exhibit for
                                review (0.5); e-mails with H. Winograd, Z. Annable
                                re: scheduling orders for the HCRE and HCMS
                                adversary proceedings (0.2); e-mails with H.
                                Winograd, Z. Annable re: scheduling orders for
                                NexPoint and HCMFA adversary proceedings (0.1);
                                review Dondero motion for Writ of Mandamus
                                (0.7); e-mails with H. Winograd, Z. Annable re:
                                issues concerning opposition brief to Dondero
                                motion for Writ of Mandamus (0.4).
 03/09/2021   EAW      BL       Draft 2004 motion (RCT).                                 1.60       925.00       $1,480.00
 03/09/2021   EAW      BL       Review exhibits to letter and potential exhhibits to     1.20       925.00       $1,110.00
                                2004 motion
 03/09/2021   LSC      BL       Preparation of materials for upcoming hearings for J.    3.20       460.00       $1,472.00
                                Morris.
 03/09/2021   GVD      BL       Review writ of mandamus                                  0.30       950.00        $285.00
 03/09/2021   GVD      BL       Conference with J. Seery, J. Romey, J. Pomerantz,        0.90       950.00        $855.00
                                and R. Feinstein re preparation for UBS call
 03/09/2021   GVD      BL       Compile and send exhibits to UBS                         0.40       950.00        $380.00
 03/09/2021   HRW      BL       Review adversary proceeding and appeals critical         8.70       695.00       $6,046.50
                                deadlines and dates (1.0); Draft response to Dondero
                                petition for writ of mandamus (6.8); Call with J.
                                Morris re: Dondero petition for writ of mandamus
                                (0.1); Review joint proposed scheduling orders for
                                Demand Note adversary proceedings relating to
                                HCRE, HCMFA, NPA, HCMS (0.8).
 03/10/2021   IDK      BL       Review of J Morris memo to Board on Dondero writ         0.20      1325.00        $265.00
                                and our potential response, as well as CEO feedback
                                re same and re other litigation (.2).
 03/10/2021   JNP      BL       Conference with J. Seery and Gregory V. Demo             0.30      1295.00        $388.50
                                regarding Arizona and employee.
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                                                                                        Hours           Rate      Amount
 03/10/2021   JNP      BL       Conference with John A. Morris regarding contempt        0.20      1295.00        $259.00
                                motion hearing and email from J. Bonds and call
                                regarding motion to continue.
 03/10/2021   JNP      BL       Conference with J. Dubel regarding UBS.                  0.20      1295.00        $259.00
 03/10/2021   JNP      BL       Review motion for continuance of contempt hearing        0.10      1295.00        $129.50
                                and emails regarding same.
 03/10/2021   RJF      BL       Review and comment on draft 2004 request                 0.40      1395.00        $558.00
 03/10/2021   JMF      BL       Review writ of mandamus and motion to continue           0.50      1050.00        $525.00
                                3/22 hearing.
 03/10/2021   JAM      BL       Telephone conference with J. Kathman re:                 2.30      1245.00       $2,863.50
                                comments to Daugherty draft settlement agreements
                                (0.4); telephone conference with B. Sharp, Sidley re:
                                document preservation issues (0.7); communications
                                with J. Pomerantz, J. Bonds re: Dondero request for
                                continuance of Contempt Hearing (0.2); review
                                Dondero's motion for continuance of Contempt
                                Hearing (0.1); e-mail to Board, J. Pomerantz, I.
                                Kharasch, G. Demo, H. Winograd re: Dondero
                                petition for writ of mandamus and motion for
                                continuance (0.2); communications with Z. Annable,
                                D. Rukavina, H. Winograd re: scheduling matters
                                for notes litigation (0.2); prepare for contempt
                                hearing (0.5).
 03/10/2021   EAW      BL       Draft 2004 motion (RCT).                                 1.90       925.00       $1,757.50
 03/10/2021   GVD      BL       Review stipulation re transfer of privilege              0.20       950.00        $190.00
 03/10/2021   GVD      BL       Review motion to continue hearing                        0.20       950.00        $190.00
 03/10/2021   HRW      BL       Draft response to Dondero petition for writ of           9.50       695.00       $6,602.50
                                mandamus (9.5).
 03/11/2021   EAW      BL       Draft 2004 motion (RCT).                                 0.60       925.00        $555.00
 03/11/2021   GVD      BL       Conference with J. Morris re open litigation issues      0.10       950.00         $95.00
 03/12/2021   JAM      BL       E-mail to J. Pomerantz, I. Kharasch, G. Demo, H.         0.20      1245.00        $249.00
                                Winograd re: stipulations withdrawing proofs of
                                claim and dismissing adversary proceeding without
                                prejudice for Hunter Mountain (0.2).
 03/12/2021   LSC      BL       Research discovery documents, conduct legal              4.80       460.00       $2,208.00
                                research, and prepare hearing materials for G. Demo
                                and J. Pomerantz.
 03/13/2021   JAM      BL       Work in connection with admittance to Fifth Circuit      0.70      1245.00        $871.50
                                for Dondero petition for writ of mandamus (0.3);
                                e-mail to L. Canty, J. Pomerantz, G. Demo, Z.
                                Annable re: UBS designations for appeal of Acis
                                settlement (0.2); e-mails with G. Demo, T. Surgent,
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                                                                                       Hours           Rate      Amount
                                J. Seery re: amendments to employment agreements
                                (0.2).
 03/14/2021   LSC      BL       Review and retrieve discovery documents received.       3.90       460.00       $1,794.00
 03/15/2021   JNP      BL       Emails to and from John A. Morris regarding             0.10      1295.00        $129.50
                                discovery request from plaintiff in non-bankruptcy
                                lawsuit.
 03/15/2021   JNP      BL       Conference with Latham, J. Seery, Gregory V.            1.70      1295.00       $2,201.50
                                Demo and Robert J. Feinstein regarding UBS
                                Settlement Agreement.
 03/15/2021   JNP      BL       Conference with J. Dubel, J. Seery and Gregory V.       0.70      1295.00        $906.50
                                Demo regarding UBS Settlement Agreement.
 03/15/2021   MAM      BL       Complete Time entries extraction project for John A.    1.20       425.00        $510.00
                                Morris.
 03/15/2021   RJF      BL       Call with Latham regarding UBS settlement               1.70      1395.00       $2,371.50
                                agreement and related issues.
 03/15/2021   GVD      BL       Conference with Board re follow up to UBS call          0.70       950.00        $665.00
 03/15/2021   GVD      BL       Conference with Latham re UBS settlement                1.70       950.00       $1,615.00
                                agreement
 03/15/2021   GVD      BL       Preparatory call with Board re UBS settlement call      0.30       950.00        $285.00
 03/16/2021   IDK      BL       Telephone conference with J Pomerantz, G Demo re        0.30      1325.00        $397.50
                                UBS intent to file complaint and injunction re
                                Multistrat distribution (.3).
 03/16/2021   JNP      BL       Conference with J. Seery regarding UBS settlement.      0.20      1295.00        $259.00
 03/16/2021   JNP      BL       Conference with J. Seery and then Robert J.             0.60      1295.00        $777.00
                                Feinstein regarding UBS issues and related.
 03/16/2021   JNP      BL       Conference with Gregory V. Demo and Ira D.              0.30      1295.00        $388.50
                                Kharasch regarding UBS issues.
 03/16/2021   JNP      BL       Email to L. Lambert regarding call.                     0.10      1295.00        $129.50
 03/16/2021   JNP      BL       Email to and from A. Clubock regarding call.            0.10      1295.00        $129.50
 03/16/2021   JNP      BL       Conference with Gregory V. Demo and L. Lambert          0.20      1295.00        $259.00
                                regarding potential litigation.
 03/16/2021   JNP      BL       Review and respond to J. Seery email regarding          0.10      1295.00        $129.50
                                Multi Strat and UBS settlement.
 03/16/2021   JNP      BL       Conference with A. Clubock regarding UBS issues.        0.30      1295.00        $388.50
 03/16/2021   RJF      BL       Telephone conferences with Jeffrey N. Pomerantz,        0.80      1395.00       $1,116.00
                                Seery regarding CDO Fund.
 03/16/2021   RJF      BL       Telephone conference with Jeffrey N. Pomerantz,         0.50      1395.00        $697.50
                                Gregory V. Demo regarding pending litigation and
                                UST issues.
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                                                                                      Hours           Rate      Amount
 03/16/2021   JAM      BL       Review/revise draft opposition to Dondero petition     1.70      1245.00       $2,116.50
                                for writ of mandamus (1.1); e-mails with T. Surgent
                                re: e-mail searches for United subpoena (0.1);
                                e-mails with H. Winograd, M. Heyward re:
                                opposition to Dondero petition for writ of mandamus
                                (0.3); telephone conference with J. Pomerantz re:
                                litigation matters (0.2).
 03/16/2021   LSC      BL       Research, review, and analysis of production           4.60       460.00       $2,116.00
                                documents and retrieve potentially responsive
                                documents with respect to various issues.
 03/16/2021   GVD      BL       Review potential litigation issues re UST              0.10       950.00         $95.00
 03/16/2021   GVD      BL       Conference with UST re potential litigation issues     0.20       950.00        $190.00
 03/16/2021   GVD      BL       Conference with J .Pomerantz and R. Feinstein re       0.60       950.00        $570.00
                                pending litigation issues
 03/17/2021   IDK      BL       E-mails with J Morris re Leventon counsel's demand     0.10      1325.00        $132.50
                                for files and attorney client issues
 03/17/2021   IDK      BL       Review briefly UBS markup of settlement                0.30      1325.00        $397.50
                                agreement and J Pomerantz feedback (.3).
 03/17/2021   JNP      BL       Review and comment on latest version of UBS            0.70      1295.00        $906.50
                                Settlement Agreement.
 03/17/2021   JNP      BL       Conference with Latham, J. Seery, Gregory V.           1.20      1295.00       $1,554.00
                                Demo and Robert J. Feinstein regarding status of
                                settlement agreement.
 03/17/2021   JNP      BL       Conference with Robert J. Feinstein after call with    0.10      1295.00        $129.50
                                Latham regarding next steps.
 03/17/2021   JNP      BL       Review and respond to emails regarding audit           0.10      1295.00        $129.50
                                response letter.
 03/17/2021   RJF      BL       Numerous emails and telephone conference with          0.80      1395.00       $1,116.00
                                Seery, Jeffrey N. Pomerantz regarding documents
                                delivered to UBS.
 03/17/2021   RJF      BL       Telephone conference with Seery, Gregory V. Demo       0.30      1395.00        $418.50
                                regarding UBS issues.
 03/17/2021   RJF      BL       Call with Clubok, Jeffrey N. Pomerantz et al.          1.10      1395.00       $1,534.50
                                regarding settlement agreement, related issues.
 03/17/2021   RJF      BL       Review UBS markup of settlement agreement and          0.50      1395.00        $697.50
                                Jeffrey N. Pomerantz comments.
 03/17/2021   RJF      BL       Review draft Highland 9019 motion and supporting       0.40      1395.00        $558.00
                                documents.
 03/17/2021   RJF      BL       Initial review of further revised settlement           0.30      1395.00        $418.50
                                agreement.
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                                                                                         Hours           Rate      Amount
 03/17/2021   JMF      BL       Review reply to Motion to dismiss complaint against       0.30      1050.00        $315.00
                                advisors.
 03/17/2021   JAM      BL       Telephone conference with J. Seery re: status of          1.00      1245.00       $1,245.00
                                litigation (0.2); e-mails with J. Pomerantz, I.
                                Kharasch, G. Demo re: Leventon request for
                                documents (0.1); e-mail to J. Pomerantz, I.
                                Kharasch, G. Demo, H. Winograd re: discovery of
                                Dondero on notes litigation (0.7).
 03/17/2021   EAW      BL       Emails to/from R. Feinstein re: 9019 motion (UBS).        0.10       925.00         $92.50
 03/17/2021   GVD      BL       Conference with J. Morris re open litigation issues       0.20       950.00        $190.00
 03/17/2021   GVD      BL       Conference with Latham, J. Pomerantz, and R.              1.10       950.00       $1,045.00
                                Feinstein re draft settlement agreement
 03/17/2021   GVD      BL       Multiple conferences with J. Seery re UBS                 0.20       950.00        $190.00
                                settlement issues
 03/17/2021   GVD      BL       Conference with R. Feinstein re UBS settlement            0.10       950.00         $95.00
                                issues
 03/17/2021   HRW      BL       Review Dondero answer to demand note complaint            3.90       695.00       $2,710.50
                                (0.4); Draft email to Seery re: demand note litigation
                                scheduling (1.0); Draft discovery demands directed
                                to Dondero for demand note litigation (2.5).
 03/18/2021   IDK      BL       E-mails with J Pomerantz re his correspondence            0.20      1325.00        $265.00
                                with UBS on their further markup of settlement and
                                issues (.2).
 03/18/2021   IDK      BL       Review of Dondero motion to disqualify judge,             0.40      1325.00        $530.00
                                related correspondence re same and my feedback re
                                same (.4).
 03/18/2021   JNP      BL       Email to J. Dubel and J. Seery regarding UBS.             0.10      1295.00        $129.50
 03/18/2021   JNP      BL       Conference with Robert J. Feinstein regarding UBS         0.30      1295.00        $388.50
                                email regarding filing and other issues (2x).
 03/18/2021   JNP      BL       Conference with J. Seery regarding UBS, litigation        0.40      1295.00        $518.00
                                and other case issues.
 03/18/2021   JNP      BL       Email to J. Seery regarding status of UBS Settlement      0.10      1295.00        $129.50
                                Agreement.
 03/18/2021   JNP      BL       Conference with J. Dubel regarding UBS, motion to         0.30      1295.00        $388.50
                                recuse.
 03/18/2021   JNP      BL       Briefly review motion to recuse and emails                0.20      1295.00        $259.00
                                regarding same.
 03/18/2021   JNP      BL       Conference with Ira D. Kharasch regarding claims          0.20      1295.00        $259.00
                                transfer issues, motion to recuse and UBS.
 03/18/2021   JNP      BL       Email to and from A. Clubock regarding Settlement         0.10      1295.00        $129.50
                                Agreement.
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                                                                                       Hours           Rate      Amount

 03/18/2021   JNP      BL       Review emails regarding provision of information to     0.10      1295.00        $129.50
                                UBS.
 03/18/2021   RJF      BL       Several calls with Jeffrey N. Pomerantz, Seery          0.80      1395.00       $1,116.00
                                regarding impending UBS motion.
 03/18/2021   RJF      BL       Prepare draft response to UBS motion.                   0.40      1395.00        $558.00
 03/18/2021   RJF      BL       Telephone conferences and emails with Seery             0.50      1395.00        $697.50
                                regarding documents delivered to UBS.
 03/18/2021   RJF      BL       Review UBS exhibits for privilege, related emails.      0.40      1395.00        $558.00
 03/18/2021   RJF      BL       Emails with Gregory V. Demo, Jeffrey N.                 0.80      1395.00       $1,116.00
                                Pomerantz regarding privileged documents.
 03/18/2021   JAM      BL       E-mail to J. Seery re: promissory notes' litigation     3.10      1245.00       $3,859.50
                                (0.1); review/revise draft document request for
                                Dondero (notes litigation) (0.2); e-mail to G. Demo,
                                H. Winograd re: requests to admit for Dondero
                                (notes litigation) (0.3); review draft witness and
                                exhibit list (0.2); communications w/ J. Pomerantz,
                                I. Kharasch, G. Demo, H. Winograd, L. Canty re:
                                draft witness and exhibit list (0.2); e-mails w/ H.
                                Winograd, Z. Annable re: discovery requests for
                                Dondero (permanent injunction hearing) (0.2);
                                prepare for contempt hearing (1.5); quick review of
                                Dondero's recusal motion (0.4).
 03/18/2021   LSC      BL       Prepare witness and exhibit list and exhibits (3.1);    6.40       460.00       $2,944.00
                                research and prepare attorneys' materials in
                                connection with upcoming hearing (3.3).
 03/18/2021   GVD      BL       Correspondence with Latham re exhibits to UBS           0.20       950.00        $190.00
                                pleading
 03/18/2021   GVD      BL       Review proposed exhibits to UBS pleading and            1.00       950.00        $950.00
                                correspondence with J. Pomerantz and R. Feinstein
                                re same
 03/18/2021   HRW      BL       Draft discovery demands directed to Dondero for         6.60       695.00       $4,587.00
                                demand note litigation (2.8); Prepare exhibits for
                                hearing on motion to stay confirmation order
                                pending appeal (0.4); Review discovery schedules in
                                various adversary proceedings (0.8); Draft discovery
                                demands directed to Dondero for injunctive relief
                                litigation (1.9); Review Dondero's motion to recuse
                                (0.7).
 03/19/2021   IDK      BL       E-mails with J Pomerantz, G Demo re their markups       0.30      1325.00        $397.50
                                on UBS settlement, including brief review of same
                                (.3).
 03/19/2021   JNP      BL       Conference with Robert J. Feinstein regarding           0.10      1295.00        $129.50
                                upcoming call with Latham and Board regarding
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                                                                                          Hours           Rate      Amount
                                UBS.
 03/19/2021   JNP      BL       Conference with Gregory V. Demo regarding UBS              0.10      1295.00        $129.50
                                Settlement Agreement and upcoming call.
 03/19/2021   JNP      BL       Email to and from L. Lambert regarding call to             0.10      1295.00        $129.50
                                discuss litigation.
 03/19/2021   JNP      BL       Conference with J. Dubel, J Seery, Robert J.               0.30      1295.00        $388.50
                                Feinstein, Gregory V. Demo and John A. Morris
                                regarding UBS issues in advance of call.
 03/19/2021   JNP      BL       Conference with Latham, J. Seery, J. dubel, Gregory        0.80      1295.00       $1,036.00
                                V. Demo and Robert J. Feinstein regarding UBS
                                issues.
 03/19/2021   JNP      BL       Review and comment on latest draft of UBS                  0.40      1295.00        $518.00
                                Settlement Agreement.
 03/19/2021   JNP      BL       Conference with Robert J. Feinstein and L. Lambert         0.50      1295.00        $647.50
                                regarding potential litigation.
 03/19/2021   RJF      BL       Emails regarding privileged documents with                 0.40      1395.00        $558.00
                                Clubock, internally.
 03/19/2021   RJF      BL       Call with Seery, Abel, Jeffrey N. Pomerantz et al          0.40      1395.00        $558.00
                                regarding UBS issues.
 03/19/2021   RJF      BL       Call with Jeffrey N. Pomerantz, Seery et al                0.40      1395.00        $558.00
                                regarding UBS call.
 03/19/2021   RJF      BL       Review Jeffrey N. Pomerantz comments to                    0.30      1395.00        $418.50
                                settlement agreement.
 03/19/2021   JMF      BL       Review preservation motion and motion to continue.         0.40      1050.00        $420.00
 03/19/2021   JAM      BL       Review/revise discovery requests to Dondero re:            4.70      1245.00       $5,851.50
                                permanent injunction (0.2); review/revise discovery
                                requests to Dondero re: notes litigation (0.3); e-mails
                                to J. Seery, J. Pomernatz, I. Kharasch, G. Demo, H.
                                Winograd re: discovery requests to Dondero re:
                                notes litigation (0.2); review/revise and send e-mail
                                to J. Seery, PSZJ team re: scheduling of notes
                                litigation (0.2); follow-up call with J. Seery, J.
                                Dubel, PSZJ team re: next steps, contempt hearing
                                (0.7); e-mails with H. Winograd re: exhibit list (0.2);
                                telephone conference with J. Seery, J. Dubel, J.
                                Pomerantz, R. Feinstein, G. Demo re: UBS issues
                                (0.4); prepare for contempt hearing (2.5).
 03/19/2021   LSC      BL       Research document productions for categories of            2.70       460.00       $1,242.00
                                documents for G. Demo and transmit same.
 03/19/2021   GVD      BL       Review discovery re assignment agreement                   0.40       950.00        $380.00
 03/19/2021   GVD      BL       Review draft UBS settlement agreement                      0.60       950.00        $570.00
 03/19/2021   GVD      BL       Revise UBS settlement agreement                            1.00       950.00        $950.00
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                                                                                          Hours           Rate      Amount
 03/19/2021   GVD      BL       Conference with J. Pomerantz re UBS settlement             0.10       950.00         $95.00
                                agreement issues
 03/19/2021   GVD      BL       Conference with PSZJ team and Board re                     0.40       950.00        $380.00
                                preparation for meeting with UBS
 03/19/2021   GVD      BL       Conference with Latham, Board, and PSZJ re UBS             0.80       950.00        $760.00
                                settlement and next steps
 03/19/2021   HRW      BL       Research elements of crime-fraud exception to              2.10       695.00       $1,459.50
                                attorney-client privilege (1.8); Draft witness list for
                                continued hearing on motion to stay confirmation
                                order pending appeal (0.3).
 03/20/2021   IDK      BL       Attend conference call with J Pomerantz, others on         1.30      1325.00       $1,722.50
                                how to respond to further open issues on our
                                response to UBS markup of settlement agreement
                                (1.3).
 03/20/2021   IDK      BL       Review of correspondence with UBS and R                    0.40      1325.00        $530.00
                                Feinstein re UBS draft adversary re preventing
                                distributions from Multistrat, others, including brief
                                review of same, and feedback re same internally.
 03/20/2021   JNP      BL       Conference with Robert J. Feinstein, Ira D.                1.30      1295.00       $1,683.50
                                Kharasch and Gregory V. Demo regarding UBS
                                Settlement Agreement.
 03/20/2021   JNP      BL       Conference with Robert J. Feinstein in advance of          0.30      1295.00        $388.50
                                call with U. S. Trustee and Latham.
 03/20/2021   JNP      BL       Review and respond to Iain A. W. Nasatir comments          0.10      1295.00        $129.50
                                regarding settlement with UBS.
 03/20/2021   JNP      BL       Emails to and from John A. Morris regarding                0.10      1295.00        $129.50
                                contempt hearing evidence.
 03/20/2021   JNP      BL       Conference with L. Lambert, Latham, Gregory V.             0.60      1295.00        $777.00
                                Demo and Robert J. Feinstein regarding litigation.
 03/20/2021   JNP      BL       Conference with Robert J. Feinstein re litigation          0.10      1295.00        $129.50
 03/20/2021   RJF      BL       Telephone conference with Jeffrey N. Pomerantz             0.20      1395.00        $279.00
                                regarding litigation, investigation.
 03/20/2021   RJF      BL       Call with UST, Clubok, Jeffrey N. Pomerantz                0.60      1395.00        $837.00
                                regarding investigation.
 03/20/2021   RJF      BL       Followup telephone conference with Jeffrey N.              0.10      1395.00        $139.50
                                Pomerantz.
 03/20/2021   RJF      BL       Conference with Jeffrey N. Pomerantz, Gregory V.           1.30      1395.00       $1,813.50
                                Demo and Ira D. Kharasch regarding review and
                                revisions to UBS settlement agreement.
 03/20/2021   RJF      BL       Call with Latham, Gregory V. Demo regarding                0.70      1395.00        $976.50
                                investigation.
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                                                                                        Hours           Rate       Amount
 03/20/2021   JAM      BL       Prepare for contempt hearing, including preparation      8.80      1245.00       $10,956.00
                                of cross-examinations for Dondero and Ellington
                                (7.5); telephone conference with J. Seery re: various
                                litigation matters (0.4); telephone conference with
                                G. Demo re: various litigation matters (0.1);
                                telephone conference with J. Pomerantz, I.
                                Kharasch, G. Demo re: UBS litigation matters,
                                contempt hearing, bond hearing (0.6);
                                communications with appellants' counsel, J.
                                Pomerantz, I. Kharasch, G. Demo, H. Winograd re:
                                deposition schedule (0.2).
 03/20/2021   GVD      BL       Conference with Latham re additional discovery           0.80       950.00         $760.00
                                issues and next steps
 03/20/2021   GVD      BL       Review and further revise UBS settlement                 0.30       950.00         $285.00
                                agreement
 03/20/2021   GVD      BL       Conference with PSZJ team re UBS settlement              1.30       950.00        $1,235.00
                                agreement
 03/20/2021   GVD      BL       Review J. Pomerantz revisions to UBS settlement          0.20       950.00         $190.00
                                agreement
 03/20/2021   GVD      BL       Conference with UST re potential litigation issues       0.60       950.00         $570.00
 03/20/2021   GVD      BL       Review settlement agreement re P. Daugherty              0.70       950.00         $665.00
 03/21/2021   IDK      BL       Review briefly extensive correspondence with             0.40      1325.00         $530.00
                                Board, J Pomerantz, G Demo re questions/issues for
                                UBS settlement agreement and new drafts of same.
 03/21/2021   JNP      BL       Review emails regarding call with Board to discuss       0.10      1295.00         $129.50
                                UBS Settlement Agreement.
 03/21/2021   JNP      BL       Review latest settlement agreement and email to          0.30      1295.00         $388.50
                                Board regarding same.
 03/21/2021   JNP      BL       Conference with J. Seery, Robert J. Feinstein, and       1.00      1295.00        $1,295.00
                                Gregory V. Demo regarding UBS Settlement
                                Agreement.
 03/21/2021   JNP      BL       Review emails re call to discuss litigation issues.      0.10      1295.00         $129.50
 03/21/2021   RJF      BL       Revise statement regarding UBS motion and related        0.80      1395.00        $1,116.00
                                emails.
 03/21/2021   RJF      BL       Review and comment on revised UBS settlement             0.50      1395.00         $697.50
                                agreement, related emails.
 03/21/2021   RJF      BL       Call with BOD regarding settlement agreement.            1.00      1395.00        $1,395.00
 03/21/2021   RJF      BL       Further revisions to settlement agreement.               1.00      1395.00        $1,395.00
 03/21/2021   RJF      BL       Telephone conference with Jeffrey N. Pomerantz,          1.30      1395.00        $1,813.50
                                Seery and Gregory V. Demo regarding settlement
                                agreement.
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                                                                                          Hours           Rate       Amount
 03/21/2021   JAM      BL       Review Daugherty proposed changes to settlement            7.00      1245.00        $8,715.00
                                agreement and revise the same (1.6); e-mail to J.
                                Pomerantz, I. Kharasch, G. Demo re: revisions to
                                draft Daugherty settlement agreement and open
                                issues concerning the same (0.2); prepare for
                                contempt hearing (3.7); e-mail to J. Pomerantz, I.
                                Kharasch, G. Demo, H. Winograd re: legal fees for
                                "fee shifting" in connection with contempt motion
                                (0.5); draft Notice of Replacement Exhibits (0.4);
                                communications with Z. Annable, L. Canty re:
                                Notice of Replacement Exhibits (0.1); telephone
                                conference with L. Canty re: contempt hearing (0.1);
                                e-mail to J. Seery, H. Winograd, L. Canty re:
                                contempt hearing (0.4).
 03/21/2021   LSC      BL       Prepare replacement exhibits and coordinate filing         1.70       460.00         $782.00
                                of same (.4); preparation for 3/22 hearing (1.3).
 03/21/2021   GVD      BL       Conference with J. Pomerantz (partial attendance),         1.20       950.00        $1,140.00
                                R. Feinstein, and J. Seery re revisions to UBS
                                settlement agreement
 03/21/2021   GVD      BL       Further revise UBS settlement agreement per                0.70       950.00         $665.00
                                comments from J. Seery, J. Pomerantz, and R.
                                Feinstein
 03/21/2021   GVD      BL       Revise and circulate (internally) UBS settlement           0.60       950.00         $570.00
                                agreement in advance of board call
 03/21/2021   GVD      BL       Conference with J. Seery re revisions to UBS               0.20       950.00         $190.00
                                settlement agreement
 03/21/2021   GVD      BL       Review and revise non opposition to UBS TRO                0.30       950.00         $285.00
 03/21/2021   HRW      BL       Review appeals and critical dates (0.4); Research          1.20       695.00         $834.00
                                issues re: briefing schedules and designation of
                                record (0.5); Review outline of direct and cross for
                                contempt hearing (0.3).
 03/22/2021   IDK      BL       Attend part of Dondero contempt hearing.                   4.50      1325.00        $5,962.50
 03/22/2021   JNP      BL       Participate in hearing regarding Dondero contempt          8.50      1295.00       $11,007.50
                                motion.
 03/22/2021   JNP      BL       Conference with Latham, Gregory V. Demo, Robert            0.40      1295.00         $518.00
                                J. Feinstein and others regarding potential litigation.
 03/22/2021   JNP      BL       Conference with J. Seery, Gregory V. Demo and              0.30      1295.00         $388.50
                                Robert J. Feinstein regarding litigation.
 03/22/2021   JNP      BL       Review chart regarding pending litigation and email        0.10      1295.00         $129.50
                                to H. Winograd regarding same.
 03/22/2021   RJF      BL       Zoom call with AUSA, Jeffrey N. Pomerantz,                 0.40      1395.00         $558.00
                                Clubok et al regarding TRO proceeding.
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                                                                                       Hours           Rate       Amount
 03/22/2021   RJF      BL       Review revise draft of settlement agreement and         0.50      1395.00         $697.50
                                related emails.
 03/22/2021   RJF      BL       Follow up call regarding potential litigation with      0.30      1395.00         $418.50
                                Jeffrey N. Pomerantz
 03/22/2021   JMF      BL       Draft memorandum re pending case and review             1.20      1050.00        $1,260.00
                                litigation/appeal matters.
 03/22/2021   JAM      BL       Prepare for contempt hearing (4.1): telephone          13.30      1245.00       $16,558.50
                                conference with G. Demo re: contempt hearing and
                                related matters (0.2); telephone conference with J.
                                Seery re: contempt hearing (0.1); contempt hearing
                                (morning session) (3.8); telephone conference with
                                J. Pomerantz, I. Kharasch, G. Demo re: contempt
                                hearing (0.1); telephone conference with M.
                                Hartmann re: Ellington and Leventon (0.1);
                                contempt hearing (afternoon session) (4.5);
                                telephone conference with J. Seery, J. Pomerantz, I.
                                Kharasch, G. Demo re: contempt hearing, bond
                                hearing (0.3); telephone conference with H.
                                Winograd re: contempt hearing, HCRE deposition
                                (0.1).
 03/22/2021   LSC      BL       Prepare for and provide assistance at Dondero           8.50       460.00        $3,910.00
                                contempt hearing.
 03/22/2021   GVD      BL       Conference with Latham and PSZJ re status of            0.40       950.00         $380.00
                                potential litigation
 03/22/2021   GVD      BL       Conference with J. Morris re bankruptcy litigation      0.20       950.00         $190.00
                                issues
 03/22/2021   GVD      BL       Revise and circulate UBS settlement motion              0.20       950.00         $190.00
 03/22/2021   GVD      BL       Conference with PSZJ team re status of hearing on       0.10       950.00          $95.00
                                Dondero contempt
 03/22/2021   GVD      BL       Correspondence with J. Morris re follow up to           0.20       950.00         $190.00
                                contempt hearing
 03/22/2021   GVD      BL       Conference with PSZJ and J. Seery re follow up to       0.30       950.00         $285.00
                                hearing on Dondero contempt
 03/22/2021   GVD      BL       Conference with J. Pomerantz and R. Feinstein re        0.30       950.00         $285.00
                                potential UBS litigation
 03/22/2021   GVD      BL       Attend hearing re Dondero contempt                      7.50       950.00        $7,125.00
 03/22/2021   HRW      BL       Hearing on Dondero contempt motion (7.0); Review        7.80       695.00        $5,421.00
                                Highland Adversary Proceedings and critical dates
                                (1.8).
 03/23/2021   IDK      BL       Review of court decision denying recusal.               0.10      1325.00         $132.50
 03/23/2021   JNP      BL       Review order on motion to recuse and emails             0.20      1295.00         $259.00
                                regarding same.
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                                                                                         Hours           Rate      Amount
 03/23/2021   JNP      BL       Emails regarding call with UBS regarding status.          0.10      1295.00        $129.50
 03/23/2021   JNP      BL       Conference with Robert J. Feinstein regarding UBS         0.20      1295.00        $259.00
                                and related.
 03/23/2021   JNP      BL       Emails with Latham and internal regarding status.         0.10      1295.00        $129.50
 03/23/2021   RJF      BL       Call regarding TRO with UBS counsel.                      1.00      1395.00       $1,395.00
 03/23/2021   RJF      BL       Telephone conference with Jeffrey N. Pomerantz            0.30      1395.00        $418.50
                                regarding UBS issues.
 03/23/2021   JMF      BL       Review recusal pleadings and court order re motion.       0.30      1050.00        $315.00
 03/23/2021   JMF      BL       Review updated litigation chart.                          0.30      1050.00        $315.00
 03/23/2021   JAM      BL       Prepare for closing argument on contempt motion           2.20      1245.00       $2,739.00
                                (1.8); telephone conference with J. Pomerantz re:
                                various litigation matters (0.2); telephone conference
                                with J. Seery re: contempt hearing (0.2).
 03/23/2021   LSC      BL       Prepare supplemental list for 3/24 hearing and            0.20       460.00         $92.00
                                correspondence regarding the same.
 03/23/2021   GVD      BL       Conference with Latham re Multi Strat Allocations         0.30       950.00        $285.00
 03/23/2021   GVD      BL       Attend deposition of J. Seery (partial)                   1.30       950.00       $1,235.00
 03/23/2021   GVD      BL       Review order on motion to recuse                          0.20       950.00        $190.00
 03/23/2021   GVD      BL       Conference with L. Hogewood and J. Pomerantz re           0.20       950.00        $190.00
                                bond issues
 03/23/2021   GVD      BL       Conference with HCMLP team and J. Morris re SE            0.50       950.00        $475.00
                                Multi Family deposition issues
 03/23/2021   GVD      BL       Conference with K. George re common interest              0.20       950.00        $190.00
                                privilege
 03/23/2021   GVD      BL       Conference with J. Seery re UBS settlement                0.20       950.00        $190.00
                                agreement
 03/23/2021   GVD      BL       Conference with Latham and R. Feinstein re                1.20       950.00       $1,140.00
                                additional litigation issues
 03/23/2021   HRW      BL       Review Highland Adversary Proceedings and                 0.90       695.00        $625.50
                                critical dates (0.7); Review order denying Dondero
                                Motion to Recuse (0.2).
 03/24/2021   IDK      BL       Review briefly Dondero motion to reopen contempt          1.50      1325.00       $1,987.50
                                hearing for evidence, and feedback of J Pomerantz, J
                                Morris re same (.3); Attend part of continuation of
                                contempt hearing vs Dondero (1.2).
 03/24/2021   IDK      BL       E-mails with R Feinstein, J Pomerantz, G Demo re          0.20      1325.00        $265.00
                                UBS upcoming adversary re Multistrat and various
                                issues re same (.2).
 03/24/2021   JNP      BL       Participate in contempt hearing.                          2.30      1295.00       $2,978.50
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                                                                                        Hours           Rate      Amount
 03/24/2021   JNP      BL       Follow-up call with Board regarding contempt             0.50      1295.00        $647.50
                                hearing and litigation.
 03/24/2021   JNP      BL       Review pleading regarding upcoming litigation and        0.20      1295.00        $259.00
                                conference with Robert J. Feinstein regarding same.
 03/24/2021   JNP      BL       Review latest turn of settlement agreement.              0.10      1295.00        $129.50
 03/24/2021   JNP      BL       Conference with Robert J. Feinstein regarding UBS        0.30      1295.00        $388.50
                                Settlement Agreement and next steps.
 03/24/2021   JNP      BL       Email to Iain A. W. Nasatir regarding UBS                0.10      1295.00        $129.50
                                Settlement Agreement.
 03/24/2021   JNP      BL       Conference with T. Silva, Gregory V. Demo and            0.70      1295.00        $906.50
                                Robert J. Feinstein regarding fund issues and related
                                matters.
 03/24/2021   JNP      BL       Email to L. Lambert regarding call.                      0.10      1295.00        $129.50
 03/24/2021   JNP      BL       Conference with Robert J. Feinstein and then with        0.30      1295.00        $388.50
                                U. S. Trustee regarding litigation.
 03/24/2021   JNP      BL       Conference with J. Seery regarding UBS and               0.20      1295.00        $259.00
                                information to creditors.
 03/24/2021   JNP      BL       Conference with Board, Robert J. Feinstein and           0.80      1295.00       $1,036.00
                                Gregory V. Demo regarding UBS Settlement
                                Agreement.
 03/24/2021   JNP      BL       Review and forward Iain A. W. Nasatir comments           0.10      1295.00        $129.50
                                regarding settlement agreement.
 03/24/2021   JNP      BL       Conference with Robert J. Feinstein regarding UBS        0.30      1295.00        $388.50
                                Settlement Agreement (2x).
 03/24/2021   JNP      BL       Review latest versions of settlement agreement and       0.30      1295.00        $388.50
                                emails regarding same.
 03/24/2021   JNP      BL       Review emails regarding scheduling of preliminary        0.10      1295.00        $129.50
                                injunction hearing regarding advisors action.
 03/24/2021   RJF      BL       Call with Jeffrey N. Pomerantz, Rasnak of UST's          0.30      1395.00        $418.50
                                office regarding TRO application.
 03/24/2021   RJF      BL       Telephone conference with Latham, Greg V. Demo           0.40      1395.00        $558.00
                                regarding seal motion.
 03/24/2021   RJF      BL       Revise statement regarding TRO.                          0.30      1395.00        $418.50
 03/24/2021   RJF      BL       Revise UBS settlement agreement, review                  2.50      1395.00       $3,487.50
                                comments and redrafts.
 03/24/2021   RJF      BL       Call with Jeffrey N. Pomerantz, Gregory V. Demo          0.40      1395.00        $558.00
                                regarding UBS settlement agreement.
 03/24/2021   RJF      BL       Email to Board regarding TRO papers.                     0.20      1395.00        $279.00
 03/24/2021   RJF      BL       Revise statement regarding TRO.                          0.50      1395.00        $697.50
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                                                                                         Hours           Rate      Amount
 03/24/2021   RJF      BL       Call with BOD regarding TRO, etc.                         0.50      1395.00        $697.50
 03/24/2021   RJF      BL       Call with Wilmer Hale, Jeffrey N. Pomerantz,              0.70      1395.00        $976.50
                                Gregory V. Demo regarding Multi-Strat.
 03/24/2021   JMF      BL       Review motion to reopen evidence.                         0.40      1050.00        $420.00
 03/24/2021   JAM      BL       E-mail to J. Pomerantz, I. Kharasch, G. Demo, H.          7.60      1245.00       $9,462.00
                                Winograd re: discovery in connection with objection
                                to employee claims (0.4); e-mail to H. Winograd re:
                                objection to Dondero motion for continuance of
                                contempt hearing (0.2); prepare for closing argument
                                on contempt hearing (2.0); review Dondero motion
                                to reopen evidence for rebuttal testimony (0.2); court
                                hearing on contempt motion and related matters
                                (2.2); telephone conference with J. Seery re:
                                contempt hearing (0.2); telephone conference with
                                Board, J. Pomerantz, I. Kharasch, G. Demo, R.
                                Feinstein re: contempt hearing, UBS issues (0.5);
                                telephone conference with M. Hankin re: contempt
                                hearing and related matters (0.2); review/revise
                                Daugherty settlement agreement (0.7); e-mail to J.
                                Seery, J. Pomerantz, I. Kharasch, G. Demo re:
                                revised Daugherty agreement (0.2); telephone
                                conference with G. Demo re: HCRE documents and
                                facts (0.3); telephone conference with H. Winograd
                                re: HCRE facts and depositions (0.2);
                                communications with L. Drawhorn re: depositions
                                and scheduling (0.2); e-mail to A. Russell, M.
                                Clemente re: scheduling of litigation matters (0.1).
 03/24/2021   LSC      BL       Assist at closing arguments re Dondero contempt           2.00       460.00        $920.00
                                motion.
 03/24/2021   GVD      BL       Review claim transfers                                    0.30       950.00        $285.00
 03/24/2021   GVD      BL       Review revisions to UBS settlement agreement              0.30       950.00        $285.00
 03/24/2021   GVD      BL       Review Dondero motion to re-open evidence                 0.20       950.00        $190.00
 03/24/2021   GVD      BL       Attend Dondero contempt hearing                           2.00       950.00       $1,900.00
 03/24/2021   GVD      BL       Conference with Board and PSZJ team re UBS                0.60       950.00        $570.00
                                settlement agreement and Dondero contempt hearing
 03/24/2021   GVD      BL       Conference with K. George re UBS settlement               0.20       950.00        $190.00
                                agreement and next steps
 03/24/2021   GVD      BL       Conference with J. Pomerantz, R. Feinstein, and T.        0.70       950.00        $665.00
                                Silva re UBS settlement agreement
 03/24/2021   GVD      BL       Conference with J. Morris re HCRE deposition prep         0.20       950.00        $190.00
 03/24/2021   GVD      BL       Conference with J. Winograd re HCRE deposition            0.20       950.00        $190.00
                                prep
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                                                                                       Hours           Rate      Amount
 03/24/2021   GVD      BL       Conference with R. Feinstein and K. George re           0.50       950.00        $475.00
                                additional UBS discovery
 03/24/2021   GVD      BL       Conference with Board re UBS settlement                 0.90       950.00        $855.00
                                agreement
 03/24/2021   GVD      BL       Review R. Feinstein revisions to UBS settlement         0.30       950.00        $285.00
                                agreement
 03/24/2021   HRW      BL       Review Advisors' reply to motion to dismiss             2.20       695.00       $1,529.00
                                complaint for injunctive relief and related research
                                (1.8); Draft response to Dondero's motion for a
                                continuance of demand note proceeding (0.4).
 03/25/2021   JNP      BL       Conference with Robert J. Feinstein and Gregory V.      0.50      1295.00        $647.50
                                Demo regarding latest version of UBS Settlement
                                Agreement, changes and review same.
 03/25/2021   JNP      BL       Conference with John A. Morris regarding Hunter         0.20      1295.00        $259.00
                                Mountain and other litigation issues.
 03/25/2021   JNP      BL       Review emails from B. Assink regarding motion to        0.10      1295.00        $129.50
                                continue schedule for Dondero litigation.
 03/25/2021   JNP      BL       Conference with John A. Morris, Gregory V. Demo         0.50      1295.00        $647.50
                                and DSI for part regarding document issues and
                                litigation issues.
 03/25/2021   JNP      BL       Conference with J. Dubel regarding UBS status.          0.30      1295.00        $388.50
 03/25/2021   JNP      BL       Review proposed extension of time regarding UBS         0.20      1295.00        $259.00
                                appeal of Redeemer settlement brief and emails with
                                team regarding same.
 03/25/2021   RJF      BL       Emails Latham, Jeffrey N. Pomerantz regarding           0.40      1395.00        $558.00
                                TRO motion, confidentiality.
 03/25/2021   JAM      BL       Telephone conference with J. Seery re: litigation       3.80      1245.00       $4,731.00
                                matters (0.3); review/revise response to Dondero
                                motion for continuance of contempt hearing (0.2);
                                e-mails with Z. Annable, H. Winograd re: response
                                to Dondero motion for continuance of contempt
                                hearing (0.1); communications with J. Bonds, L.
                                Drawhorn re: schedule for HCRE-related
                                depositions (0.4); prepare amended deposition
                                notices for the HCRE litigation (0.3);
                                communications with Z. Annable, H. Winograd re:
                                amended deposition notices for the HCRE litigation
                                (0.2); telephone conference with J. Pomerantz re:
                                litigation matters (0.1); e-mails w/ B. Assink re:
                                discovery and trial date for permanent injunction
                                against Dondero (0.3); review/revise documents for
                                Hunter Mountain dismissal (0.2); e-mail to J.
                                Pomerantz, I. Kharasch, G. Demo, H. Winograd re:
                                Hunter Mountain dismissal (0.2); telephone
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                                                                                      Hours           Rate      Amount
                                conference with J. Seery re: Hunter Mountain
                                dismissal (0.1); review documents re: HCRE
                                deposition (1.4).
 03/25/2021   JAM      BL       E-mails to Bonds Ellis re: Debtor's discovery          0.30      1245.00        $373.50
                                demands for Dondero notes litigation (0.3).
 03/25/2021   LSC      BL       Research document productions for certain              2.90       460.00       $1,334.00
                                categories of documents and retrieve same.
 03/25/2021   GVD      BL       Conference with PSZJ team and B. Sharp re              0.50       950.00        $475.00
                                document preservation issues
 03/25/2021   GVD      BL       Conference with K. George re UBS settlement            0.50       950.00        $475.00
                                agreement issues and follow up correspondence with
                                PSZJ team re same
 03/25/2021   GVD      BL       Review draft objections to administrative claims       0.70       950.00        $665.00
 03/25/2021   GVD      BL       Conference with J. Pomerantz and R. Feinstein re       0.50       950.00        $475.00
                                UBS settlement agreement
 03/26/2021   IDK      BL       Attend conference call with J Pomerantz, R             0.40      1325.00        $530.00
                                Feinstein re UBS settlement agreement (.4).
 03/26/2021   JNP      BL       Conference with John A. Morris regarding litigation    0.10      1295.00        $129.50
                                issues including notes and Hunter Mountain.
 03/26/2021   JNP      BL       Conference with DSI and John A. Morris regarding       0.40      1295.00        $518.00
                                record retention and related issues.
 03/26/2021   JNP      BL       Conference with Iain A. W. Nasatir regarding UBS       0.10      1295.00        $129.50
                                settlement and insurance issues.
 03/26/2021   JNP      BL       Email to and from J. Seery regarding UBS               0.10      1295.00        $129.50
                                settlement and insurance issues.
 03/26/2021   JNP      BL       Email to Latham regarding insurance issues and         0.10      1295.00        $129.50
                                settlement agreement.
 03/26/2021   JNP      BL       Conference with Iain A. W. Nasatir regarding UBS       0.10      1295.00        $129.50
                                agreement and insurance issues.
 03/26/2021   JNP      BL       Review UBS Settlement Agreement.                       0.20      1295.00        $259.00
 03/26/2021   JNP      BL       Email to Latham regarding insurance issues and         0.10      1295.00        $129.50
                                UBS Settlement Agreement.
 03/26/2021   JNP      BL       Review Dondero motion for continuance of note          0.10      1295.00        $129.50
                                lawsuit.
 03/26/2021   JNP      BL       Review latest turn of UBS Settlement Agreement.        0.30      1295.00        $388.50
 03/26/2021   JNP      BL       Conference with Robert J. Feinstein and Ira D.         0.40      1295.00        $518.00
                                Kharasch regarding UBS Settlement Agreement.
 03/26/2021   JNP      BL       Review emails regarding Dondero note litigation        0.10      1295.00        $129.50
 03/26/2021   JNP      BL       Review and respond to Gregory V. Demo email            0.10      1295.00        $129.50
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                                                                                          Hours           Rate      Amount
                                regarding UBS.
 03/26/2021   JMF      BL       Review motion to extend briefing deadline.                 0.20      1050.00        $210.00
 03/26/2021   JAM      BL       Telephone conference with J. Seery re: Dondero             2.90      1245.00       $3,610.50
                                request for extension of trial date in notes litigation
                                (0.2); telephone conference with J. Pomerantz re:
                                status of notes litigation, Dondero request for
                                extension of schedule (0.1); e-mail to J. Pomerantz,
                                I. Kharasch, G. Demo, H. Winograd re: Dondero
                                request for extension of trial date in notes litigation
                                (0.1); e-mail to B. Assink re: Dondero request for
                                extension of trial date in notes litigation (0.1);
                                review Dondero demand notes and e-mail to D.
                                Klos, B. Sharp, J. Pomerantz, G. Demo, H.
                                Winograd re: same (0.5); review documents
                                concerning Dondero demand notes (0.8); e-mail to
                                K. Hendricks, D. Klos, B. Sharp, J. Pomerantz, G.
                                Demo, H. Winograd re: facts/documents concerning
                                Dondero demand notes (0.3); review Dondero
                                motion to extend trial date in Notes litigation and
                                emergency motion for expedited hearing (0.4);
                                e-mail to J. Seery, J. Pomerantz, I. Kharasch, G.
                                Demo, H. Winograd re: Dondero motion to extend
                                trial date in Notes litigation and emergency motion
                                for expedited hearing (0.1); telephone conference
                                with H. Winograd re: facts/objection to Dondero
                                motion to extend trial date (0.2); telephone
                                conference with J. Seery re: objection to Dondero
                                motion to adjourn trial date (0.1).
 03/26/2021   JAM      BL       E-mails with T. Ellison, L. Hogewood, D. Rukavina,         0.90      1245.00       $1,120.50
                                J. Pomerantz re: rescheduling of hearing concerning
                                Funds and Advisors (0.1); draft amended notices of
                                hearings concerning Funds and Advisors (0.2);
                                telephone conference with G. Demo re: litigation
                                matters (0.1); e-mail to Z. Annable, H. Winograd re:
                                amended notices of hearings concerning Funds and
                                Advisors (0.1); communications with P. Keiffer, J.
                                Pomerantz, G. Demo re: documents for withdrawal
                                of Hunter Mountain claim and adversary proceeding
                                (0.2); e-mail to J. Bonds re: Dondero deposition
                                (0.1); e-mails with T. Surgent re: status of e-mails
                                searches in response to United subpoena (0.1);
 03/26/2021   LSC      BL       Conduct research and retrieve and transmit                 4.30       460.00       $1,978.00
                                numerous documents in connection with
                                Dondero/Dondero entities and transmit same for G.
                                Demo.
 03/26/2021   GVD      BL       Correspondence with R. Feinstein re UBS settlement         0.10       950.00         $95.00
                                agreement
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                                                                                        Hours           Rate      Amount
 03/26/2021   GVD      BL       Draft summary of Dondero Entity litigation               3.70       950.00       $3,515.00
 03/26/2021   GVD      BL       Conference with J. Morris re demand note issues          0.20       950.00        $190.00
 03/26/2021   GVD      BL       Correspondence with UBS re litigation issues             0.20       950.00        $190.00
 03/26/2021   GVD      BL       Research service addresses re potential litigation       0.20       950.00        $190.00
 03/26/2021   GVD      BL       Conference with J. Donohue re service addresses for      0.10       950.00         $95.00
                                potential litigation
 03/26/2021   GVD      BL       Conference with R. Feinstein and J. Pomerantz re         0.40       950.00        $380.00
                                revisions to UBS settlement agreement
 03/26/2021   GVD      BL       Revise UBS settlement agreement and circulate            0.30       950.00        $285.00
                                same
 03/26/2021   HRW      BL       Call with J. Morris re: objection to Dondero             2.10       695.00       $1,459.50
                                emergency motion for continuance of demand note
                                proceeding (0.1); Review Dondero emergency
                                motion for continuance of demand note proceeding
                                (0.2); Draft request for admission directed to James
                                Dondero in demand note proceeding (1.8).
 03/27/2021   IDK      BL       E-mails with J Pomerantz, G Demo on Gov Re               0.10      1325.00        $132.50
                                issues and next steps (.1).
 03/27/2021   JNP      BL       Conference with Latham, Gregory V. Demo and              0.60      1295.00        $777.00
                                Robert J. Feinstein regarding settlement agreement
                                issues.
 03/27/2021   JNP      BL       Review latest version of UBS Settlement                  0.10      1295.00        $129.50
                                Agreement.
 03/27/2021   JAM      BL       Review documents and draft objection to Dondero          4.90      1245.00       $6,100.50
                                motion for continuance in notes litigation (4.4);
                                e-mails to H. Winograd, L. Canty re: draft objection
                                to Dondero motion for continuance in notes
                                litigation (0.3); e-mail to D. Klos, K. Hendricks, J.
                                Pomerantz, G. Demo, H. Winograd, B. Sharp re:
                                facts concerning Notes litigation against Dondero
                                (0.2).
 03/27/2021   LSC      BL       Review documents and retrieve and prepare exhibits       4.40       460.00       $2,024.00
                                in connection with Dondero Motion for Continuance
                                in Notes Actions.
 03/27/2021   GVD      BL       Draft summary of Dondero entity litigation               1.30       950.00       $1,235.00
 03/27/2021   GVD      BL       Conference with Latham and PSZJ re UBS                   0.60       950.00        $570.00
                                settlement agreement
 03/27/2021   GVD      BL       Correspondence with J. Seery re status of UBS            0.20       950.00        $190.00
                                settlement agreement
 03/27/2021   GVD      BL       Correspondence with J. Morris re Cayman counsel          0.10       950.00         $95.00
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                                                                                        Hours           Rate      Amount
 03/27/2021   GVD      BL       Review Latham revisions to UBS settlement                0.30       950.00        $285.00
                                agreement and revise and circulate same
 03/27/2021   HRW      BL       Draft objection to Dondero's emergency motion to         5.00       695.00       $3,475.00
                                continue demand note proceedings (5.0).
 03/28/2021   JAM      BL       E-mails with D. Klos, K. Hendricks, J. Pomerantz, I.     5.60      1245.00       $6,972.00
                                Kharasch, G. Demo, H. Winograd re: facts relating
                                to Dondero loans and notes (0.3); review/revise draft
                                objection to Dondero motion to modify scheduling
                                order (4.8); communications with J. Pomerantz, I.
                                Kharasch, G. Demo, H. Winograd, L. Canty re:
                                objection to Dondero motion to modify scheduling
                                order (0.3); communications with H. Winograd, L.
                                Canty re: RFAs directed to Dondero (notes
                                litigation) (0.2).
 03/28/2021   LSC      BL       Continued preparation of exhibits in connection with     1.20       460.00        $552.00
                                Dondero Motion for Continuance in Notes Actions.
 03/28/2021   GVD      BL       Review correspondence from Latham re service             0.60       950.00        $570.00
                                addresses re potential litigation
 03/28/2021   HRW      BL       Draft objection to Dondero's emergency motion to         4.80       695.00       $3,336.00
                                continue demand note proceedings (4.5); Research
                                contact information for serving litigation hold
                                notices on Maples FS Limited and CIBC First
                                Caribbean International Bank (0.3).
 03/29/2021   IDK      BL       Review of various correspondence with UBS, others        0.20      1325.00        $265.00
                                on UBS new upcoming papers on adversary and
                                motion to seal.
 03/29/2021   JNP      BL       Review opposition to motion by Dondero to                0.10      1295.00        $129.50
                                continue trial on note litigation.
 03/29/2021   JNP      BL       Review issues and emails regarding UBS settlement.       0.30      1295.00        $388.50
 03/29/2021   JNP      BL       Conference with M. Hankin regarding UBS filings.         0.30      1295.00        $388.50
 03/29/2021   JNP      BL       Conference with John A. Morris and Gregory V.            0.20      1295.00        $259.00
                                Demo regarding SCRE litigation issues and Wick
                                Phillips conflict.
 03/29/2021   JNP      BL       Review latest changes to UBS Settlement                  0.10      1295.00        $129.50
                                Agreement.
 03/29/2021   JNP      BL       Review and respond to email regarding Wick               0.10      1295.00        $129.50
                                Phillips and SE Multi Family issues.
 03/29/2021   JNP      BL       Review email from T. Ellison regarding UBS filings       0.10      1295.00        $129.50
                                and email regarding same.
 03/29/2021   JNP      BL       Conference with Gregory V. Demo regarding UBS            0.10      1295.00        $129.50
                                litigation and email regarding same.
 03/29/2021   JNP      BL       Emails and conference with M. Clemente regarding         0.20      1295.00        $259.00
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                                                                                          Hours           Rate      Amount
                                UBS litigation and Plan issues.
 03/29/2021   JNP      BL       Emails regarding pending litigation filed by UBS           0.30      1295.00        $388.50
                                and court response; Conference with Gregory V.
                                Demo regarding same.
 03/29/2021   JNP      BL       Emails regarding UBS 9019.                                 0.10      1295.00        $129.50
 03/29/2021   JNP      BL       Review UBS 9019 motion.                                    0.20      1295.00        $259.00
 03/29/2021   JNP      BL       Conference with Robert J. Feinstein regarding UBS          0.20      1295.00        $259.00
                                9019 motion.
 03/29/2021   JNP      BL       Conference with J. Dubel regarding UBS issues,             0.30      1295.00        $388.50
                                status and timing.
 03/29/2021   JNP      BL       Review emails with Court and others regarding UBS          0.10      1295.00        $129.50
                                litigation.
 03/29/2021   JNP      BL       Review of UBS litigation papers.                           0.50      1295.00        $647.50
 03/29/2021   RJF      BL       Review UBS motion to seal and TRO papers.                  1.00      1395.00       $1,395.00
 03/29/2021   RJF      BL       Draft response to motion to seal.                          0.50      1395.00        $697.50
 03/29/2021   RJF      BL       Review and comment on draft debtor motion to seal.         0.30      1395.00        $418.50
 03/29/2021   RJF      BL       Emails regarding Chambers conference.                      0.30      1395.00        $418.50
 03/29/2021   JMF      BL       Review UBS seal motion.                                    0.20      1050.00        $210.00
 03/29/2021   JAM      BL       Review and send RFAs for Dondero's notes                   2.40      1245.00       $2,988.00
                                litigation (0.2); revise objection to Dondero's motion
                                to modify scheduling order (0.9); e-mails to J.
                                Pomerantz, I. Kharasch, G. Demo, H. Winograd, L.
                                Canty re: revised objection to Dondero's motion to
                                modify scheduling order and exhibits in support
                                thereof (0.2); review exhibits and e-mail to L. Canty
                                re: redactions and related matters (0.5); e-mails to J.
                                Seery, J. Pomerantz, I. Kharasch, G. Demo, H.
                                Winograd re: draft objection to Dondero's motion to
                                modify scheduling order and exhibits in support
                                thereof (0.1); review/revise objection to Dondero
                                motion to modify scheduling order (0.2);
                                review/revise JAM declaration in support of
                                objection to Dondero motion to modify scheduling
                                order (0.3).
 03/29/2021   JAM      BL       Prepare for HCRE/Dondero depositions (2.6);                4.50      1245.00       $5,602.50
                                telephone conference with G. Demo re: HCRE facts
                                (0.2); e-mail to counsel re: Zoom instructions for
                                HCRE deposition (0.1) telephone conference with
                                G. Demo re: Wicks Phillips' conflicts (0.2);
                                telephone conference with J. Pomerantz, I.
                                Kharasch, G. Demo re: Wicks Phillips' conflicts
                                telephone conference with J. Seery, G. Demo re:
                                Wicks Phillips' conflicts (0.2); draft e-mail to L.
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                                                                                         Hours           Rate      Amount
                                Drawhorn re: Wicks' Phillips' conflicts (0.4); e-mails
                                with J. Seery, J. Pomerantz, I. Kharasch, G. Demo,
                                H. Winograd re: draft e-mail to L. Drawhorn (0.1);
                                communications to all counsel, TSG, PSZJ team re:
                                adjournment of HCRE depositions (0.2); draft
                                amended deposition notices for HCRE and Dondero
                                (0.1); e-mails with Z. Annable, G. Demo, H.
                                Winograd re: amended deposition notices for HCRE
                                and Dondero (0.1); telephone conference with J.
                                Seery re: Wicks Phillips' conflicts (0.1); telephone
                                conference with H. Winograd re: HCRE litigation
                                matters (0.1); telephone conference with J. Bonds re:
                                Dondero deposition and related matters (0.1).
 03/29/2021   LSC      BL       Prepare redacted exhibits for Objection to Dondero        0.50       460.00        $230.00
                                motion to modify scheduling order.
 03/29/2021   GVD      BL       Conference with J. Pomerantz re filing of stay            0.10       950.00         $95.00
                                pending appeal in District Court
 03/29/2021   GVD      BL       Conference with J. Morris re preparation for              0.70       950.00        $665.00
                                HCRE/SEMF deposition
 03/29/2021   GVD      BL       Conference with J. Morris and J. Seery re HCRE            0.20       950.00        $190.00
                                conflict of interest
 03/29/2021   GVD      BL       Conference with J. Morris and D. Klos re HCRE             0.20       950.00        $190.00
                                issues re deposition
 03/29/2021   GVD      BL       Correspondence with Hunton re deficiency bond             0.10       950.00         $95.00
                                issues
 03/29/2021   GVD      BL       Review draft objection to Dondero motion to               0.50       950.00        $475.00
                                continue hearing
 03/29/2021   GVD      BL       Attend to multiple issues re filing of UBS response       2.60       950.00       $2,470.00
                                under seal
 03/29/2021   GVD      BL       Review exhibits to Dondero objection for                  0.30       950.00        $285.00
                                confidentiality
 03/29/2021   GVD      BL       Prepare back up information re UBS claim issues           0.60       950.00        $570.00
 03/29/2021   HRW      BL       Edit and review objection to Dondero's emergency          2.50       695.00       $1,737.50
                                motion to continue demand note proceedings (2.5).
 03/30/2021   JNP      BL       Conference with J. Dubel regarding UBS 9019               0.30      1295.00        $388.50
                                motion.
 03/30/2021   JNP      BL       Review and revise UBS 9019.                               0.50      1295.00        $647.50
 03/30/2021   JNP      BL       Review emails regarding litigation hold letter and        0.10      1295.00        $129.50
                                respond.
 03/30/2021   JNP      BL       Conference with John A. Morris regarding document         0.30      1295.00        $388.50
                                issues and pursuit of claims issues.
 03/30/2021   JNP      BL       Review of Settlement Agreement with Siepe.                0.20      1295.00        $259.00
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                                                                                         Hours           Rate      Amount
 03/30/2021   JNP      BL       Review and respond to email regarding Wick                0.10      1295.00        $129.50
                                Phillips conflict.
 03/30/2021   JNP      BL       Conference with Robert J. Feinstein regarding 2004.       0.20      1295.00        $259.00
 03/30/2021   JNP      BL       Conference with J. Seery and John A. Morris               0.30      1295.00        $388.50
                                regarding litigation issues, sharing information with
                                Committee and related matters.
 03/30/2021   JNP      BL       Emails regarding Court ruling on extending Dondero        0.10      1295.00        $129.50
                                note litigation trial date.
 03/30/2021   RJF      BL       Telephone conference with Jeffrey N. Pomerantz            0.20      1395.00        $279.00
                                regarding Reid Collins.
 03/30/2021   RJF      BL       Review document presentation notices, related             0.30      1395.00        $418.50
                                emails.
 03/30/2021   JMF      BL       Review updated litigation chart.                          0.30      1050.00        $315.00
 03/30/2021   JAM      BL       Telephone conference with G. Demo re: litigation          0.50      1245.00        $622.50
                                matters (0.2); telephone conference with J.
                                Pomerantz re: litigation matters (0.3).
 03/30/2021   JAM      BL       Review/revise objection to Dondero motion to              1.10      1245.00       $1,369.50
                                modify scheduling order (0.2); e-mails with Z.
                                Annable, H. Winograd, L. Canty re: exhibits to
                                objection to Dondero motion to modify scheduling
                                order (0.1); e-mail to B. Assink, Bonds Ellis, J.
                                Pomerantz, G. Demo, H. Winograd re: timing of
                                discovery (0.2); e-mails with Z. Annable, G. Demo,
                                H. Winograd re: objection to Dondero motion to
                                modify scheduling order (0.2); communications with
                                J. Seery, J. Pomerantz re: court's ruling on Dondero
                                motion to modify scheduling order (0.2); e-mails
                                with T. Surgent, J. Sommer re: results from e-mail
                                searches in response to United subpoena (0.2).
 03/30/2021   LSC      BL       Redact additional exhibits (.3); research and review      3.20       460.00       $1,472.00
                                document productions for J. Morris and
                                correspondence regarding the same (2.9).
 03/30/2021   GVD      BL       Review and revise draft 9019 motion re UBS                1.40       950.00       $1,330.00
                                settlement
 03/30/2021   GVD      BL       Review redacted exhibits to Dondero objection re          0.20       950.00        $190.00
                                confidentiality
 03/30/2021   GVD      BL       Conference with J. Morris re litigation issues            0.30       950.00        $285.00
 03/30/2021   GVD      BL       Review UBS litigation hold notice and                     0.20       950.00        $190.00
                                correspondence with T. Surgent re same
 03/30/2021   GVD      BL       Finalize UBS settlement agreement                         0.30       950.00        $285.00
 03/30/2021   GVD      BL       Conference with J. Morris re litigation hold notice re    0.40       950.00        $380.00
                                UBS
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                                                                                       Hours           Rate      Amount
 03/30/2021   GVD      BL       Conference with J. Seery re UBS settlement issues       0.20       950.00        $190.00
 03/30/2021   GVD      BL       Further revise and circulate UBS 9019 motion re         1.20       950.00       $1,140.00
                                changes from J. Pomerantz and R. Feinstein
 03/30/2021   GVD      BL       Correspondence with PSZJ team re letter from Reid       0.10       950.00         $95.00
                                Collins re UBS litigation hold
 03/30/2021   HRW      BL       Review pending adversary proceedings (0.5).             0.50       695.00        $347.50
 03/31/2021   IDK      BL       E-mails with J Pomerantz, others on UBS litigation      0.20      1325.00        $265.00
                                holds and Dondero counsel feedback on same.
 03/31/2021   JNP      BL       Review emails regarding litigation hold.                0.10      1295.00        $129.50
 03/31/2021   JNP      BL       Conference with Robert J. Feinstein regarding next      0.30      1295.00        $388.50
                                steps after court ruling on UBS and Debtor seal
                                motion.
 03/31/2021   JNP      BL       Email to Board regarding Court ruling on UBS and        0.10      1295.00        $129.50
                                Debtor seal motions.
 03/31/2021   JNP      BL       Email to Latham regarding call to discuss next steps    0.10      1295.00        $129.50
                                regarding UBS litigation.
 03/31/2021   JNP      BL       Conference with J. Seery regarding UBS issues and       0.30      1295.00        $388.50
                                related.
 03/31/2021   JNP      BL       Conference with J. Dubel regarding UBS 9019             0.40      1295.00        $518.00
                                motion and stay pending appeal issues.
 03/31/2021   JNP      BL       Review email from C. Taylor regarding litigation        0.10      1295.00        $129.50
                                under seal.
 03/31/2021   JNP      BL       Review C. Taylor email regarding litigation hold        0.10      1295.00        $129.50
                                and review litigation hold.
 03/31/2021   JNP      BL       Conference with John A. Morris regarding Wick           0.10      1295.00        $129.50
                                Phillips conflicts.
 03/31/2021   JNP      BL       Conference with Robert J. Feinstein regarding call      0.10      1295.00        $129.50
                                with Latham.
 03/31/2021   JNP      BL       Participate In call with Latham, John A. Morris,        0.70      1295.00        $906.50
                                Robert J. Feinstein and Gregory V. Demo regarding
                                status of UBS lawsuit and related issues.
 03/31/2021   MDJ      BL       Email exchanges with L. Canty, G. Demo and copy         3.20       395.00       $1,264.00
                                personnel re litigation hold letters; Revisions to
                                letterhead and delivery; Prepare Express Mail/FedX
                                labels and coordinate delivery; Call with copy
                                personnel re Cayman FedXs; Vfile letters.
 03/31/2021   RJF      BL       Call with Latham regarding TRO proceedings.             0.70      1395.00        $976.50
 03/31/2021   RJF      BL       Review and comment on litigation hold letter and        0.30      1395.00        $418.50
                                related emails.
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                                                                                         Hours            Rate        Amount
 03/31/2021   RJF      BL       Telephone conference with Jeffrey N. Pomerantz             0.30      1395.00          $418.50
                                regarding TRO proceeding.
 03/31/2021   RJF      BL       Revise draft statement regarding TRO, related              0.30      1395.00          $418.50
                                emails.
 03/31/2021   RJF      BL       Review proposed revisions to draft 9019 motion,            0.30      1395.00          $418.50
                                emails Gregory V. Demo regarding same.
 03/31/2021   JMF      BL       Review UBS complaint and seal motion.                      0.30      1050.00          $315.00
 03/31/2021   JAM      BL       Review/revise draft litigation hold letter concerning      1.60      1245.00         $1,992.00
                                sealed litigation (0.6); communications with J.
                                Pomerantz, I. Kharasch, G. Demo, R. Feinstein re:
                                litigation hold letter concerning sealed litigation
                                (0.2); telephone conference with J. Pomerantz, R.
                                Feinstein, G. Demo, L& W attorneys re: UBS
                                adversary proceeding and related matters (0.7);
                                e-mails with B. Assink, H. Winograd re: modified
                                scheduling order in Dondero's notes litigation (0.1).,
 03/31/2021   GVD      BL       Conference with PSZJ and UBS re next steps re              0.70       950.00          $665.00
                                adversary proceeding
 03/31/2021   GVD      BL       Further revise UBS 9019 motion re comments from            0.40       950.00          $380.00
                                J. Dubel
 03/31/2021   GVD      BL       Draft and send litigation hold notices                     2.90       950.00         $2,755.00
 03/31/2021   GVD      BL       Draft and circulate order on motion to seal                0.20       950.00          $190.00
 03/31/2021   GVD      BL       Conference with J. Pomerantz re UBS conference             0.10       950.00           $95.00

                                                                                         448.20                    $451,649.00

  Case Administration [B110]
 03/01/2021   BMK      CA       Prepared daily memo narrative and coordinated              0.40       375.00          $150.00
                                client distribution.
 03/01/2021   GVD      CA       Attend to issues re scheduling calls                       0.20       950.00          $190.00
 03/02/2021   IDK      CA       Review of updated WIP list (.1); Attend WIP call on        1.10      1325.00         $1,457.50
                                open issues (1.0).
 03/02/2021   JNP      CA       Participate in WIP call.                                   1.00      1295.00         $1,295.00
 03/02/2021   KKY      CA       Review and revise critical dates                           2.50       460.00         $1,150.00
 03/02/2021   JEO      CA       Participate in PSZJ WIP Call                               0.80      1050.00          $840.00
 03/02/2021   JMF      CA       Draft memorandum re pending case issues (.4);              1.10      1050.00         $1,155.00
                                telephone call with G. Demo, I. Kharasch and J.N,
                                Pomerantz re same (.7).
 03/02/2021   JAM      CA       Internal WIP call (J. Pomerantz, I. Kharasch, G.           0.80      1245.00          $996.00
                                Demo, J. Fried, J. O'Neill, H. Wonograd) (0.8).
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                                                                                        Hours           Rate      Amount
 03/02/2021   BMK      CA       Prepared daily memo narrative and coordinated            0.10       375.00         $37.50
                                client distribution.
 03/02/2021   BMK      CA       Prepared daily memo narrative and coordinated            0.30       375.00        $112.50
                                client distribution.
 03/02/2021   GVD      CA       Attend WIP Call                                          0.80       950.00        $760.00
 03/03/2021   BMK      CA       Prepared daily memo narrative and coordinated            0.10       375.00         $37.50
                                client distribution.
 03/03/2021   GVD      CA       Multiple conferences with J. Seery re open issues        0.40       950.00        $380.00
                                and next steps
 03/04/2021   BMK      CA       Prepared daily memo narrative and coordinated            0.30       375.00        $112.50
                                client distribution.
 03/05/2021   JMF      CA       Review critical dates and adjustments for continued      0.30      1050.00        $315.00
                                adversary deadlines and hearings.
 03/05/2021   BMK      CA       Prepared daily memo narrative and coordinated            0.10       375.00         $37.50
                                client distribution.
 03/05/2021   GVD      CA       Conference with J. Pomerantz re open issues              0.20       950.00        $190.00
 03/07/2021   JMF      CA       Review critical dates re litigation and case issues      0.70      1050.00        $735.00
                                (.3); draft updated WIP re same (.4).
 03/08/2021   BMK      CA       Prepared daily memo narrative and coordinated            0.30       375.00        $112.50
                                client distribution.
 03/08/2021   GVD      CA       Multiple conferences with J. Seery re status of case     0.30       950.00        $285.00
 03/09/2021   IDK      CA       Review of updated WIP agenda (.1); Attend part of        0.60      1325.00        $795.00
                                conference call with attorneys on WIP on all open
                                issues and appeal issues (.5).
 03/09/2021   JNP      CA       Participate in PSZJ WIP call.                            0.60      1295.00        $777.00
 03/09/2021   JEO      CA       Participate in PSZJ WIP call                             0.80      1050.00        $840.00
 03/09/2021   JMF      CA       Draft WIP re pending case issues (.3); telephone call    1.00      1050.00       $1,050.00
                                with J. Morris, J.N. Pomerantz, I. Kharasch and G.
                                Demo re same (.7).
 03/09/2021   JAM      CA       Internal WIP call (J. Pomerantz, I. Kharasch, G.         0.70      1245.00        $871.50
                                Demo, H. Winograd).
 03/09/2021   BMK      CA       Prepared daily memo narrative and coordinated            0.40       375.00        $150.00
                                client distribution.
 03/09/2021   GVD      CA       Multiple conferences with J. Seery re open issues        0.40       950.00        $380.00
                                and next steps
 03/09/2021   GVD      CA       Attend WIP Call                                          0.80       950.00        $760.00
 03/09/2021   HRW      CA       PSZJ WIP Call (0.7);                                     0.70       695.00        $486.50
 03/10/2021   BMK      CA       Prepared daily memo narrative and coordinated            0.30       375.00        $112.50
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                                                                                        Hours           Rate      Amount
                                client distribution.
 03/10/2021   GVD      CA       Conference with J. Seery re open items and next          0.20       950.00        $190.00
                                steps
 03/11/2021   GVD      CA       Multiple conferences with J. Seery re open issues        0.60       950.00        $570.00
                                and next steps
 03/11/2021   GVD      CA       Multiple conferences with J. Romey re open items         0.40       950.00        $380.00
                                and next steps
 03/12/2021   KKY      CA       Review and revise critical dates                         1.20       460.00        $552.00
 03/12/2021   GVD      CA       Conference with J. Seery re open issues and next         0.20       950.00        $190.00
                                steps
 03/13/2021   GVD      CA       Attend to issues re Fifth Circuit appearance             0.20       950.00        $190.00
 03/14/2021   GVD      CA       Multiple conferences with J. Seery re open issues        0.70       950.00        $665.00
                                and next steps
 03/15/2021   KKY      CA       Review and revise critical dates                         3.50       460.00       $1,610.00
 03/15/2021   JEO      CA       Review and finalize monthly operating report for         0.40      1050.00        $420.00
                                January 2021
 03/15/2021   JMF      CA       Review docket re filed pleadings for upcoming            0.30      1050.00        $315.00
                                March hearings.
 03/15/2021   BMK      CA       Prepared daily memo narrative and coordinated            1.70       375.00        $637.50
                                client distribution.
 03/15/2021   GVD      CA       Conference with J. Seery re open issues and next         0.20       950.00        $190.00
                                steps
 03/16/2021   IDK      CA       Review of updated WIP list (.1); Attend WIP call         0.50      1325.00        $662.50
                                with J Fried, G Demo re open issues (.4).
 03/16/2021   JEO      CA       Call with PSZJ team to discuss pending matters           0.50      1050.00        $525.00
 03/16/2021   JMF      CA       Draft memorandum re pending issues and litigation        0.70      1050.00        $735.00
                                matters.
 03/16/2021   JMF      CA       Telephone call with G. D, J. O'Neill and I. Kharasch     0.60      1050.00        $630.00
                                re pending case issues and litigation matters.
 03/16/2021   JAM      CA       Internal WIP call (I. Kharasch, G. Demo, J. Fried, H.    0.60      1245.00        $747.00
                                Winograd, J. O'Neill) (0.6).
 03/16/2021   BMK      CA       Prepared daily memo narrative and coordinated            0.10       375.00         $37.50
                                client distribution.
 03/17/2021   KKY      CA       Review and revise critical dates                         3.80       460.00       $1,748.00
 03/17/2021   BMK      CA       Prepared daily memo narrative and coordinated            0.10       375.00         $37.50
                                client distribution.
 03/18/2021   BMK      CA       Prepared daily memo narrative and coordinated            0.80       375.00        $300.00
                                client distribution.
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                                                                                       Hours           Rate      Amount
 03/19/2021   KKY      CA       Review and revise critical dates                        0.40       460.00        $184.00
 03/19/2021   BMK      CA       Prepared daily memo narrative and coordinated           0.50       375.00        $187.50
                                client distribution.
 03/19/2021   JE       CA       Review motion and brief of Mr. Dondero and others       1.20      1195.00       $1,434.00
                                to recuse Judge Jernigan.
 03/20/2021   GVD      CA       Correspondence re schedule of conferences               0.10       950.00         $95.00
 03/22/2021   BMK      CA       Prepared daily memo narrative and coordinated           0.10       375.00         $37.50
                                client distribution.
 03/23/2021   IDK      CA       Review of updated WIP list (.1); Attend WIP call on     0.90      1325.00       $1,192.50
                                all open issues (.8).
 03/23/2021   JNP      CA       Participate on PSZJ WIP call (partial).                 0.60      1295.00        $777.00
 03/23/2021   JEO      CA       Participate in PSZJ WIP call                            0.80      1050.00        $840.00
 03/23/2021   JMF      CA       Draft WIP (.4); telephone call with G. Demo, J.N.       1.20      1050.00       $1,260.00
                                Pomerantz, I. Kharasch re same (.8).
 03/23/2021   JAM      CA       Internal WIP call (J. Pomerantz (partial                0.70      1245.00        $871.50
                                participation), I. Kharasch, G. Demo, J. Fried, J.
                                O'Neill) (0.7).
 03/23/2021   BMK      CA       Prepared daily memo narrative and coordinated           0.10       375.00         $37.50
                                client distribution.
 03/23/2021   GVD      CA       Correspondence re scheduling issues                     0.10       950.00         $95.00
 03/23/2021   GVD      CA       Attend WIP Call                                         0.80       950.00        $760.00
 03/24/2021   BMK      CA       Prepared daily memo narrative and coordinated           0.90       375.00        $337.50
                                client distribution.
 03/25/2021   BMK      CA       Prepared daily memo narrative and coordinated           0.50       375.00        $187.50
                                client distribution.
 03/26/2021   JMF      CA       Review critical dates and litigation deadlines.         0.30      1050.00        $315.00
 03/26/2021   BMK      CA       Prepared daily memo narrative and coordinated           0.10       375.00         $37.50
                                client distribution.
 03/29/2021   KKY      CA       Review and revise critical dates                        0.30       460.00        $138.00
 03/29/2021   JMF      CA       Review case matters and draft memorandum re             1.30      1050.00       $1,365.00
                                pending litigation and plan issues.
 03/29/2021   BMK      CA       Prepared daily memo narrative and coordinated           0.30       375.00        $112.50
                                client distribution.
 03/30/2021   IDK      CA       Review of updated WIP list (.1); Attend WIP call        0.90      1325.00       $1,192.50
                                with J Pomerantz, others on all open issues (.8).
 03/30/2021   JNP      CA       Participate on weekly WIP call with PSZJ .              0.80      1295.00       $1,036.00
 03/30/2021   JEO      CA       Participate in team call with PSZJ to review pending    0.80      1050.00        $840.00
                                matters
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                                                                                       Hours           Rate       Amount
 03/30/2021   JMF      CA       Draft WIP (.4); telephone call with G. Demo, I.         1.20      1050.00       $1,260.00
                                Kharasch, J.N. Pomernatz, J. O'Neill re pending
                                cases and litigation matters (.8).
 03/30/2021   JAM      CA       Internal WIP call (J. Pomerantz, I. Kharasch, G.        0.80      1245.00         $996.00
                                Demo, J. Fried, J. O'Neill) (0.8).
 03/30/2021   BMK      CA       Prepared daily memo narrative and coordinated           0.30       375.00         $112.50
                                client distribution.
 03/30/2021   GVD      CA       Correspondence with J. Fried re extra items for WIP     0.10       950.00          $95.00
                                call
 03/30/2021   GVD      CA       Attend WIP call                                         0.80       950.00         $760.00
 03/30/2021   HRW      CA       PSZJ WIP Call (0.8).                                    0.80       695.00         $556.00
 03/31/2021   KKY      CA       Review and revise critical dates                        0.30       460.00         $138.00
 03/31/2021   JMF      CA       Draft memorandum re pending case and litigation         1.10      1050.00       $1,155.00
                                issues.
 03/31/2021   JMF      CA       Review critical dates memo (.3); emails to K. Yee re    0.30      1050.00         $315.00
                                additions to same.
 03/31/2021   BMK      CA       Prepared daily memo narrative and coordinated           0.10       375.00          $37.50
                                client distribution.
 03/31/2021   GVD      CA       Conference with J. Pomerantz and J. Morris re           0.10       950.00          $95.00
                                scheduling issues

                                                                                       55.00                    $46,756.00

  Claims Admin/Objections[B310]
 03/01/2021   JEO      CO       Review status of claims                                 1.00      1050.00       $1,050.00
 03/01/2021   JAM      CO       Telephone conference with G. Demo re: HCRE              0.20      1245.00         $249.00
                                claim objection (0.2).
 03/02/2021   IDK      CO       E-mails with IFA counsel re status of potential         0.20      1325.00         $265.00
                                settlement of remainder of its claim and next steps
 03/02/2021   JMF      CO       Review open claims issues and objections re             0.80      1050.00         $840.00
                                continued claims.
 03/03/2021   IDK      CO       Review of correspondence with J Morris, G Demo          0.10      1325.00         $132.50
                                on Hunter Mountain claim (.1).
 03/05/2021   JMF      CO       Review Dallas county tax inquiry re county tax          0.40      1050.00         $420.00
                                payments and reconciliation of amounts.
 03/07/2021   IDK      CO       E-mails with G Demo, J Morris re further issues and     0.10      1325.00         $132.50
                                developments on Hunter Mountain claim.
 03/07/2021   JMF      CO       Analyze admin bar date issues re types of               0.50      1050.00         $525.00
                                administrative claims and motion to set same.
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                                                                                        Hours           Rate      Amount
 03/08/2021   JEO      CO       Review status of claims                                  1.00      1050.00       $1,050.00
 03/08/2021   JMF      CO       Draft claims bar date motion.                            1.20      1050.00       $1,260.00
 03/08/2021   JMF      CO       Review order and plan supplement re employee             1.00      1050.00       $1,050.00
                                insider claims; (.8) emails to J Donahue re treatment
                                issues re same (.2).
 03/08/2021   LAF      CO       Legal research re: Bar date motions in Texas.            0.50       475.00        $237.50
 03/08/2021   KBD      CO       Review employee benefit issue.                           0.20      1195.00        $239.00
 03/09/2021   JMF      CO       Review emails and order Texas county tax claim           0.30      1050.00        $315.00
                                payment issues.
 03/10/2021   IDK      CO       E-mails with J Fried, G Demo re new admin claims         0.20      1325.00        $265.00
                                filed and next steps re claim objections (.2).
 03/10/2021   JNP      CO       Conference with K. Dine and Gregory V. Demo              0.30      1295.00        $388.50
                                regarding employee claims issues.
 03/10/2021   JMF      CO       Review summary chart re filed administrative             0.60      1050.00        $630.00
                                claims.
 03/10/2021   GVD      CO       Draft third omnibus objection to claims                  1.00       950.00        $950.00
 03/10/2021   GVD      CO       Correspondence re omnibus claims issues                  0.20       950.00        $190.00
 03/10/2021   GVD      CO       Conference with K. Dine re potential employee            0.10       950.00         $95.00
                                litigation issues
 03/10/2021   GVD      CO       Conference with J. Pomerantz and K. Dine re              0.30       950.00        $285.00
                                potential employee litigation issues
 03/10/2021   KBD      CO       Review information relating to employee claims.          0.30      1195.00        $358.50
 03/11/2021   IDK      CO       Review of various correspondence with CEO, others        0.20      1325.00        $265.00
                                on draft of claim objection to employee claims and
                                issues re same (.2).
 03/11/2021   IDK      CO       Review briefly correspondence and DE Chancery            0.20      1325.00        $265.00
                                court decision staying Daugherty action (.2).
 03/11/2021   JEO      CO       Call with Pat Leathem regarding reporting on claims      0.40      1050.00        $420.00
 03/11/2021   JAM      CO       Review e-mails re: objection to employee claims          0.20      1245.00        $249.00
                                (0.2);
 03/11/2021   GVD      CO       Draft third omnibus objection to claim                   1.80       950.00       $1,710.00
 03/11/2021   GVD      CO       Correspondence with claims trader re status of case      0.20       950.00        $190.00
 03/11/2021   KBD      CO       Review and prepare comment on objection to certain       0.30      1195.00        $358.50
                                employee claims.
 03/11/2021   KBD      CO       Prepare employee stipulations.                           0.60      1195.00        $717.00
 03/12/2021   IDK      CO       E-mails with G Demo re revised objection to              0.40      1325.00        $530.00
                                employee claims, including brief review of same, as
                                well as just discovered amendment to employee
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                                                                                       Hours           Rate      Amount
                                bonus plan that changes vesting and problems with
                                same.
 03/12/2021   JAM      CO       Review/revise draft objection to employee proofs of     2.30      1245.00       $2,863.50
                                claim (1.1); e-mail to J. Pomerantz, I. Kharasch, G.
                                Demo re: comments to draft objection to employee
                                proofs of claim (0.1); review revised objection to
                                employee proofs of claim (0.2); review/revise
                                stipulations withdrawing proofs of claim and
                                dismissing adversary proceeding without prejudice
                                for Hunter Mountain (0.9)
 03/12/2021   GVD      CO       Review and revise objection to employee claims and      2.80       950.00       $2,660.00
                                attend to issues re same
 03/12/2021   KBD      CO       Review and prepare comments to objection to             0.30      1195.00        $358.50
                                claims.
 03/12/2021   KBD      CO       Review correspondence relating to employee claims       0.50      1195.00        $597.50
                                matters.
 03/13/2021   GVD      CO       Correspondence re research re employee claim            0.50       950.00        $475.00
                                issues
 03/13/2021   GVD      CO       Conference with J. Seery re employee claim issues       0.50       950.00        $475.00
 03/14/2021   GVD      CO       Review correspondence re deferred comp plans            0.60       950.00        $570.00
 03/15/2021   IDK      CO       E-mails with attorneys re Daugherty amendment to        0.20      1325.00        $265.00
                                his claim and settlement
 03/15/2021   JNP      CO       Review latest version of employee claim objection       0.30      1295.00        $388.50
                                and emails regarding same.
 03/15/2021   JNP      CO       Review emails regarding Daugherty claim                 0.10      1295.00        $129.50
                                amendment.
 03/15/2021   JEO      CO       Review status of claims                                 1.00      1050.00       $1,050.00
 03/15/2021   JEO      CO       Review emails from KCC and follow up on issues          0.80      1050.00        $840.00
                                related to Daugherty claim
 03/15/2021   JMF      CO       Review claims spreadsheet and issues re Daugherty       0.30      1050.00        $315.00
                                document filing.
 03/15/2021   JMF      CO       Review bar date motion and issues re same.              0.30      1050.00        $315.00
 03/15/2021   GVD      CO       Review research materials re employee claims            2.30       950.00       $2,185.00
 03/15/2021   GVD      CO       Further revise objection to employee proofs of claim    0.60       950.00        $570.00
 03/15/2021   GVD      CO       Conference with J. Romey re employee issues and         0.20       950.00        $190.00
                                objection to claims
 03/15/2021   KBD      CO       Review and comment on draft objection to claims.        0.20      1195.00        $239.00
 03/16/2021   IDK      CO       Attend conference call with J Pomerantz and G           1.10      1325.00       $1,457.50
                                Demo re unauthorized modification of bonus plan
                                and related claim objection (.5); Attend conference
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                                                                                     Hours           Rate      Amount
                                call with Wilmer Hale, J Pomerantz, G Demo re
                                same (.6).
 03/16/2021   IDK      CO       Review of correspondence with Wilmer Hale, G          0.20      1325.00        $265.00
                                Demo on claim objection to employee and improper
                                amendment to bonus plan, and E-mails with Collins
                                and J Fried re same (.2).
 03/16/2021   JNP      CO       Review and revise employee claim objection.           0.40      1295.00        $518.00
 03/16/2021   JNP      CO       Conference with Ira D. Kharasch and Gregory V.        0.50      1295.00        $647.50
                                Demo regarding employee claim issues.
 03/16/2021   JNP      CO       Conference with A. Stauber, Ira D. Kharasch,          0.60      1295.00        $777.00
                                Gregory V. Demo and K. Dine regarding employee
                                claim issues.
 03/16/2021   JMF      CO       Review employee letters and emails re same re         0.40      1050.00        $420.00
                                claims.
 03/16/2021   GVD      CO       Conference with PSZJ team re employee claims          0.50       950.00        $475.00
                                issues
 03/16/2021   GVD      CO       Attend to issues re follow up to call re employee     0.20       950.00        $190.00
                                issues
 03/16/2021   GVD      CO       Review research re employee claims issues             3.00       950.00       $2,850.00
 03/16/2021   GVD      CO       Conference re UBS settlement issues and next steps    0.20       950.00        $190.00
 03/16/2021   GVD      CO       Conference with WilmerHale and PSZJ team re           0.60       950.00        $570.00
                                employee benefit issues
 03/16/2021   GVD      CO       Correspondence with T. Silva re employee issues       0.10       950.00         $95.00
 03/16/2021   GVD      CO       Further revise and circulate employee claims          1.90       950.00       $1,805.00
                                objection
 03/16/2021   KBD      CO       Review correspondence relating to deferred            0.20      1195.00        $239.00
                                compensation issue.
 03/16/2021   KBD      CO       Call with A. Stauber, J. Pomerantz, Ira Kharasch,     0.60      1195.00        $717.00
                                and Gregory Demo regarding deferred compensation
                                matter.
 03/16/2021   KBD      CO       Call with Gregory Demo and T. Silva regarding         0.50      1195.00        $597.50
                                deferred compensation.
 03/17/2021   IDK      CO       Review and consider revised claim objection re        0.90      1325.00       $1,192.50
                                employee claims and new argument on changing
                                plan (.2); E-mails with J Pomerantz, G Demo re
                                issues on re same and issue of amendment re
                                affiliate vesting chance, and need for further
                                revisions to address same (.2); Review of E-mail
                                exchange re Thedford, others on how bonus plan
                                changed (.2); E-mails with attorneys re same and
                                impact on argument (.1); Review of further revised
                                objection, and J Pomerantz markup of same (.2).
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                                                                                        Hours           Rate      Amount
 03/17/2021   JNP      CO       Review and comment on employee claims objection          0.60      1295.00        $777.00
                                (two drafts) and emails regarding same
 03/17/2021   JAM      CO       Telephone conference with G. Demo re: status of          0.20      1245.00        $249.00
                                objection to employee claims and UBS issues (0.2)
 03/17/2021   GVD      CO       Review research re employee claims                       0.30       950.00        $285.00
 03/17/2021   GVD      CO       Conference with R. Feinstein and J. Seery re UBS         0.30       950.00        $285.00
                                settlement issues
 03/17/2021   GVD      CO       Review correspondence re employee benefit plan           0.20       950.00        $190.00
 03/17/2021   GVD      CO       Further review and revise third omnibus claim            2.80       950.00       $2,660.00
                                objection
 03/17/2021   GVD      CO       Research employee claims transferred to NexPoint         0.30       950.00        $285.00
 03/17/2021   KBD      CO       Review draft objection and related correspondence        0.30      1195.00        $358.50
                                regarding employee benefits.
 03/18/2021   IDK      CO       Telephone conference with G Demo re open issues          0.30      1325.00        $397.50
                                in today's revised objection to employee claims (.3).
 03/18/2021   IDK      CO       Review of further revised objection to employee          0.70      1325.00        $927.50
                                claims, including memo from G Demo on same (.3);
                                E-mails with J Pomerantz, others re same and next
                                steps (.2); Review of further documents re benefit
                                plans re same objection and consider impact (.2).
 03/18/2021   IDK      CO       E-mails with G Demo re last revision to objection to     0.40      1325.00        $530.00
                                employee claims and issues re new argument re
                                alteration of bonus plan, including review of same.
 03/18/2021   IDK      CO       E-mails with J Kim, J Pomerantz re need for              0.20      1325.00        $265.00
                                objection to NextBank administrative claim and
                                background.
 03/18/2021   IDK      CO       E-mails with J Kim re need for memo on basis to          0.50      1325.00        $662.50
                                object to claim transfers re Dondero purchase,
                                including consideration of his memo re same (.3);
                                E-mails with J Pomerantz and J Morris whether to
                                object to same transfers (.2).
 03/18/2021   JJK      CO       Emails Pomerantz, Kharasch, Morris on claim              2.00       995.00       $1,990.00
                                transfer objection issues and research on same.
 03/18/2021   JNP      CO       Emails regarding claim transfers issues.                 0.20      1295.00        $259.00
 03/18/2021   JMF      CO       Review employee stipulation and claims and edit          1.40      1050.00       $1,470.00
                                omnibus objection to claims.
 03/18/2021   JAM      CO       Telephone conference with G. Demo re: objection to       1.80      1245.00       $2,241.00
                                employee claims (0.2); review/revise draft third
                                omnibus objection (employee claims (1.6)
 03/18/2021   GVD      CO       Multiple conferences with J. Donohue (DSI) re            1.10       950.00       $1,045.00
                                analysis of employee claims for objection
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 03/18/2021   GVD      CO       Review additional discovery re employee issues       0.40       950.00        $380.00
 03/18/2021   GVD      CO       Finalize and prepare third omnibus objection for     5.20       950.00       $4,940.00
                                filing
 03/18/2021   KBD      CO       Review draft objection to claims and related         0.30      1195.00        $358.50
                                correspondence.
 03/19/2021   RJF      CO       Call with UBS attorneys.                             0.80      1395.00       $1,116.00
 03/19/2021   GVD      CO       Conference with J. Romey re analysis of employee     0.30       950.00        $285.00
                                issues
 03/19/2021   JE       CO       Review objection to employee claims.                 0.40      1195.00        $478.00
 03/22/2021   JJK      CO       Review/research re objections to admin. claims of    2.30       995.00       $2,288.50
                                NexBank, NexPoint, HCMFA, et al.
 03/22/2021   HRW      CO       Review HCREP Proof of Claim and related              1.50       695.00       $1,042.50
                                deposition prep (1.5).
 03/23/2021   IDK      CO       E-mails with CEO re status of IFA claim              0.30      1325.00        $397.50
                                negotiations and next steps and consider
                                recommendation (.3).
 03/23/2021   JJK      CO       Research/review/analysis for objection to admin.     5.00       995.00       $4,975.00
                                claims filed by NexBank, Nexpoint, HCMFA, et al.
 03/23/2021   JMF      CO       Review KCC claims report.                            0.40      1050.00        $420.00
 03/23/2021   JAM      CO       Telephone conference with D. Klos, T. Surgent, J.    0.60      1245.00        $747.00
                                Romey, G. Demo, H. Winograd re: HCRE claim
                                objection (0.6).
 03/23/2021   GVD      CO       Conference with team re administrative expenses      0.30       950.00        $285.00
 03/23/2021   HRW      CO       Draft HCREP 30(b)(6) deposition outline (3.0);       3.50       695.00       $2,432.50
                                PSZJ call re: HCREP deposition prep (0.5).
 03/24/2021   JJK      CO       Prepare objections to NexBank and                    3.10       995.00       $3,084.50
                                NexPoint/HCMFA admin. claims.
 03/24/2021   JJK      CO       Call Donohue, Kloss, et al. on admin. claim          0.80       995.00        $796.00
                                objection issues.
 03/24/2021   JNP      CO       Conference with M. Hankin regarding provision of     0.20      1295.00        $259.00
                                information.
 03/24/2021   RJF      CO       Call with BOD regarding TRO, UBS settlement          0.70      1395.00        $976.50
                                agreement.
 03/24/2021   RJF      CO       Telephone conference with Jeffrey N. Pomerantz       0.30      1395.00        $418.50
                                regarding revised settlement agreement.
 03/24/2021   JMF      CO       Review claim transfers.                              0.30      1050.00        $315.00
 03/24/2021   GVD      CO       Conference with J. Donohue re status of              0.10       950.00         $95.00
                                administrative claim objections
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 03/24/2021   HRW      CO       Draft HCREP 30(b)(6) deposition outline (3.5).            3.50       695.00       $2,432.50
 03/25/2021   IDK      CO       Review of prior stipulation with IFA and consider         0.50      1325.00        $662.50
                                further objection to IFA claim, and changes to prior
                                objection (.3); E-mails with local counsel re same
                                and need for revisions to same objection (.2).
 03/25/2021   IDK      CO       Review and consider briefly correspondence with G         0.40      1325.00        $530.00
                                Demo on J Kim's draft objections to admin claims of
                                NPA, others, including brief Review of same (.4).
 03/25/2021   JNP      CO       Email to and from M. Hayward regarding inquiry            0.10      1295.00        $129.50
                                from claims trade.
 03/25/2021   JNP      CO       Review objection to administrative claim.                 0.20      1295.00        $259.00
 03/25/2021   RJF      CO       Call with Jeffrey N. Pomerantz, Gregory V. Demo           0.30      1395.00        $418.50
                                regarding settlement agreement.
 03/25/2021   RJF      CO       Revise settlement agreement and emails to Latham,         2.80      1395.00       $3,906.00
                                Jeffrey N. Pomerantz and Gregory V. Demo
                                regarding same.
 03/25/2021   GVD      CO       Multiple correspondence with PSZJ team re                 0.30       950.00        $285.00
                                objections to administrative claims
 03/25/2021   GVD      CO       Review claim transfer issues                              0.20       950.00        $190.00
 03/25/2021   HRW      CO       Review Employee Claims and Debtor's omnibus               3.10       695.00       $2,154.50
                                objection (2.5); Draft discovery demands relating to
                                Employee Claims (.6).
 03/26/2021   JJK      CO       Conf. Pomerantz, Morris, Demo on admin. claim             0.60       995.00        $597.00
                                objection matters.
 03/26/2021   JNP      CO       Conference with John A. Morris, Gregory V. Demo           0.70      1295.00        $906.50
                                and Jonathan J. Kim regarding objection to
                                administrative claims .
 03/26/2021   JNP      CO       Conference with John A. Morris after call regarding       0.10      1295.00        $129.50
                                administrative claims.
 03/26/2021   PJJ      CO       Prepare February fee statement for filing (.2); E-file    0.40       460.00        $184.00
                                same (.2).
 03/26/2021   RJF      CO       Numerous emails regarding UBS agreement, TRO,             0.50      1395.00        $697.50
                                lithold letter.
 03/26/2021   RJF      CO       Review revised UBS settlement agreement.                  0.20      1395.00        $279.00
 03/26/2021   RJF      CO       Call with Jeffrey N. Pomerantz, Gregory V. Demo           0.40      1395.00        $558.00
                                regarding revised UBS settlement agreement.
 03/26/2021   JMF      CO       Review claims spreadsheet and updated claims.             0.60      1050.00        $630.00
 03/26/2021   JAM      CO       Telephone conference with J. Pomerantz, G. Demo,          0.80      1245.00        $996.00
                                J. Kim re: litigation/defenses concerning Advisors'
                                administrative claims (0.7); telephone conference
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                                                                                        Hours           Rate      Amount
                                with J. Pomerantz re: litigation/defenses concerning
                                Advisors' administrative claims (0.1).
 03/26/2021   GVD      CO       Review F. Waterhouse proofs of claim                     0.30       950.00        $285.00
 03/26/2021   GVD      CO       Conference with PSZJ team re objection to                0.60       950.00        $570.00
                                administrative claims
 03/27/2021   RJF      CO       Prepare for call with UBS regarding settlement           0.20      1395.00        $279.00
                                agreement.
 03/27/2021   RJF      CO       Call with Latham, Jeffrey N. Pomerantz, Gregory V.       0.50      1395.00        $697.50
                                Demo regarding settlement agreement.
 03/27/2021   GVD      CO       Correspondence with E. Weisgerber re HarbourVest         0.10       950.00         $95.00
                                claim issues
 03/28/2021   RJF      CO       Call with Jeffrey N. Pomerantz, Gregory V. Demo,         0.50      1395.00        $697.50
                                Latham regarding settlement agreement.
 03/28/2021   RJF      CO       Review UBS revised draft and related emails.             0.30      1395.00        $418.50
 03/29/2021   IDK      CO       Review and consider revised and updated objection        0.60      1325.00        $795.00
                                to IFA claim (.3); E-mails with local counsel re
                                same and need to file and service status (.2); E-mail
                                CEO re same (.1).
 03/29/2021   IDK      CO       Review and consider extensive correspondence,            1.00      1325.00       $1,325.00
                                research on HCLOM claim re promissory note and
                                potential attacks on same (.8); E-mails with G
                                Glazer re same (.2).
 03/29/2021   JMF      CO       Review IFA objection to claim.                           0.30      1050.00        $315.00
 03/29/2021   GVD      CO       Correspondence with I. Kharasch re claim objection       0.10       950.00         $95.00
                                filing
 03/29/2021   GVD      CO       Conference with counsel to Crusader re claim issues      0.70       950.00        $665.00
 03/29/2021   KBD      CO       Revise form of employee stipulation agreement.           0.20      1195.00        $239.00
 03/29/2021   HRW      CO       Call with J. Morris re: HCREP depositions (0.1).         0.10       695.00         $69.50
 03/30/2021   RJF      CO       Revise motion to approve UBS settlement.                 1.30      1395.00       $1,813.50
 03/30/2021   JMF      CO       Review claims spreadsheet (.4) and stipulations re       0.60      1050.00        $630.00
                                hunter mountain claims (.2),
 03/30/2021   JAM      CO       Review documents re: HCRE, Wick Phillips (0.4);          1.30      1245.00       $1,618.50
                                telephone conference with L. Drawhorn re: Wick
                                Phillips conflict (0.1); e-mails to L. Drawhorn re:
                                Wick Phillips conflicts (0.2); review/revise Hunter
                                Mountain stipulations concerning withdrawal of
                                proof of claim and related adversary proceeding
                                (0.2); e-mails with P. Keiffer, Z. Annable re: Hunter
                                Mountain stipulations concerning withdrawal of
                                proof of claim and related adversary proceeding
                                (0.2); communications with L. Canty, H. Winograd
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                                                                                         Hours           Rate      Amount
                                re: review of documents in connection with Wick
                                Phillips' apparent conflict (0.2).
 03/30/2021   HRW      CO       Research re: objections to claim transfers (2.5).         2.50       695.00       $1,737.50
 03/31/2021   IDK      CO       Telephone conference with J Pomerantz re objection        0.30      1325.00        $397.50
                                to employee cl (.1); E-mails with H Winograd re
                                summary of research on ability to challenge
                                employee claim transfers as well as J Pomerantz
                                comments and need for call (.2).
 03/31/2021   JNP      CO       Emails to set call to discuss employee claim              0.10      1295.00        $129.50
                                objection.
 03/31/2021   JNP      CO       Conference with Gregory V. Demo, John A. Morris           0.40      1295.00        $518.00
                                and H. Winograd regarding objections to employee
                                claims.
 03/31/2021   JNP      CO       Conference with Ira D. Kharasch regarding                 0.10      1295.00        $129.50
                                objections to employee claims.
 03/31/2021   JNP      CO       Conference with John A. Morris regarding claim            0.20      1295.00        $259.00
                                transfer issues and UBS.
 03/31/2021   JNP      CO       Review research regarding claim transfer issues.          0.20      1295.00        $259.00
 03/31/2021   JEO      CO       Call with Jack Donohue and Greg Demo re claims            0.30      1050.00        $315.00
 03/31/2021   JAM      CO       Telephone conference with J. Pomerantz, G. Demo,          1.70      1245.00       $2,116.50
                                H. Winograd re: discovery, status of employee claim
                                objections (0.4); e-mails with L. Drawhorn re: Wick
                                Phillips conflicts (0.2); telephone conference with J.
                                Seery re: Wick Phillips conflicts (0.2); review
                                e-mails re: discovery concerning employee claim
                                objections (0.1); review/revise Daugherty settlement
                                agreement in light of Seery comments (0.7); e-mail
                                to G. Demo, J. Pomerantz, I. Kharasch re: revisions
                                to Daugherty settlement agreement (0.1).
 03/31/2021   GVD      CO       Conference with J. O'Neil and J. Donohue re claims        0.30       950.00        $285.00
                                issues
 03/31/2021   GVD      CO       Conference with H. Winograd re objection to claims        0.10       950.00         $95.00
                                transfer
 03/31/2021   GVD      CO       Conference with PSZJ team re discovery issues on          0.40       950.00        $380.00
                                third omnibus claim objection
 03/31/2021   HRW      CO       Research re: objections to claim transfers (3.5);         7.30       695.00       $5,073.50
                                Draft objection to claim transfers (1.8); Draft
                                discovery demands relating to Employee Claims
                                (1.5); Call with G. Demo re: Employee Claim
                                transfer objections (0.1); Call with J. Pomerantz, J.
                                Morris, and G. Demo re: objection to Employee
                                Claim transfers (0.4).
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                                                                                         119.20                    $122,339.50

  Compensation Prof. [B160]
 03/15/2021   JNP      CP       Review February 2021 bill.                                 1.40      1295.00         $1,813.00
 03/16/2021   KKY      CP       Review and revise fee chart                                0.10       460.00           $46.00
 03/16/2021   KKY      CP       Draft certification of no objection re 16th fee app of     0.10       460.00           $46.00
                                PSZJ for January 2020
 03/16/2021   PJJ      CP       File CO regarding January fee statement.                   0.20       460.00           $92.00
 03/16/2021   JMF      CP       Review February PSZJ statement.                            0.40      1050.00          $420.00
 03/16/2021   JMF      CP       Review 16th application and CNO re filing.                 0.20      1050.00          $210.00
 03/17/2021   JMF      CP       Draft February PSZJ statement.                             2.40      1050.00         $2,520.00
 03/19/2021   JNP      CP       Prepare supplemental disclosure regarding PSZJ             0.30      1295.00          $388.50
                                retention.
 03/19/2021   PJJ      CP       Update February fee applications.                          1.50       460.00          $690.00
 03/21/2021   JNP      CP       Final review of February bill.                             0.10      1295.00          $129.50
 03/21/2021   JMF      CP       Draft February PSZJ Statement.                             1.60      1050.00         $1,680.00
 03/22/2021   PJJ      CP       Revise February fee statement.                             0.20       460.00           $92.00
 03/22/2021   JMF      CP       Review PSZJ February statement and application.            0.80      1050.00          $840.00
 03/23/2021   JNP      CP       Email to J. Seery regarding February bill.                 0.10      1295.00          $129.50
 03/24/2021   JMF      CP       Review PSZJ January fee statement.                         0.30      1050.00          $315.00
 03/25/2021   JNP      CP       Begin to review monthly fee statement.                     0.20      1295.00          $259.00
 03/26/2021   JNP      CP       Final review of monthly fee statement.                     0.10      1295.00          $129.50
 03/26/2021   JMF      CP       Draft PSZJ February statement.                             1.60      1050.00         $1,680.00
 03/30/2021   JNP      CP       Review March bill.                                         1.20      1295.00         $1,554.00
 03/30/2021   JNP      CP       Email to team regarding bills.                             0.10      1295.00          $129.50
 03/31/2021   JMF      CP       Review PSZJ pre bill.                                      0.70      1050.00          $735.00

                                                                                          13.60                     $13,898.50

  Comp. of Prof./Others
 03/01/2021   JEO      CPO      Emails with Deloitte, DSI and Jim Seery re Deloitte        1.00      1050.00         $1,050.00
                                fee applications
 03/01/2021   GVD      CPO      Review DSI fee application re confidentiality              0.40       950.00          $380.00
 03/04/2021   JEO      CPO      Review status of Deloitte fee applications                 0.30      1050.00          $315.00
 03/05/2021   GVD      CPO      Review correspondence re Deloitte                          0.20       950.00          $190.00
 03/08/2021   GVD      CPO      Correspondence with J. Seery re payment of Deloitte        0.20       950.00          $190.00
                                fees
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                                                                                            Hours           Rate      Amount

 03/09/2021   KKY      CPO      Respond to email from James E. O'Neill re Deloitte           0.20       460.00         $92.00
                                monthly fee apps
 03/09/2021   JEO      CPO      Review status of Deloitte fee applications and               2.00      1050.00       $2,100.00
                                supervise filing and service of same
 03/10/2021   KKY      CPO      Draft (.1) and prepare for filing (.1) notice re staffing    0.30       460.00        $138.00
                                report of DSI (January 2021); and email (.1) same to
                                co-counsel
 03/10/2021   JEO      CPO      Review and finalize DSI monthly staffing report              0.50      1050.00        $525.00
 03/15/2021   KKY      CPO      Review and revise fee chart                                  0.20       460.00         $92.00
 03/16/2021   JEO      CPO      Review and finalize OCP Notice                               0.20      1050.00        $210.00
 03/16/2021   JMF      CPO      Review OCP reports re disbursements for January              0.20      1050.00        $210.00
                                and February.
 03/23/2021   JMF      CPO      Review Carey invoices re OCP payments.                       0.20      1050.00        $210.00
 03/31/2021   KKY      CPO      Draft certification of no objection re 1st fee app of        0.20       460.00         $92.00
                                Deloitte for 10/16/19-7/31/20
 03/31/2021   KKY      CPO      Draft certification of no objection re 2nd fee app of        0.20       460.00         $92.00
                                Deloitte for August 2020
 03/31/2021   KKY      CPO      Draft certification of no objection re 3rd fee app of        0.20       460.00         $92.00
                                Deloitte for September 2020

                                                                                             6.50                    $5,978.00

  Employee Benefit/Pension-B220
 03/01/2021   IDK      EB       E-mail G Demo re his memo and revised motion re              0.20      1325.00        $265.00
                                CEO bonus (.2).
 03/01/2021   GVD      EB       Review and revise Seery bonus motion                         1.20       950.00       $1,140.00
 03/02/2021   JNP      EB       Review and comment on Seery bonus motion.                    0.30      1295.00        $388.50
 03/03/2021   IDK      EB       Review of revised motion re CEO bonus and related            0.20      1325.00        $265.00
                                correspondence on issues and timing for same, as
                                well as correspondence to Board re same
 03/03/2021   JNP      EB       Review and respond to emails regarding Seery                 0.10      1295.00        $129.50
                                compensation motion.
 03/03/2021   JAM      EB       Review/revise motion for Seery bonus (1.1); e-mails          1.30      1245.00       $1,618.50
                                with J. Pomerantz, I. Kharasch, G. Demo re: Seery
                                bonus motion (0.2);
 03/03/2021   GVD      EB       Review and revise bonus motion re comments from              0.60       950.00        $570.00
                                J. Pomerantz
 03/03/2021   GVD      EB       Correspondence with Board re Seery bonus motion              0.20       950.00        $190.00
 03/05/2021   IDK      EB       Telephone conference with J Pomerantz re                     0.30      1325.00        $397.50
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                                                                                        Hours           Rate       Amount
                                severance issues (.1); E-mail J Pomerantz re his
                                correspondence with CEO re Covitz severance
                                issues and consider (.2).
 03/05/2021   JNP      EB       Conference with Gregory V. Demo and then Ira D.          0.40      1295.00         $518.00
                                Kharasch regarding employee payments (3x).
 03/05/2021   JNP      EB       Emails to and from J. Seery regarding payment to         0.20      1295.00         $259.00
                                Hunter Covitz.
 03/05/2021   JNP      EB       Conference with J. Seery regarding payment to            0.20      1295.00         $259.00
                                Hunter Covitz.
 03/05/2021   GVD      EB       Correspondence with J. Romey re employee issues          0.20       950.00         $190.00
 03/09/2021   GVD      EB       Review employee agreement                                0.20       950.00         $190.00
 03/10/2021   KBD      EB       Review offer letter for employees and consider next      0.30      1195.00         $358.50
                                steps.
 03/10/2021   KBD      EB       Telephone call with Gregory Demo and J.                  0.30      1195.00         $358.50
                                Pomerantz regarding employee matters.
 03/12/2021   GVD      EB       Multiple conferences with J. Seery and T. Surgent re     1.00       950.00         $950.00
                                employee issues
 03/22/2021   IDK      EB       E-mails with J Pomerantz, G Demo re revisions to         0.20      1325.00         $265.00
                                CEO bonus motion including brief review.
 03/22/2021   JEO      EB       Emails with PBGC re pension plan                         0.40      1050.00         $420.00
 03/22/2021   JMF      EB       Review motion re prepetition compensation for            0.40      1050.00         $420.00
                                James Seery.
 03/22/2021   GVD      EB       Review J. Seery revisions to bonus motion                0.20       950.00         $190.00
 03/25/2021   GVD      EB       Correspondence with J. O'Neil re defined benefit         0.10       950.00          $95.00
                                plan issues
 03/29/2021   JMF      EB       Research issues re pension plan and ERISA issues.        2.70      1050.00       $2,835.00
 03/30/2021   JEO      EB       Call with Scott Austin re pension plan                   0.30      1050.00         $315.00
 03/31/2021   KBD      EB       Prepare correspondence regarding employee matters.       0.10      1195.00         $119.50

                                                                                        11.60                    $12,706.50

  Executory Contracts [B185]
 03/03/2021   GVD      EC       Conference with J. Donohue re payment of cure            0.10       950.00          $95.00
                                amounts
 03/08/2021   GVD      EC       Correspondence with F. Caruso re payment dates for       0.20       950.00         $190.00
                                assumed contracts
 03/10/2021   GVD      EC       Review issues re Petrocap contract assumption            0.60       950.00         $570.00
 03/11/2021   GVD      EC       Draft stipulation re PetroCap III contract assumption    0.90       950.00         $855.00
                                issue
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                                                                                        Hours           Rate       Amount
 03/12/2021   GVD      EC       Multiple correspondences re issues re assumption of      0.20       950.00         $190.00
                                contracts
 03/16/2021   JMF      EC       Review plan re rejected contract issues.                 0.60      1050.00         $630.00
 03/16/2021   GVD      EC       Review issues re executory contract assumption           0.20       950.00         $190.00
 03/17/2021   JEO      EC       Research precedent for contract assumption issue.        1.30      1050.00       $1,365.00
 03/18/2021   JMF      EC       Draft motion to amend list of Assumed Contracts.         3.20      1050.00       $3,360.00
 03/19/2021   JMF      EC       Research re motion to add assumed contract issue.        1.70      1050.00       $1,785.00
 03/20/2021   GVD      EC       Revise motion re assumption of contracts                 0.90       950.00         $855.00
 03/21/2021   IDK      EC       Review and consider correspondence re contract           0.20      1325.00         $265.00
                                issues
 03/21/2021   JMF      EC       Research re assumed contract issues (1.1); draft         1.60      1050.00       $1,680.00
                                motion re same (.5).
 03/23/2021   IDK      EC       E-mails with J Pomerantz, G Demo re issues and           0.30      1325.00         $397.50
                                solutions on Petrocap contract (.3).
 03/23/2021   JMF      EC       Analyze issues re assumption of executed/integrated      0.80      1050.00         $840.00
                                contracts.
 03/23/2021   GVD      EC       Review executory contract re integration issues          0.40       950.00         $380.00
 03/24/2021   IDK      EC       Review and consider correspondence with G Demo,          0.30      1325.00         $397.50
                                J Elkin re analysis and solution re Petrocap contract
                                and Plan.
 03/24/2021   JNP      EC       Review and respond to emails regarding Petrocap          0.20      1295.00         $259.00
                                and contract assumption.
 03/24/2021   JMF      EC       Analyze contract integration issues re assumed           1.30      1050.00       $1,365.00
                                contracts.
 03/24/2021   GVD      EC       Correspondence with PSZJ team re executory               0.20       950.00         $190.00
                                contract issues
 03/24/2021   JE       EC       Research issue on related executory contracts (2.6);     4.30      1195.00       $5,138.50
                                review confirmation order, plan, and plan
                                supplement on assumed executory contracts and
                                review contract at issue (1.2); correspondence with
                                Mr. Pomerantz and Mr. Demo regarding results (.5).
 03/30/2021   JMF      EC       Review confirmation order re rejected contract           0.30      1050.00         $315.00
                                issues.

                                                                                        19.80                    $21,312.50

  General Business Advice [B410]
 03/03/2021   IDK      GB       Review of memo and correspondence re tax audit           0.20      1325.00         $265.00
                                issues and next steps
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                                                                                         Hours           Rate      Amount
 03/03/2021   JNP      GB       Conference with M. Clemente regarding status of           0.20      1295.00        $259.00
                                D&O insurance coverage.
 03/03/2021   JNP      GB       Conference with J. Dubel regarding D&O insurance          0.30      1295.00        $388.50
                                and UBS.
 03/04/2021   JNP      GB       Review emails regarding D&O policy and brief              0.30      1295.00        $388.50
                                review of policy.
 03/05/2021   IAWN GB           Review file re emails re status, .1, review AWAC          3.70      1145.00       $4,236.50
                                policy provisions and coverage provided, trust
                                indemnity obligations, solvency, retention, choice of
                                law, individual insureds, non-indemnifiable loss,
                                exclusions of EPLI, dividends, contracts,
                                professional services, 2.5, review emails re
                                continental issues from Flaherty, .1, review Caruso
                                email re insurance issues, .1, review emails between
                                Flaherty and Jeffrey N Pomerantz re application, .1,
                                draft list of insurance issues for Jeffrey N Pomerantz
                                for discussion Saturday, .8
 03/05/2021   IDK      GB       Review of various correspondence with insurance           0.20      1325.00        $265.00
                                company, J Pomerantz, I Nasatir re numerous
                                questions on insurance quote and coverage
                                clarifications (.2).
 03/05/2021   JNP      GB       Emails to and from FTI regarding D&O insurance.           0.20      1295.00        $259.00
 03/05/2021   JNP      GB       Conference with J. Dubel regarding D&O, UBS,              0.50      1295.00        $647.50
                                Plan issues, employee payment and related matters.
 03/06/2021   IAWN GB           Review policy and preparation for call, .2; tc with       0.60      1145.00        $687.00
                                Jeffrey N Pomerantz re issues re insurance, .4
 03/07/2021   IAWN GB           Review Seery email to Tauber re officers                  0.10      1145.00        $114.50
 03/08/2021   IAWN GB           Review Jeffrey N Pomerantz email re draft letter to       0.90      1145.00       $1,030.50
                                broker, .1, prepare draft email to broker re open
                                issues, .5, exchange emails with Jeffrey N
                                Pomerantz re draft email, .1, review draft email,.1,
                                review Flaherty email re insurance, .1
 03/08/2021   IDK      GB       Review of correspondence from Sidley, others re           0.20      1325.00        $265.00
                                status on obtaining D&O insurance.
 03/08/2021   JNP      GB       Conference with J. Dubel regarding D&O insurance          0.20      1295.00        $259.00
                                and related.
 03/08/2021   JNP      GB       Review and respond to emails regarding D&O                0.20      1295.00        $259.00
                                insurance and emails to Iain A. W. Nasatir regarding
                                same.
 03/09/2021   IAWN GB           Prep w/ review of policy and emails, .3, tc Jeffrey N     1.50      1145.00       $1,717.50
                                Pomerantz re same, .3, draft and send suggested
                                language, .2, exchange emails with Jeffrey N
                                Pomerantz re call, .1, review emails from Jeffrey N
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                                                                                          Hours           Rate      Amount
                                Pomerantz re covered individuals, .1, review Caruso
                                email re application for insurance, .1, revise and
                                send out email with issues to broker, .1, send
                                follow-up email to broker re tail, .1, review and
                                analyze Flaherty response to insurance issues, .2
 03/09/2021   IDK      GB       Review of correspondence with I Nasatir, DSI, UCC          0.30      1325.00        $397.50
                                counsel re D&O insurance issues and status.
 03/09/2021   JNP      GB       Conference with Iain A. W. Nasatir regarding D&O           0.30      1295.00        $388.50
                                issues and forward email to Board.
 03/09/2021   JNP      GB       Email to and from F. Caruso regarding D&O                  0.10      1295.00        $129.50
                                insurance; Conference with J. Dubel regarding same.
 03/10/2021   IAWN GB           Exchange emails with Flaherty re insureds, .1,             0.30      1145.00        $343.50
                                review Caruso and Seery emails re insured, .1,
                                exchange emails with Jeffrey N Pomerantz re trusts,
                                .1
 03/10/2021   IDK      GB       Review briefly numerous E-mails with DSI, I                0.20      1325.00        $265.00
                                Nasatir, re insurance issues on new D&O (.2).
 03/10/2021   JNP      GB       Emails regarding D&O insurance.                            0.10      1295.00        $129.50
 03/12/2021   IAWN GB           Review Flaherty email re CNA responses and                 0.40      1145.00        $458.00
                                analyze, .2, review Seery email re insureds and send
                                to Flaherty, .1, review emails from broker re arch
                                issue, .1
 03/12/2021   IAWN GB           Telephone conference with Jeffrey N Pomerantz re           0.30      1145.00        $343.50
                                highland insurance issues
 03/12/2021   IDK      GB       E-mails with Board, insurance agents, J Pomerantz          0.30      1325.00        $397.50
                                re insurance company pullback from Side A
                                coverage on D&O and next steps.
 03/12/2021   JNP      GB       Review emails regarding insurance.                         0.10      1295.00        $129.50
 03/12/2021   GVD      GB       Correspondence with WilmerHale re board                    0.10       950.00         $95.00
                                resolutions
 03/14/2021   IAWN GB           Review emails from Jeffrey N Pomerantz and Seery           0.10      1145.00        $114.50
                                re status of insurance
 03/14/2021   IDK      GB       E-mails with CEO, G Demo, J Pomerantz re                   0.20      1325.00        $265.00
                                insurance status issues, and other case issues.
 03/15/2021   IAWN GB           Review file re pre-emergence policy emails, .1, tc         1.60      1145.00       $1,832.00
                                with Jeffrey N Pomerantz and demo re same, .6, tc
                                Dubel re narrow marketing, .1; tc Dubel re
                                post-emergence, .1, exchange emails with Caruso re
                                scope of broker authority, .1, review Dubel email re
                                issues, and timing for call .1; revise broker of record
                                letter, .5
 03/15/2021   IDK      GB       E-mails with Board, DSI, I Nasatir, J Pomerantz re         1.10      1325.00       $1,457.50
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                                                                                         Hours           Rate      Amount
                                D&O policy issues for tail and new post-Effective
                                Date policy and open issues, and need for call (.2);
                                Telephone conference with Board, DSI, J
                                Pomerantz, G Demo re same D&O issues, as well as
                                UBS issues (.8); Telephone conference with J
                                Pomerantz re same (.1).
 03/15/2021   JNP      GB       Review and respond to emails regarding call to            0.10      1295.00        $129.50
                                discuss D&O insurance.
 03/15/2021   JNP      GB       Conference with Board, Ira D. Kharasch, Gregory V.        0.70      1295.00        $906.50
                                Demo and Iain A. W. Nasatir regarding D&O
                                insurance and UBS.
 03/15/2021   JNP      GB       Conference with J. Dubel regarding D&O status.            0.20      1295.00        $259.00
 03/16/2021   IAWN GB           Review AWAC and Continental policy coverage               1.30      1145.00       $1,488.50
                                and exclusions and analyze coverage for individuals
                                and trusts; 1.3, review emails between Jeffrey N
                                Pomerantz and Flaherty re coverage issues, .2, draft
                                and send Flaherty list of issues, .1
 03/16/2021   IDK      GB       Review of extensive correspondence with brokers, J        0.20      1325.00        $265.00
                                Pomerantz, others on D&O coverage further
                                questions, next steps (.2).
 03/16/2021   IDK      GB       E-mails with J Pomerantz, R Feinstein re                  0.20      1325.00        $265.00
                                correspondence with CEO, others on audit letter re
                                taking reserve in Multistrat (.2)
 03/16/2021   JNP      GB       Review and revise D&O brokers letter.                     0.20      1295.00        $259.00
 03/16/2021   JNP      GB       Conference with J. Dubel regarding Broker letter          0.20      1295.00        $259.00
                                (2x).
 03/16/2021   JNP      GB       Review and respond to email from M. Flaherty              0.10      1295.00        $129.50
                                regarding D&O issues.
 03/16/2021   JNP      GB       Conference with Iain A. W. Nasatir regarding D&O          0.30      1295.00        $388.50
                                issues.
 03/16/2021   GVD      GB       Conference with J. Seery re open issues and next          0.10       950.00         $95.00
                                steps
 03/17/2021   IAWN GB           Exchange emails with Aon re broker of record letter,      0.40      1145.00        $458.00
                                .1, revise broker of record letter and send to client,
                                .2, exchange emails with client and Jeffrey N
                                Pomerantz re tc re insurance issues, .1
 03/17/2021   JNP      GB       Conference with J. Dubel regarding D&O and                0.30      1295.00        $388.50
                                related issues and Plan issues.
 03/17/2021   GVD      GB       Correspondence with D. Barton re audit letter             0.10       950.00         $95.00
 03/17/2021   GVD      GB       Review resolutions for board action                       0.40       950.00        $380.00
 03/17/2021   GVD      GB       Conference with J. Seery re open issues and next          0.30       950.00        $285.00
                                steps
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                                                                                       Hours           Rate      Amount
 03/18/2021   IAWN GB           Review Flaherty excel summary of issues and revise      0.50      1145.00        $572.50
                                same for discussion
 03/18/2021   IDK      GB       E-mails with J Pomerantz re D&O insurance status        0.20      1325.00        $265.00
                                and appeal (.2).
 03/18/2021   JNP      GB       Emails regarding status of insurance issues and         0.20      1295.00        $259.00
                                review open issues.
 03/18/2021   GVD      GB       Multiple conferences with J. Seery re open issues       0.90       950.00        $855.00
                                and next steps
 03/19/2021   IAWN GB           Review settlement re insurance issues and make          1.20      1145.00       $1,374.00
                                notes re same,
 03/19/2021   IAWN GB           Telephone conference with Jeffrey N Pomerantz,          0.60      1145.00        $687.00
                                demo re contingent trust interest holder issues
 03/19/2021   IAWN GB           Review Ace, AWAC, Continental policies, .8,             1.30      1145.00       $1,488.50
                                review and exchange emails re broker of record
                                letter with Dubel, Jeffrey N Pomerantz and Flaherty,
                                .5
 03/19/2021   JNP      GB       Conference with J. Dubel, G. Demo and Iain A. W.        0.50      1295.00        $647.50
                                Nasatir regarding D&O issues.
 03/19/2021   JNP      GB       Conference with Allianz, FTI, Sidley, Iain A. W.        0.90      1295.00       $1,165.50
                                Nasatir, J. Dubel and F. Caruso regarding status of
                                D&O insurance.
 03/19/2021   JNP      GB       Conference with J. Dubel regarding D&O insurance        0.20      1295.00        $259.00
                                and related.
 03/19/2021   GVD      GB       Conference with J. Seery re open issues and next        0.20       950.00        $190.00
                                steps
 03/19/2021   GVD      GB       Attend internal PSZJ call re insurance issues           0.50       950.00        $475.00
 03/20/2021   IAWN GB           Exchange emails with Jeffrey N Pomerantz re             0.30      1145.00        $343.50
                                settlement, .1 draft email re settlement issues and
                                send to Jeffrey N Pomerantz, .2
 03/20/2021   JNP      GB       Review and respond to email regarding proposed          0.10      1295.00        $129.50
                                email to insurer.
 03/20/2021   GVD      GB       Conference with J. Seery re open items and next         0.30       950.00        $285.00
                                steps
 03/22/2021   IAWN GB           Analyze Sentinel claim and exchange emails re same      0.10      1145.00        $114.50
 03/22/2021   IAWN GB           Exchange emails with Flaherty and Jeffrey N             0.10      1145.00        $114.50
                                Pomerantz re insurance issues
 03/24/2021   IAWN GB           Review policy, settlement and notes                     1.80      1145.00       $2,061.00
 03/24/2021   IAWN GB           Review emails between Flaherty and Jeffrey N            0.10      1145.00        $114.50
                                Pomerantz re insurance issues
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                                                                                        Hours           Rate      Amount
 03/24/2021   IDK      GB       Attend Board meeting re result of hearing today and      0.50      1325.00        $662.50
                                update on UBS issues on settlement and new
                                adversary (.5).
 03/24/2021   GVD      GB       Conference with J. Seery re open issues and next         0.40       950.00        $380.00
                                steps
 03/25/2021   GVD      GB       Multiple conferences with J. Seery re open issues        0.50       950.00        $475.00
                                and next steps
 03/26/2021   IAWN GB           Telephone conference with Jeffrey N Pomerantz re         0.10      1145.00        $114.50
                                agreement and cooperation
 03/26/2021   IAWN GB           Review emails between Dubel and Flaherty re              0.10      1145.00        $114.50
                                insurance
 03/26/2021   IAWN GB           Review insurance policy, .5 draft email setting forth    0.60      1145.00        $687.00
                                issues in settlement for UBS, .1
 03/26/2021   IAWN GB           Review emails between Dubel and Alliant re broker        0.10      1145.00        $114.50
                                of record
 03/26/2021   GVD      GB       Multiple conferences with J. Seery re open items and     0.50       950.00        $475.00
                                next steps
 03/27/2021   GVD      GB       Multiple conferences with J. Seery re open issues        0.40       950.00        $380.00
 03/29/2021   GVD      GB       Conference with J. Romey re status of financing and      0.20       950.00        $190.00
                                next steps
 03/29/2021   GVD      GB       Conference with J. Morris, J. Pomerantz, and I.          0.30       950.00        $285.00
                                Kharasch re issues re financing
 03/29/2021   GVD      GB       Conference with J. Romey re status of asset              0.10       950.00         $95.00
                                monetization
 03/29/2021   GVD      GB       Conference with J. Seery re claims issues                0.10       950.00         $95.00
 03/29/2021   GVD      GB       Review issues re plan financing and correspondence       1.30       950.00       $1,235.00
                                with J. Pomerantz and I. Kharasch re same
 03/30/2021   IAWN GB           Review emails between Caruso, Dubel, Jeffrey N           0.20      1145.00        $229.00
                                Pomerantz re insurance issues
 03/30/2021   JNP      GB       Review and respond to F. Caruso email regarding          0.10      1295.00        $129.50
                                D&O coverage.
 03/30/2021   JNP      GB       Conference with J. Dubel regarding D&O insurance         0.20      1295.00        $259.00
                                issues.
 03/31/2021   IAWN GB           Exchange emails and tc wlth Caruso re portfolio          0.50      1145.00        $572.50
                                company insurance, .3, exchange emails with Jeffrey
                                N Pomerantz re portfolio insurance issues, .2
 03/31/2021   JNP      GB       Email to and from DSI regarding D&O insurance            0.10      1295.00        $129.50
                                costs.
 03/31/2021   JNP      GB       Emails to and from Iain A. W. Nasatir regarding          0.10      1295.00        $129.50
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                                                                                       Hours           Rate       Amount
                                D&O insurance.

                                                                                       36.30                    $41,991.00

  General Creditors Comm. [B150]
 03/05/2021   JNP      GC       Email to Board regarding next call with Committee.      0.10      1295.00         $129.50
 03/09/2021   IDK      GC       E-mail DSI re its presentation for upcoming UCC         1.00      1325.00       $1,325.00
                                call on Dondero proposal and consider (.2); Attend
                                meeting with UCC, its prof, Board, attorneys re case
                                issues (.8).
 03/09/2021   JNP      GC       Conference with DSI, Gregory V. Demo and J.             0.50      1295.00         $647.50
                                Seery regarding preparation for Committee call.
 03/09/2021   JNP      GC       Participate on call with Board and Committee.           0.80      1295.00       $1,036.00
 03/09/2021   GVD      GC       Attend Board/Committee Call                             0.80       950.00         $760.00
 03/10/2021   IDK      GC       Review of correspondence with DSI, J Pomerantz re       0.10      1325.00         $132.50
                                upcoming UCC presentation and Effective Date
                                issues (.1).
 03/12/2021   IDK      GC       E-mails with DSI re its draft presentation for          1.30      1325.00       $1,722.50
                                upcoming UCC meeting today on plan
                                projections/comparison, including review of same
                                (.2); Attend meeting with UCC and its professionals,
                                Board, our team on case status and plan comparison
                                numbers (1.1).
 03/12/2021   JNP      GC       Weekly Committee debtor call.                           1.10      1295.00       $1,424.50
 03/12/2021   GVD      GC       Attend Board/Committee meeting                          1.10       950.00       $1,045.00
 03/12/2021   GVD      GC       Conference with E. Bromagen re open issues and          0.30       950.00         $285.00
                                next steps
 03/12/2021   GVD      GC       Conference with J. Donohue re UCC presentation          0.20       950.00         $190.00
 03/16/2021   GVD      GC       Conference with E. Bromagen re audit issues             0.20       950.00         $190.00
 03/17/2021   IDK      GC       E-mail G Demo re UCC request for meeting and            0.20      1325.00         $265.00
                                agenda, and feedback of Board (.2).
 03/17/2021   GVD      GC       Correspondence rescheduling Board/Committee             0.10       950.00          $95.00
                                meeting
 03/19/2021   IDK      GC       Attend conference call with UCC and its                 0.90      1325.00       $1,192.50
                                professionals re general case issues (.9).
 03/19/2021   JNP      GC       Participate on call with Committee and Board            0.80      1295.00       $1,036.00
                                (partial).
 03/19/2021   GVD      GC       Attend Board/Committee call                             0.80       950.00         $760.00
 03/25/2021   IDK      GC       E-mail G Demo re tomorrow's UCC call and Sidley         0.10      1325.00         $132.50
                                request (.1).
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                                                                                      Hours           Rate       Amount
 03/25/2021   GVD      GC       Conference with E. Bromagen re board/committee         0.20       950.00         $190.00
                                meeting
 03/26/2021   IDK      GC       E-mails with J Pomerantz, G Demo re today's            0.60      1325.00         $795.00
                                upcoming UCC call and their new agenda items (.1);
                                Attend conference call with UCC, its professionals,
                                Board re open case issues (.5).
 03/26/2021   JNP      GC       Participate on weekly call with Committee regarding    0.50      1295.00         $647.50
                                open issues.
 03/26/2021   JNP      GC       Conference with J. Dubel after call with Committee.    0.10      1295.00         $129.50
 03/26/2021   GVD      GC       Correspondence with PSZJ re board/committee            0.10       950.00          $95.00
                                meeting agenda
 03/26/2021   GVD      GC       Attend Board/Committee meeting                         0.60       950.00         $570.00
 03/29/2021   GVD      GC       Conference with E. Bromagen re open issues re          0.10       950.00          $95.00
                                claims
 03/31/2021   JNP      GC       Email to and from M. Clemente regarding next           0.10      1295.00         $129.50
                                Committee debtor call.

                                                                                      12.70                    $15,020.00

  Plan & Disclosure Stmt. [B320]
 02/08/2021   RMP      PD       Conference with I. Kharasch re plan resolution and     0.40      1595.00         $638.00
                                court resolution.
 03/01/2021   IDK      PD       Review and consider Advisors motion for                0.30      1325.00         $397.50
                                emergency hearing on stay of confirmation order
                                pending appeal (.2); E-mails with J Pomerantz and G
                                Demo re same and stay motion and need for call
                                (.1).
 03/01/2021   IDK      PD       Attend conference call with J Pomerantz and G          0.30      1325.00         $397.50
                                Demo re such motions and how to respond to
                                scheduling issues (.3).
 03/01/2021   IDK      PD       Telephone conference with J Pomerantz re various       0.30      1325.00         $397.50
                                plan related issues (.3).
 03/01/2021   JNP      PD       Begin reviewing motion for stay pending appeal.        0.50      1295.00         $647.50
 03/01/2021   JNP      PD       Conference with Ira D. Kharasch and Gregory V.         0.30      1295.00         $388.50
                                Demo regarding motion for stay pending appeal.
 03/01/2021   JNP      PD       Email to Court and then M. Clemente regarding          0.60      1295.00         $777.00
                                timing of motion for stay of Confirmation Order;
                                Follow-up call regarding same (2x).
 03/01/2021   JNP      PD       Conference with J. Vasek, L. Hogwood, Gregory V.       0.40      1295.00         $518.00
                                Demo and M. Clemente regarding scheduling for
                                stay pending appeal motion.
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                                                                                        Hours           Rate      Amount
 03/01/2021   JNP      PD       Conference with Ira D. Kharasch regarding various        0.30      1295.00        $388.50
                                Plan related issues.
 03/01/2021   JMF      PD       Review plan and order re effective date transactions.    0.70      1050.00        $735.00
 03/01/2021   JMF      PD       Review motion for expedited hearing and issues re        0.50      1050.00        $525.00
                                confirmation order.
 03/01/2021   GVD      PD       Conference with I. Kharasch and J. Pomerantz re          0.30       950.00        $285.00
                                stay pending appeal
 03/01/2021   GVD      PD       Conference with J. Pomerantz, Sidley, and Advisors       0.40       950.00        $380.00
                                re response to motion to stay pending appeal
 03/01/2021   GVD      PD       Correspondence with J. Elkins re stay pending            0.20       950.00        $190.00
                                appeal
 03/01/2021   GVD      PD       Review and begin response to motion for stay             1.80       950.00       $1,710.00
                                pending appeal
 03/01/2021   JE       PD       Correspondence with Mr. Demo regarding stay              2.00      1195.00       $2,390.00
                                pending appeal (.1); review pleadings filed by
                                movants (.7); review confirmation order (1.2).
 03/02/2021   IDK      PD       Review and consider Advisors motion for stay             2.20      1325.00       $2,915.00
                                pending appeal, and various arguments in opposition
                                (.4); E-mails with G Demo re his memo on issues
                                and points for opposition to same motion, including
                                feedback of J Elkin re same (.3); Attend initial
                                conference call with J Pomerantz, others on how to
                                respond to Advisors motion for stay pending appeal
                                (1.0); Attend continued conference call re same (.5).
 03/02/2021   IDK      PD       E-mail to J Elkin, G Demo re prior memo on               0.20      1325.00        $265.00
                                post-confirmation jurisdiction for use in opposition
                                stay motion (.2).
 03/02/2021   IDK      PD       Review of correspondence with Dondero, Advisors          0.20      1325.00        $265.00
                                counsels and J Pomerantz re drafts to chambers of
                                agreed upon scheduling of stay briefs and hearing on
                                stay pending appeal (.2).
 03/02/2021   JNP      PD       Conference with objectors, M. Clemente and               0.40      1295.00        $518.00
                                Gregory V. Demo regarding timing for stay pending
                                appeal motion.
 03/02/2021   JNP      PD       Emails to and from objectors and then Court              0.30      1295.00        $388.50
                                regarding stay pending appeal motion.
 03/02/2021   JNP      PD       Continued to review motion for stay pending appeal.      0.50      1295.00        $647.50
 03/02/2021   JNP      PD       Conference with Ira D. Kharasch, Gregory V. Demo         1.50      1295.00       $1,942.50
                                and J. Elkin regarding opposition to motion for stay
                                pending appeal.
 03/02/2021   JNP      PD       Conference with J. Seery regarding stay pending          0.30      1295.00        $388.50
                                appeal issues.
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 03/02/2021   JNP      PD       Email to Court regarding stay pending appeal            0.10      1295.00         $129.50
                                motion.
 03/02/2021   JNP      PD       Conference with Gregory V. Demo regarding stay          0.10      1295.00         $129.50
                                pending appeal motion.
 03/02/2021   LSC      PD       Research in connection with Motion to Stay Pending      0.30       460.00         $138.00
                                Appeal.
 03/02/2021   GVD      PD       Conference with counsel to movants re scheduling        0.40       950.00         $380.00
                                of hearing on motions for stay pending appeal
 03/02/2021   GVD      PD       Conference with J. Elkins re research re stay           0.30       950.00         $285.00
                                pending appeal
 03/02/2021   GVD      PD       Correspondence with H. Winograd re stay pending         0.30       950.00         $285.00
                                appeal research
 03/02/2021   GVD      PD       Status conference with J. Pomerantz re follow up to     0.10       950.00          $95.00
                                call re motion for stay pending appeal
 03/02/2021   GVD      PD       Correspondence with J. Elkin re analysis of stay        0.20       950.00         $190.00
                                pending appeal motion
 03/02/2021   GVD      PD       Conference with PSZJ re response to motion for stay     1.50       950.00        $1,425.00
                                pending appeal
 03/02/2021   JE       PD       Review confirmation order and pull facts for stay       8.60      1195.00       $10,277.00
                                objection(1.6); two calls with Mr. Kharasch, Mr.
                                Pomerantz and Mr. Demo regarding objection to
                                motion for stay pending appeal (1.5); outline motion
                                issues (1.2); review research outline and call with
                                Mr. Demo regarding same (.6); start research on
                                equitable mootness and stay pending appeal (3.7).
 03/03/2021   IDK      PD       Review briefly Advisors motion for stay pending         0.40      1325.00         $530.00
                                appeal, including feedback of J Pomerantz re same
                                (.2); Numerous E-mails with J Pomerantz, G Demo,
                                J Elkin re Demo outline for response to motions for
                                stay and issues re same for bankruptcy vs D Court
                                (.2).
 03/03/2021   JNP      PD       Review Funds motion for stay pending appeal.            0.20      1295.00         $259.00
 03/03/2021   JNP      PD       Emails regarding response to motion for stay            0.20      1295.00         $259.00
                                pending appeal.
 03/03/2021   JMF      PD       Review motions by Dondero and Funds to stay             0.80      1050.00         $840.00
                                pending appeal.
 03/03/2021   JMF      PD       Review plan supplement re contract assumptions.         0.40      1050.00         $420.00
 03/03/2021   GVD      PD       Draft outline re response to motion for stay pending    2.10       950.00        $1,995.00
                                appeal
 03/03/2021   GVD      PD       Conference with H. Winograd re status of research       0.30       950.00         $285.00
                                on stay pending appeal
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                                                                                        Hours           Rate      Amount
 03/03/2021   GVD      PD       Conference with J. Elkins re status of research on       0.20       950.00        $190.00
                                stay pending appeal
 03/03/2021   JE       PD       Work on research for stay opposition (4.2); review       4.90      1195.00       $5,855.50
                                and revise outline of brief (.3); correspondence with
                                Mr. Pomerantz regarding district and bankruptcy
                                court briefs (.2); call with Mr. Demo regarding brief
                                section on releases/exculpation provisions of plan
                                (.2).
 03/03/2021   HRW      PD       Research issues for response to Advisors motion for      7.00       695.00       $4,865.00
                                stay of confirmation order pending appeal (6.8);
                                Call with G. Demo re: research for response to
                                Advisors motion for stay of confirmation order
                                pending appeal (0.2).
 03/04/2021   IDK      PD       Telephone conference with J Pomerantz re issues on       0.50      1325.00        $662.50
                                opposing motion for stay pending appeal, and
                                Dondero purchase offer (.2); E-mails with G Demo,
                                J Pomerantz re issues re draft outline of opposition
                                to motions for stay pending appeal and D Court
                                concerns re same (.3).
 03/04/2021   IDK      PD       Attend conference call with J Pomerantz, G Demo, J       0.90      1325.00       $1,192.50
                                Elkin re stay pending appeal (.5); E-mails with J
                                Pomerantz re Dondero joinder in stay motions,
                                including brief review of same (.2); Review of
                                correspondence with UCC re new D&O insurance
                                for plan effectiveness, and summary of same (.2).
 03/04/2021   JNP      PD       Conference with Ira D. Kharasch regarding stay           0.20      1295.00        $259.00
                                pending appeal.
 03/04/2021   JNP      PD       Conference with J. Elkin, Ira D. Kharasch and            0.50      1295.00        $647.50
                                Gregory V. Demo regarding stay pending appeal.
 03/04/2021   JNP      PD       Review joinders regarding stay pending appeal and        0.30      1295.00        $388.50
                                emails regarding same.
 03/04/2021   JNP      PD       Emails with various parties regarding stipulation        0.30      1295.00        $388.50
                                regarding scheduling order on motions for stay
                                pending appeal.
 03/04/2021   JEO      PD       Emails with IRS re tax issue follow up from              0.40      1050.00        $420.00
                                confirmation hearing
 03/04/2021   JEO      PD       Emails with Brian Collins re tax return needed for       0.40      1050.00        $420.00
                                IRS re follow up from confirmation hearing
 03/04/2021   JMF      PD       Review plan dates/deadlines and confirmation date        0.80      1050.00        $840.00
                                issues.
 03/04/2021   GVD      PD       Conference with Frontier re status of note payment       0.30       950.00        $285.00
 03/04/2021   GVD      PD       Correspondence with J. Pomerantz re outline for          0.20       950.00        $190.00
                                response to stay motion
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                                                                                       Hours           Rate       Amount
 03/04/2021   GVD      PD       Revise order re scheduling re motions for stay          0.30       950.00         $285.00
                                pending appeal
 03/04/2021   GVD      PD       Review research re stay pending appeal                  1.20       950.00        $1,140.00
 03/04/2021   GVD      PD       Conference with PSZJ team re response to stay           0.50       950.00         $475.00
                                pending appeal
 03/04/2021   GVD      PD       Attend to filing of scheduling order re stay pending    0.10       950.00          $95.00
                                appeal
 03/04/2021   JE       PD       Work on research for stay opposition (6.2); review      8.90      1195.00       $10,635.50
                                analyses of certain issues from Ms. Winograd (.4);
                                various correspondence regarding research and
                                drafting with Mr. Demos and Ms. Winograd (.4);
                                call with Mr. Demo, Mr. Pomerantz and Mr.
                                Kharasch regarding opposition to stay motion (.5);
                                review NexPoint motion for stay (.6); review
                                briefing on injunctions, exculpation, releases and
                                gatekeeper functions (.8).
 03/04/2021   HRW      PD       Research issues for response to Advisors motion for     6.50       695.00        $4,517.50
                                stay of confirmation order pending appeal (6.5).
 03/05/2021   JNP      PD       Conference with Gregory V. Demo regarding               0.10      1295.00         $129.50
                                payments to Frontier.
 03/05/2021   JNP      PD       Email to and from Z. Anabelle regarding hearing on      0.10      1295.00         $129.50
                                motion for stay pending appeal.
 03/05/2021   GVD      PD       Draft omnibus response to motions for stay pending      8.60       950.00        $8,170.00
                                appeal
 03/05/2021   GVD      PD       Conference with E. Bromagen re open issues re           0.20       950.00         $190.00
                                motion to stay
 03/05/2021   JE       PD       Work on brief in opposition to motion for stay          8.70      1195.00       $10,396.50
                                pending appeal.
 03/05/2021   HRW      PD       Review and edit opposition to motion for stay           4.20       695.00        $2,919.00
                                pending appeal of confirmation order (4.2).
 03/06/2021   GVD      PD       Further review and revise omnibus response to           6.70       950.00        $6,365.00
                                motions for stay pending appeal
 03/06/2021   JE       PD       Work on certain sections of brief in opposition to      7.60      1195.00        $9,082.00
                                motion for stay pending appeal; review and review
                                draft from Mr. Demo; miscellaneous correspondence
                                with Mr. Demo and Ms. Winograd regarding various
                                research issues.
 03/06/2021   HRW      PD       Review and edit opposition to motion for stay           5.00       695.00        $3,475.00
                                pending appeal of confirmation order (5.0).
 03/07/2021   JMF      PD       Review confirmation order re plan.                      0.50      1050.00         $525.00
 03/07/2021   GVD      PD       Further revise draft omnibus response to motions for    4.40       950.00        $4,180.00
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                                                                                        Hours           Rate      Amount
                                stay
 03/07/2021   JE       PD       Review and revise various drafts of brief and related    3.00      1195.00       $3,585.00
                                correspondence with Mr. Demo and Ms. Winograd.
 03/07/2021   HRW      PD       Review and edit opposition to motion for stay            7.50       695.00       $5,212.50
                                pending appeal of confirmation order (7.5).
 03/08/2021   IDK      PD       Numerous E-mails with G Demo, J Pomerantz re J           1.50      1325.00       $1,987.50
                                Pomerantz substantial revisions to opposition to
                                motions for stay pending appeal, and issues re same
                                on absolute priority rule, and other sections (1.3);
                                Telephone conference with J Pomerantz re issues for
                                draft opposition to motion for stay pending appeal of
                                conference order (.2).
 03/08/2021   JNP      PD       Work on opposition to motion for stay pending            5.50      1295.00       $7,122.50
                                appeal.
 03/08/2021   JNP      PD       Conference with Ira D. Kharasch regarding                0.20      1295.00        $259.00
                                opposition to motion for stay pending appeal.
 03/08/2021   GVD      PD       Further review and revise response to objections to      7.30       950.00       $6,935.00
                                motions to stay pending appeal
 03/08/2021   GVD      PD       Multiple correspondences with J. Elkin re status of      0.20       950.00        $190.00
                                response to stay motions
 03/08/2021   JE       PD       Continue working on brief revisions with Mr. Demo,       6.70      1195.00       $8,006.50
                                Ms. Winegrad and Mr. Pomerantz.
 03/08/2021   HRW      PD       Review opposition to motion for stay pending appeal      1.00       695.00        $695.00
                                of confirmation order (1.0);
 03/09/2021   IDK      PD       Review of numerous correspondence from J                 0.60      1325.00        $795.00
                                Pomerantz, G Demo re further additions,
                                modification to extensive opposition to motions for
                                stay pending appeal, including review of same (.6).
 03/09/2021   JNP      PD       Continue to revise opposition to motion for stay         2.20      1295.00       $2,849.00
                                pending appeal.
 03/09/2021   JMF      PD       Review settlement and confirmation order re              0.80      1050.00        $840.00
                                employee claims treatment.
 03/09/2021   GVD      PD       Further review and revise omnibus response to stay       3.50       950.00       $3,325.00
                                pending appeal
 03/09/2021   GVD      PD       Correspondence with B. Sharp re objections to            0.20       950.00        $190.00
                                confirmation
 03/09/2021   JE       PD       Work on further revisions to brief (3.2); review         4.30      1195.00       $5,138.50
                                various revisions from Mr. Pomerantz and
                                incorporate into brief (.6); review case law on
                                bonding requirements and correspondence with Mr.
                                Demo and Mr. Pomerantz regarding same (.5).
 03/09/2021   HRW      PD       Review opposition to motion for stay pending appeal      1.00       695.00        $695.00
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                                                                                        Hours           Rate      Amount
                                of confirmation order (1.0);
 03/10/2021   IDK      PD       Review briefly J Pomerantz's various revised             0.40      1325.00        $530.00
                                sections for opposition to motions for stay pending
                                appeal (.4).
 03/10/2021   JNP      PD       Continue to work on opposition to stay pending           6.00      1295.00       $7,770.00
                                appeal motions.
 03/10/2021   JNP      PD       Emails with B. Sharp regarding effective date.           0.10      1295.00        $129.50
 03/10/2021   GVD      PD       Revise omnibus response to motions for stay              3.40       950.00       $3,230.00
                                pending appeal
 03/10/2021   JE       PD       Review various brief revisions from Mr. Pomerantz;       5.20      1195.00       $6,214.00
                                revise same and incorporate into main brief.
 03/11/2021   IDK      PD       Attend conference call with J Pomerantz, G Demo, J       1.00      1325.00       $1,325.00
                                Elkin on revised opposition to motions for stay
                                pending appeal (.4); Review briefly further revisions
                                to draft opposition to stay motions (.4); Review of
                                correspondence J Pomerantz, G Demo on Frontier
                                Note issue and Covitz, and stipulation re Petrocal
                                (.2).
 03/11/2021   JNP      PD       Conference with team regarding opposition to stay        0.50      1295.00        $647.50
                                pending appeal brief.
 03/11/2021   JNP      PD       Review latest version of opposition to stay pending      0.20      1295.00        $259.00
                                appeal.
 03/11/2021   JMF      PD       Review omnibus response to motions for stay              0.80      1050.00        $840.00
                                pending appeal.
 03/11/2021   JAM      PD       Review e-mails re: revisions to objection to Dondero     0.30      1245.00        $373.50
                                parties' motion to stay plan implementation (0.3).
 03/11/2021   LSC      PD       Conduct research and prepare materials in                3.20       460.00       $1,472.00
                                connection with motions for stay pending appeal.
 03/11/2021   GVD      PD       Conference with PSZJ team re status of response to       0.40       950.00        $380.00
                                motions for stay pending appeal
 03/11/2021   GVD      PD       Revise and prepare omnibus response to motions for       2.90       950.00       $2,755.00
                                stay pending appeal for filing
 03/11/2021   JE       PD       Review and revised brief per additional comments         3.60      1195.00       $4,302.00
                                (2.6); review additional comments of Mr. Pomerantz
                                and correspondence with Mr. Demo regarding same
                                (.2); call with Mr. Demo, Mr. Pomerantz and Mr.
                                Kharasch regarding finalization of brief (.5); review
                                final version and correspondence with Mr. Demo
                                regarding missing data and hearing documents (.2);
                                correspondence with Ms. Yee regarding hearing (.1).
 03/12/2021   IDK      PD       E-mails with J Elkin and G Demo re new 5th Cir           0.70      1325.00        $927.50
                                case on standing for appeal issues and impact on
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                                                                                         Hours           Rate      Amount
                                brief and their feedback on same (.4); E-mail G
                                Demo re as filed brief for opposition to stay pending
                                appeal and related issues (.1); Review of UCC
                                joinder in same (.2).
 03/12/2021   JNP      PD       Review Committee joinder regarding stay                   0.10      1295.00        $129.50
                                opposition.
 03/12/2021   JNP      PD       Review case regarding appellate standing.                 0.10      1295.00        $129.50
 03/12/2021   GVD      PD       Revise omnibus response to stay motions and attend        2.10       950.00       $1,995.00
                                to issues re filing of same
 03/12/2021   JE       PD       Review and revise brief for proofing and provide          2.70      1195.00       $3,226.50
                                comments to Mr. Demo (1.8); review new Fifth
                                Circuit standing opinion and distribute (.4);
                                correspondence with Mr. Demo re finalization of
                                brief and filing (.2); review UCC joinder to Debtor's
                                brief in opposition to stay (.3).
 03/15/2021   JMF      PD       Review order re monthly us trustee filing issues.         0.30      1050.00        $315.00
 03/16/2021   IDK      PD       Telephone conference with J Pomerantz re Dondero          0.70      1325.00        $927.50
                                counsel inquiry on potential agreement on bond
                                amount re appeal (.1); E-mails with J Pomerantz re
                                Dondero correspondence of today re its purchase of
                                claims and relation to the standing issue on appeal
                                (.2); Review of NPA and Funds reply brief re new
                                standing argument re same, as well as other
                                arguments (.4).
 03/16/2021   IDK      PD       E-mails with J Pomerantz re how to respond to             0.30      1325.00        $397.50
                                today's communications from Dondero counsel on
                                potential discussion of bond amount (.2); E-mails
                                with R Feinstein, J Pomerantz re court's certification
                                of appeal to 5th Cir (.1).
 03/16/2021   JNP      PD       Email to and from D. Rukavina regarding stay              0.10      1295.00        $129.50
                                pending appeal.
 03/16/2021   JNP      PD       Conference with M. Clemente regarding stay                0.20      1295.00        $259.00
                                pending appeal and proposal from appellants.
 03/16/2021   JNP      PD       Conference with J. Seery regarding stay pending           0.20      1295.00        $259.00
                                appeal and proposal from appellants.
 03/16/2021   JNP      PD       Begin preparing for hearing on motion for stay            0.80      1295.00       $1,036.00
                                pending appeal.
 03/16/2021   JNP      PD       Review replies regarding motions for stay pending         0.70      1295.00        $906.50
                                appeal.
 03/16/2021   JNP      PD       Review emails regarding executory contracts and           0.10      1295.00        $129.50
                                Plan confirmation.
 03/16/2021   JNP      PD       Email to Board regarding proposal regarding bond          0.10      1295.00        $129.50
                                for stay from advisors.
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                                                                                     Hours           Rate      Amount
 03/16/2021   JMF      PD       Review Dondero entities' replies to stay of           0.80      1050.00        $840.00
                                confirmation order pending appeal.
 03/16/2021   GVD      PD       Correspondence re response to motions re stay         0.20       950.00        $190.00
                                pending appeal
 03/16/2021   GVD      PD       Review replies to stay pending appeal filed by NPA    0.30       950.00        $285.00
                                and Funds
 03/16/2021   JE       PD       Review Replies of the Funds and the Advisors to       2.20      1195.00       $2,629.00
                                stay motion objection and review certain case law
                                cited in same.
 03/17/2021   IDK      PD       E-mails with J Pomerantz re his draft part of         2.10      1325.00       $2,782.50
                                presentation on stay re new issue of employee
                                claims and manipulation and comments re same (.4);
                                Attend conference call with J Pomerantz and G
                                Demo and then with CEO re reply briefs on stay
                                pending appeal and impact on oral argument for
                                hearing, offer of Dondero on bond pending appeal,
                                and issues on objections to employee objections
                                (1.7)
 03/17/2021   IDK      PD       Review of correspondence with CEO, J Pomerantz        0.10      1325.00        $132.50
                                on negotiations with Dondero counsel on bonding
                                requirements.
 03/17/2021   JNP      PD       Continue to prepare for hearing on stay pending       3.90      1295.00       $5,050.50
                                appeal.
 03/17/2021   JNP      PD       Conference with Gregory V. Demo and Ira D.            1.70      1295.00       $2,201.50
                                Kharasch and then with J. Seery regarding issues
                                relating to hearing on stay pending appeal.
 03/17/2021   JNP      PD       Conference with M. Clemente regarding stay            0.10      1295.00        $129.50
                                pending appeal proposal.
 03/17/2021   JNP      PD       Email to and from D. Rukavina regarding response      0.10      1295.00        $129.50
                                to proposal for stay pending appeal.
 03/17/2021   JNP      PD       Review exhibit list.                                  0.10      1295.00        $129.50
 03/17/2021   GVD      PD       Conference with J. Pomerantz, I. Kharasch, and J.     1.70       950.00       $1,615.00
                                Seery (partial) re prepartion for hearing re stay
                                pending appeal
 03/17/2021   GVD      PD       Review materials re stay pending appeal               0.60       950.00        $570.00
 03/17/2021   GVD      PD       Draft background insert to District Court brief re    0.70       950.00        $665.00
                                stay pending appeal
 03/17/2021   JE       PD       Correspondence with Mr. Demo regarding potential      0.20      1195.00        $239.00
                                sur-reply.
 03/18/2021   IDK      PD       Attend conference call with J Pomerantz, others on    0.60      1325.00        $795.00
                                tomorrow's stay hearing and witness/exhibit list,
                                employee claim issues (.6).
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                                                                                       Hours           Rate       Amount
 03/18/2021   IDK      PD       Telephone conference with J Pomerantz re                0.10      1325.00         $132.50
                                tomorrow's stay hearing and Dondero recusal motion
                                (.1).
 03/18/2021   IDK      PD       Review and consider J Pomerantz's extensive             0.40      1325.00         $530.00
                                presentation notes for tomorrow and mine and other
                                feedback re same (.4).
 03/18/2021   JNP      PD       Conference with John A. Morris about stay hearing.      0.10      1295.00         $129.50
 03/18/2021   JNP      PD       Continue to prepare for stay hearing.                  10.80      1295.00       $13,986.00
 03/18/2021   JNP      PD       Conference with John A. Morris, Ira D. Kharasch         0.60      1295.00         $777.00
                                and Gregory V. Demo regarding exhibit list for
                                hearing.
 03/18/2021   LAF      PD       Research re potential plan modification                 0.80       475.00         $380.00
 03/18/2021   JAM      PD       Telephone conference with J. Pomerantz, I.              2.40      1245.00        $2,988.00
                                Kharasch, G. Demo re: hearing on appellants'
                                motion for a stay of confirmation (0.6);
                                review/revise J. Pomerantz presentation concerning
                                hearing on appellants' motion for a stay of
                                confirmation (1.8);
 03/18/2021   GVD      PD       Review and compile exhibits for hearing on stay         0.40       950.00         $380.00
                                pending appeal
 03/18/2021   GVD      PD       Review filed objections to claims in preparation for    0.70       950.00         $665.00
                                hearing on stay pending appeal
 03/18/2021   GVD      PD       Review J. Pomerantz presentation re hearing on stay     1.10       950.00        $1,045.00
                                pending appeal
 03/19/2021   IDK      PD       Attend hearing on motions for stay pending appeal,      2.70      1325.00        $3,577.50
                                as well as scheduling of other matters.
 03/19/2021   IDK      PD       Attend conference calls with Board during and after     0.50      1325.00         $662.50
                                stay pending appeal hearing.
 03/19/2021   IDK      PD       E-mails with R Saunders re need for research on         0.30      1325.00         $397.50
                                factors for bond calculation for stay pending appeal
                                for non-monetary judgment (.2); E-mails with J
                                Pomerantz, G Demo re mandatory/discretion issue
                                raised by court (.1).
 03/19/2021   JNP      PD       Prepare for and attend stay pending appeal motion.      4.50      1295.00        $5,827.50
 03/19/2021   JNP      PD       Call with J. Dubel, J. Seery , Robert J. Feinstein,     0.50      1295.00         $647.50
                                Gregory V. Demo, Ira D. Kharasch and John A.
                                Morris regarding stay pending appeal motion and
                                UBS issues.
 03/19/2021   JNP      PD       Conference with M. Clemente regarding stay              0.20      1295.00         $259.00
                                pending appeal hearing and next steps.
 03/19/2021   JNP      PD       Review Bankruptcy Rule 7062.                            0.10      1295.00         $129.50
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                                                                                       Hours           Rate      Amount
 03/19/2021   RMS      PD       Research and drafting regarding appeal bond             4.20       925.00       $3,885.00
 03/19/2021   RJF      PD       Attend hearing on stay pending appeal.                  3.00      1395.00       $4,185.00
 03/19/2021   LAF      PD       Legal research re: Correcting mistake in executory      1.30       475.00        $617.50
                                contract list.
 03/19/2021   JAM      PD       Court hearing on appellants' motion for stay pending    3.00      1245.00       $3,735.00
                                appeal (including call with Board and PSZJ team
                                during the break) (3.0);
 03/19/2021   GVD      PD       Attend hearing re motion for stay pending appeal        2.70       950.00       $2,565.00
 03/19/2021   GVD      PD       Multiple conferences with PSZJ team and Board re        1.00       950.00        $950.00
                                status of hearing on stay pending appeals
 03/19/2021   JE       PD       Review materials for hearing on motion for stay         3.60      1195.00       $4,302.00
                                pending appeal (1.0); attend hearing on motion for
                                stay pending appeal (2.3); correspondence with Mr.
                                Pomerantz, Mr. Saunders and Mr. Demo regarding
                                briefing remaining stay and bond issues (.5).
 03/19/2021   HRW      PD       Hearing on motion to stay confirmation order            2.00       695.00       $1,390.00
                                pending appeal (2.0);
 03/20/2021   IDK      PD       Attend conference call with J Pomerantz, others on      0.70      1325.00        $927.50
                                upcoming hearing on amount of bond, and prep for J
                                Seery, and evidence for same (.7).
 03/20/2021   IDK      PD       Review and consider R Saunders memo on                  0.70      1325.00        $927.50
                                mandatory/discretionary issues on appeal bond, and
                                feedback of J Pomerantz, R Saunders on same (.4);
                                Telephone conferences with R Saunders re need for
                                further research on factors on amount of bonds (.2);
                                Telephone conference with G Demo and R Saunders
                                re same (.1).
 03/20/2021   JNP      PD       Review research memo regarding stay pending             0.10      1295.00        $129.50
                                appeal as of right.
 03/20/2021   JNP      PD       Conference with John A. Morris, Gregory V. Demo         0.70      1295.00        $906.50
                                and Ira D. Kharasch regarding evidentiary support
                                for bond hearing.
 03/20/2021   JNP      PD       Email to Robert M. Saunders and J. Elkin regarding      0.10      1295.00        $129.50
                                bond argument and brief.
 03/20/2021   RMS      PD       Research and drafting regarding appeal bond             8.50       925.00       $7,862.50
 03/20/2021   RMS      PD       Telephone conference with Ira D. Kharasch               0.20       925.00        $185.00
                                regarding appeal bond
 03/20/2021   RMS      PD       Conference call with Ira D. Kharasch and Gregory        0.10       925.00         $92.50
                                V. Demo regarding appeal bond
 03/20/2021   GVD      PD       Review research re bond pending appeal                  0.20       950.00        $190.00
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                                                                                        Hours           Rate       Amount
 03/20/2021   GVD      PD       Conference with I. Kharasch and R. Saunders re           0.10       950.00          $95.00
                                additional research needed re stay pending appeal
 03/20/2021   GVD      PD       Conference with PSZJ team re preparation for             0.50       950.00         $475.00
                                subsequent hearing on bond for stay pending appeal
 03/20/2021   GVD      PD       Correspondence with J. Elkin re briefing schedule        0.20       950.00         $190.00
                                for stay pending appeal
 03/20/2021   JE       PD       Correspondence with Mr. Demo regarding                   3.10      1195.00        $3,704.50
                                supplemental brief (.3); review memo from Mr.
                                Saunders on stays and bond (.5); work on brief (2.3).
 03/21/2021   IDK      PD       E-mails with R Saunders, J Pomerantz re numerous         0.20      1325.00         $265.00
                                questions on memo on mandatory/discretionary stay
                                and cases for same and outline of brief re same.
 03/21/2021   IDK      PD       Review briefly J Elkins draft of pleading re appeal      0.60      1325.00         $795.00
                                bond need and amount of bond, as well as extensive
                                feedback/Committee comments of J Pomerantz re
                                same (.5); Review of correspondence UCC counsel
                                re stay issues (.1).
 03/21/2021   JNP      PD       Conference with John A. Morris and J. Seery              0.70      1295.00         $906.50
                                regarding testimony at continued stay hearing.
 03/21/2021   JNP      PD       Emails to and from Robert M. Saunders and J. Elkin       0.20      1295.00         $259.00
                                regarding supplemental opposition to stay pending
                                appeal.
 03/21/2021   JNP      PD       Review and revise supplemental opposition to stay        1.50      1295.00        $1,942.50
                                pending appeal.
 03/21/2021   RMS      PD       Research and drafting regarding appeal bond              8.90       925.00        $8,232.50
 03/21/2021   JMF      PD       Review and analyze plan issues re contract               0.50      1050.00         $525.00
                                assumption and rejections.
 03/21/2021   JAM      PD       Telephone conference with J. Seery, J. Pomerantz         1.30      1245.00        $1,618.50
                                re: evidentiary hearings on bond for stay pending
                                appeal and contempt hearing (1.1); communications
                                with appellants' counsel, court reporter re: Seery
                                deposition for bond hearing (0.2);
 03/21/2021   GVD      PD       Review and revise supplemental brief on stay             0.90       950.00         $855.00
                                pending appeal
 03/21/2021   JE       PD       Review research memo from Mr. Saunders and              10.20      1195.00       $12,189.00
                                review miscellaneous cases relating to appeal bonds;
                                correspondence with Mr. Pomerantz, Mr. Saunders
                                and Mr. Demo regarding supplemental brief; work
                                on brief; review changes from Mr. Demo and
                                additional research and revise brief.
 03/22/2021   IDK      PD       Attend conference call with CEO, J Pomerantz,            0.30      1325.00         $397.50
                                others re hearing to determine stay on 3/24 and
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                                                                                         Hours           Rate      Amount
                                amount of damages/harm issue (.3).
 03/22/2021   IDK      PD       Review and consider further R Saunders memo on            1.00      1325.00       $1,325.00
                                burden of proof re stay/bond amounts, and feedback
                                of others re same (.4); Numerous E-mails with
                                attorneys re further caselaw and issues re mandatory
                                vs discretionary issues on bond, as well as factors re
                                amount of bond (.3); Review of correspondence with
                                UCC counsel on its analysis of stay/bond issues and
                                other caselaw, including feedback of J Pomerantz, J
                                Elkin, others re same on new cases (.3).
 03/22/2021   IDK      PD       Review and consider J Elkin's initial draft of our        0.70      1325.00        $927.50
                                Supplemental Brief re stay/bond issues for appeal, as
                                well as comments of J Pomerantz, and need for
                                substantial changes (.4); E-mails with J Pomerantz,
                                others re my comments to same and needed changes
                                (.3).
 03/22/2021   IDK      PD       Review of J Elkin further revised Supplemental            0.40      1325.00        $530.00
                                Brief re stay/bond issues, as well as substantial
                                Comments to same from J Pomerantz and consider
                                need for further changes (.3); Telephone conference
                                with J Pomerantz re need for calls on same (.1).
 03/22/2021   IDK      PD       Attend conference call with J Pomerantz, J Elkin, G       0.90      1325.00       $1,192.50
                                Demo re further issues on Supplemental Brief re
                                stay and amount of bond (.5); Telephone conference
                                with UCC counsel, J Pomerantz, G Demo re same
                                and UCC perspective on same (.4).
 03/22/2021   IDK      PD       E-mails with J Pomerantz, G Demo re draft of order        0.20      1325.00        $265.00
                                denying stay from last week and setting continued
                                hearing on bond issues, including feedback from
                                other parties.
 03/22/2021   JNP      PD       Review and revise stay pending appeal brief.              1.50      1295.00       $1,942.50
 03/22/2021   JNP      PD       Conference with Ira D. Kharasch regarding stay            0.10      1295.00        $129.50
                                pending appeal brief.
 03/22/2021   JNP      PD       Conference with Sidley regarding stay pending             0.40      1295.00        $518.00
                                appeal hearing.
 03/22/2021   JNP      PD       Conference with Ira D. Kharasch, Gregory V. Demo,         0.50      1295.00        $647.50
                                Robert M. Saunders, and J. Elkin regarding stay
                                pending appeal brief.
 03/22/2021   PJJ      PD       Pull cases and prepare binder for J Pomerantz re          1.00       460.00        $460.00
                                supplemental stay oppositions.
 03/22/2021   RMS      PD       Research and drafting regarding appeal bond               7.40       925.00       $6,845.00
 03/22/2021   RMS      PD       Conference call with Jeffrey N. Pomerantz, Ira D.         0.40       925.00        $370.00
                                Kharasch and Judith J. Elkin regarding appeal bond
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                                                                                         Hours           Rate       Amount
 03/22/2021   LAF      PD       Citecheck & edit memo re appeal bond.                     2.30       475.00        $1,092.50
 03/22/2021   LAF      PD       Legal research re: Statutory construction in the Fifth    1.00       475.00         $475.00
                                Circuit.
 03/22/2021   GVD      PD       Review transcript re supplemental briefing on             0.30       950.00         $285.00
                                motion for stay pending appeal
 03/22/2021   GVD      PD       Draft order re stay pending appeal                        0.80       950.00         $760.00
 03/22/2021   GVD      PD       Review case research from UCC on stay issues              0.20       950.00         $190.00
 03/22/2021   GVD      PD       Review supplemental brief on stay pending appeal          0.20       950.00         $190.00
 03/22/2021   GVD      PD       Conference with PSZJ working group re                     0.50       950.00         $475.00
                                supplemental briefing on stay pending appeal
 03/22/2021   GVD      PD       Conference with counsel to the Committee re bond          0.40       950.00         $380.00
                                on stay pending appeal
 03/22/2021   JE       PD       Review additional research from Mr. Saunders and         11.40      1195.00       $13,623.00
                                review miscellaneous additional cases (2.1);
                                numerous correspondence with Mr. Pomerantz, Mr.
                                Saunders, Mr. Kharasch and Mr. Demo regarding
                                supplemental brief (1.0); work on brief and
                                incorporate revisions from Mr. Demo and Mr.
                                Pomerantz (3.8); review 3/19 hearing transcript (.8);
                                call with Mr. Demo, Mr. Pomerantz and Mr.
                                Saunders regarding brief (.5); work on additional
                                revisions to brief (3.2).
 03/23/2021   IDK      PD       Review of next draft of Supplemental Memorandum           0.70      1325.00         $927.50
                                re stay of appeal/bond issues, as well as related
                                correspondence on such changes, including my
                                feedback to same (.4); Review of further revisions to
                                same as well as feedback on same (.3).
 03/23/2021   IDK      PD       Telephone conference with J Pomerantz re Dondero          0.70      1325.00         $927.50
                                counsel communication after J Seery depo re
                                standing down for tomorrow's stay hearing (.1);
                                Review of J Pomerantz extensive memo to chambers
                                re same and need to go forward with hearing, and his
                                correspondence with appellants counsels re same
                                (.2); Attend conference call with J Pomerantz, J
                                Morris, G Demo re same letter and next steps for
                                same (.2); E-mails and telephone conference with J
                                Pomerantz re court's decision to vacate tomorrow's
                                hearing on stay/bond, including review of E-mails
                                from chambers re same (.2).
 03/23/2021   JNP      PD       Participate in J. Seery deposition regarding amount       1.30      1295.00        $1,683.50
                                of stay bond.
 03/23/2021   JNP      PD       Continue working on brief in opposition to stay           0.70      1295.00         $906.50
                                bond and emails regarding same.
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                                                                                      Hours           Rate      Amount
 03/23/2021   JNP      PD       Prepare for hearing on stay bond.                      0.50      1295.00        $647.50
 03/23/2021   JNP      PD       Conference with J. Dubel regarding Plan issues,        0.50      1295.00        $647.50
                                UBS and related.
 03/23/2021   JNP      PD       Conference with J. Seery before deposition             0.10      1295.00        $129.50
                                regarding stay bond.
 03/23/2021   JNP      PD       Conference with John A. Morris before deposition       0.10      1295.00        $129.50
                                regarding stay bond.
 03/23/2021   JNP      PD       Review Rukavina regarding bond hearing.                0.10      1295.00        $129.50
 03/23/2021   JNP      PD       Conference with John A. Morris, Ira D. Kharasch,       0.30      1295.00        $388.50
                                and Gregory V. Demo regarding D. Rukavina email
                                regarding bond hearing.
 03/23/2021   JNP      PD       Conference with D. Rukavina, L. Hogewood and           0.30      1295.00        $388.50
                                Gregory V. Demo regarding bond hearing and
                                follow up email regarding same.
 03/23/2021   JNP      PD       Prepare email to clerk regarding bond hearing in       0.20      1295.00        $259.00
                                response to D. Rukavina email.
 03/23/2021   JNP      PD       Conference with J. Sseery and M. Clemente              0.20      1295.00        $259.00
                                regarding D. Rukavina email regarding bond
                                hearing.
 03/23/2021   JNP      PD       Conference with L. Hogewood and Gregory V.             0.10      1295.00        $129.50
                                Demo regarding stay pending appeal hearing.
 03/23/2021   JNP      PD       Conference with J. Seery regarding call with L.        0.20      1295.00        $259.00
                                Hogewood regarding bond hearing.
 03/23/2021   JNP      PD       Emails with opposing counsel regarding stay            0.30      1295.00        $388.50
                                hearing, review email from Court; Conference with
                                Ira D. Kharasch and Gregory V. Demo regarding
                                same.
 03/23/2021   JNP      PD       Review and forward reports of hearing to Board.        0.10      1295.00        $129.50
 03/23/2021   JNP      PD       Emails regarding stay order and review same.           0.20      1295.00        $259.00
 03/23/2021   JNP      PD       Conference with John A. Morris regarding contempt      0.20      1295.00        $259.00
                                hearing arguments and stay pending appeal matters.
 03/23/2021   RMS      PD       Research and drafting regarding appeal bond            6.90       925.00       $6,382.50
 03/23/2021   RMS      PD       Telephone conference with Judith J. Elkin regarding    0.10       925.00         $92.50
                                appeal bond
 03/23/2021   JMF      PD       Review supplemental briefs filed re bond issues re     0.60      1050.00        $630.00
                                stay pending appeal.
 03/23/2021   JAM      PD       Communications with Appellants' counsel and            4.60      1245.00       $5,727.00
                                others re: zoom instructions for Seery deposition
                                (0.2); review/revise opposition brief concerning
                                bond/stay (1.7); Seery deposition (1.5); telephone
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                                                                                        Hours           Rate      Amount
                                conference with J. Seery re: deposition (0.3);
                                telephone conference with L. Hogewood re:
                                bond/stay (0.1); telephone conference with J.
                                Pomerantz re: bond/stay (0.1); review revised
                                versions of opposition brief on bond/stay (0.4);
                                e-mails with J. Pomerantz, J. Elkin, I. Kharasch, G.
                                Demo re: revised versions of opposition brief on
                                bond/stay issues (0.3);
 03/23/2021   GVD      PD       Review and revise brief re mandatory stay pending        1.80       950.00       $1,710.00
                                appeal
 03/23/2021   GVD      PD       Draft background to brief on stay pending appeal         0.20       950.00        $190.00
                                (District Court)
 03/23/2021   GVD      PD       Conference with J. Pomerantz, I. Kharasch, and J.        0.30       950.00        $285.00
                                Morris re bond issues
 03/23/2021   GVD      PD       Conference with D. Rukavina and J. Pomerantz re          0.20       950.00        $190.00
                                bond issues
 03/23/2021   GVD      PD       Conference with J. Elkin re district court brief on      0.40       950.00        $380.00
                                stay pending appeal
 03/23/2021   JE       PD       Review various comments to brief and revise same         7.60      1195.00       $9,082.00
                                accordingly (3.5); review additional revisions based
                                on depositions taken and review and revise brief per
                                new comments and additions (2.7); correspondence
                                with local counsel regarding filing (.2); review
                                correspondence from and to court regarding stay
                                motions (.3); miscellaneous correspondence with
                                Mr. Demo, Mr. Pomerantz, Mr. Morris, Mr.
                                Saunders and Mr. Kharasch regarding stay motions
                                and deposition of Mr. Seery (.4); review court's
                                recusal ruling (.3); review draft order (.2).
 03/23/2021   HRW      PD       Draft supplemental exhibit list for hearing on bond      0.80       695.00        $556.00
                                posting for stay pending appeal of confirmation
                                order (0.8).
 03/24/2021   JNP      PD       Conference with Gregory V. Demo regarding                0.10      1295.00        $129.50
                                scheduling and district court brief regarding stay.
 03/24/2021   JNP      PD       Conference with M. Clemente regarding Plan issues        0.20      1295.00        $259.00
                                and related.
 03/24/2021   JNP      PD       Email to CLO counsel regarding effective date.           0.10      1295.00        $129.50
 03/24/2021   GVD      PD       Draft insert to District Court brief re background of    5.00       950.00       $4,750.00
                                case
 03/24/2021   JE       PD       Review court order on stay.                              0.20      1195.00        $239.00
 03/25/2021   GVD      PD       Further revise and draft background section to           4.80       950.00       $4,560.00
                                District Court brief on stay pending appeal
 03/26/2021   IDK      PD       E-mails with J Pomerantz, G Demo re financing            0.30      1325.00        $397.50
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                                                                                         Hours           Rate      Amount
                                related issues (.2); E-mails with G Demo, trust
                                counsel on financing issues re trust (.1).
 03/26/2021   IDK      PD       Telephone conference with J Pomerantz re exit             0.60      1325.00        $795.00
                                financing (.1):Telephone conference with conference
                                with J Pomerantz, G Demo re exit financing issue
                                and next steps (.3); Telephone conference with G
                                Demo re same and research issues needed (.2).
 03/26/2021   JNP      PD       Conference with Board and Gregory V. Demo                 0.70      1295.00        $906.50
                                regarding Plan financing and related issues.
 03/26/2021   JNP      PD       Conference with Ira D. Kharasch and Gregory V.            0.30      1295.00        $388.50
                                Demo regarding Plan financing.
 03/26/2021   JNP      PD       Conference with J. Dubel regarding Plan financing.        0.20      1295.00        $259.00
 03/26/2021   JNP      PD       Conference with Ira D. Kharasch regarding exit            0.10      1295.00        $129.50
                                financing.
 03/26/2021   JNP      PD       Email to J. Seery regarding call to discuss exit          0.10      1295.00        $129.50
                                financing.
 03/26/2021   JMF      PD       Review plan and issues re pension plan wind down          0.60      1050.00        $630.00
                                issues.
 03/26/2021   GVD      PD       Conference with J. Pomerantz and Board re                 0.80       950.00        $760.00
                                financing issues
 03/26/2021   GVD      PD       Follow up conference with J. Pomerantz and I.             0.40       950.00        $380.00
                                Kharasch re financing issues
 03/26/2021   GVD      PD       Correspondence with J. Rodgers re tax issues re           0.10       950.00         $95.00
                                financing
 03/26/2021   JE       PD       Review draft fact section for potential district court    1.10      1195.00       $1,314.50
                                stay brief and correspondence with Mr. Demo
                                regarding same.
 03/27/2021   IDK      PD       E-mails with R Saunders re plan research needed           0.30      1325.00        $397.50
                                (.1); Telephone conference with R Saunders re
                                research needed re exit financing (.2).
 03/27/2021   RMS      PD       Telephone conference with Ira D. Kharasch                 0.10       925.00         $92.50
                                regarding research regarding exit financing
 03/28/2021   RMS      PD       Research and drafting regarding exit financing            6.20       925.00       $5,735.00
 03/28/2021   JE       PD       Review revised draft fact section and litigation          0.50      1195.00        $597.50
                                summary.
 03/29/2021   IDK      PD       Telephone conference with J Pomerantz re stay             0.10      1325.00        $132.50
                                pending appeal and briefing (.1).
 03/29/2021   IDK      PD       Review of correspondence with Dondero counsel, J          0.10      1325.00        $132.50
                                Pomerantz on stay appeal to District Court.
 03/29/2021   IDK      PD       E-mails and telephone conference with J Pomerantz         0.80      1325.00       $1,060.00
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                                                                                        Hours           Rate      Amount
                                re Plan, exit financing (.2); Telephone conference
                                with G Demo and J Pomerantz re same and related
                                issues (.3); E-mail R Saunders re same and section
                                1142b (.3).
 03/29/2021   IDK      PD       E-mail G Demo re correspondence from trust               0.40      1325.00        $530.00
                                counsel on exit financing and trust terms, and
                                consider, as well as CEO input and data room for
                                financing (.2); Review of G Demo memo on various
                                Plan provisions re exit financing or similar terms in
                                trust documents (.2).
 03/29/2021   JNP      PD       Conference with J. Seery regarding Plan issues, stay     0.30      1295.00        $388.50
                                pending appeal motion and related.
 03/29/2021   JNP      PD       Conference with Ira D. Kharasch regarding briefing       0.10      1295.00        $129.50
                                on stay pending appeal motion.
 03/29/2021   JNP      PD       Emails to and from D. Rukavina regarding stay            0.20      1295.00        $259.00
                                pending appeal motion.
 03/29/2021   JNP      PD       Review and respond to email describing status of         0.10      1295.00        $129.50
                                Plan confirmation issues for prospective financier.
 03/29/2021   JNP      PD       Conference with Ira D. Kharasch and Gregory V.           0.30      1295.00        $388.50
                                Demo regarding financing issues and approval.
 03/29/2021   JNP      PD       Conference with Ira D. Kharasch regarding Plan           0.20      1295.00        $259.00
                                financing and related.
 03/29/2021   RMS      PD       Research and drafting regarding exit financing           8.30       925.00       $7,677.50
 03/29/2021   GVD      PD       Conference with counsel to Frontier re timing of         0.20       950.00        $190.00
                                new note
 03/29/2021   JE       PD       Review correspondence on stay pending appeal to          0.20      1195.00        $239.00
                                district court.
 03/30/2021   IDK      PD       Numerous E-mails with J Pomerantz, others re             0.60      1325.00        $795.00
                                Dondero direct petition to 5th Circuit and his
                                correspondence with other appellants re same (.2);
                                Attend conference call with J Pomerantz, G Demo, J
                                Morris re appeals and Dondero latest request to 5th
                                Circuit (.4).
 03/30/2021   IDK      PD       Review of J Pomerantz comments to draft brief in         0.30      1325.00        $397.50
                                opposition to stay in District Court, as well as
                                underlying brief.
 03/30/2021   IDK      PD       E-mails with R Saunders re exit financing and memo       0.10      1325.00        $132.50
                                status (.1).
 03/30/2021   JNP      PD       Conference with M. Clemente regarding Plan and           0.50      1295.00        $647.50
                                litigation issues (2x).
 03/30/2021   JNP      PD       Review and comment on background section to              0.20      1295.00        $259.00
                                district court brief regarding stay pending appeal.
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                                                                                      Hours           Rate      Amount
 03/30/2021   RMS      PD       Research and drafting re exit financing                6.40       925.00       $5,920.00
 03/30/2021   RMS      PD       Research and drafting re exit financing                5.80       925.00       $5,365.00
 03/30/2021   LAF      PD       Citecheck & edit exit financing memo.                  1.30       475.00        $617.50
 03/30/2021   JAM      PD       Review Advisors' submission to Fifth Circuit for       1.00      1245.00       $1,245.00
                                direct appeal (0.3); telephone conference with J.
                                Pomerantz, I. Kharasch, G. Demo re: response to
                                Advisors' submission to Fifth Circuit for direct
                                appeal (0.4); review e-mails between J. Pomerantz,
                                counsel to appellants concerning confirmation order
                                appeal (0.2); telephone conference with J.
                                Pomerantz re: e-mails between J. Pomerantz,
                                counsel to appellants concerning confirmation order
                                appeal (0.1).
 03/30/2021   GVD      PD       Review Advisors brief re direct appeal to Fifth        0.20       950.00        $190.00
                                Circuit on confirmation
 03/30/2021   GVD      PD       Conference with PSZJ team re Advisors direct           0.40       950.00        $380.00
                                appeal of confirmation order to Fifth Circuit
 03/30/2021   GVD      PD       Review correspondence re direct appeal of              0.20       950.00        $190.00
                                confirmation order to Fifth Circuit
 03/31/2021   IDK      PD       Review of R Saunders memo on exit financing            0.30      1325.00        $397.50
                                issues ( ); E-mail J Pomerantz re financing and R
                                Saunders memo (.1); E-mail G Demo on financing
                                term sheet, including brief review (.2).
 03/31/2021   JNP      PD       Emails regarding call to discuss scheduling with       0.10      1295.00        $129.50
                                appellants.
 03/31/2021   JNP      PD       Conference with Appellants counsel, John A. Morris     0.40      1295.00        $518.00
                                and Gregory V. Demo regarding procedural issues
                                regarding stay pending appeal in District Court.
 03/31/2021   JNP      PD       Conference with M. Clemente after call with            0.20      1295.00        $259.00
                                Appellants regarding stay pending appeal.
 03/31/2021   JNP      PD       Conference with John A. Morris and Gregory V.          0.20      1295.00        $259.00
                                Demo after call with Appellants regarding stay
                                pending appeal.
 03/31/2021   JNP      PD       Email to Board regarding agreement regarding           0.20      1295.00        $259.00
                                briefing of stay pending appeal before District
                                Court.
 03/31/2021   JNP      PD       Review and revise stipulation regarding briefing       0.30      1295.00        $388.50
                                schedule and review follow up draft.
 03/31/2021   JNP      PD       Conference with M. Hankin regarding pending Plan       0.10      1295.00        $129.50
                                related issues.
 03/31/2021   JNP      PD       Review information regarding financing.                0.10      1295.00        $129.50
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                                                                                        Hours            Rate        Amount
 03/31/2021   JNP      PD       Brief review of Robert M. Saunders memo regarding         0.10      1295.00          $129.50
                                financing and email to Ira D. Kharasch regarding
                                same.
 03/31/2021   JMF      PD       Review rejection notice and confirmation order re         0.50      1050.00          $525.00
                                contract issues.
 03/31/2021   JMF      PD       Analyze issues re pension plan wind down and              0.60      1050.00          $630.00
                                confirmed plan.
 03/31/2021   JMF      PD       Analyze issues re TX tax claims and confirmation          0.40      1050.00          $420.00
                                order re treatment of same.
 03/31/2021   JMF      PD       Review admin claims bar date motion.                      0.40      1050.00          $420.00
 03/31/2021   LAF      PD       Citecheck & edit exit financing memo.                     2.60       475.00         $1,235.00
 03/31/2021   GVD      PD       Conference with J. Pomerantz and appellants re            0.40       950.00          $380.00
                                briefing schedule for stay pending appeal
 03/31/2021   GVD      PD       Further revise stipulation on briefing schedule re        0.20       950.00          $190.00
                                comments from J. Pomerantz
 03/31/2021   GVD      PD       Further revise background section to district court       0.70       950.00          $665.00
                                brief re comments from J. Pomerantz
 03/31/2021   GVD      PD       Draft stipulation re briefing schedule for stay           0.80       950.00          $760.00
                                pending appeal
 03/31/2021   JE       PD       Review 5th Circuit and appellate rules and outline        4.70      1195.00         $5,616.50
                                response to certification of appeal brief of Advisors
                                (3.3); call with Fifth Circuit regarding appeal (.2);
                                correspondence with Mr. Pomerantz regarding same
                                (.2); review 5th circuit appellate rules (.4); review
                                and revise outline per comments of Mr. Pomerantz
                                (.6).

                                                                                        423.60                    $451,473.50

  Retention of Prof. [B160]
 03/21/2021   JMF      RP       Draft supplemental declaration re retention.              1.20      1050.00         $1,260.00
 03/22/2021   JMF      RP       Review supplemental declaration (.3); emails re           0.40      1050.00          $420.00
                                same (.1).

                                                                                          1.60                      $1,680.00

  Ret. of Prof./Other
 03/03/2021   KKY      RPO      Respond (.1) to email from James E. O'Neill re OCP        0.40       460.00          $184.00
                                professional (Locke Lord); and prepare (.3)
                                attachments to same
 03/03/2021   GVD      RPO      Conference with J. Rovira re status of Hunton             0.60       950.00          $570.00
                                retention
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                                                                                       Hours           Rate       Amount
 03/04/2021   JEO      RPO      Review Deloitte's expanded retention notice             0.90      1050.00          $945.00
 03/09/2021   KKY      RPO      Review and revise 2nd notice of additional services     0.20       460.00           $92.00
                                provided by Deloitte
 03/10/2021   KKY      RPO      Draft (.1) and prepare for filing (.1) OCP statement    0.20       460.00           $92.00
                                (January 2021)
 03/11/2021   GVD      RPO      Conference with J. Rovira re Hunton retention           0.20       950.00          $190.00
 03/15/2021   GVD      RPO      Conference with E. Bromagen re status of Hunton         0.40       950.00          $380.00
                                retention
 03/16/2021   KKY      RPO      Prepare for filing and service 2nd notice of            0.10       460.00           $46.00
                                additional services provided by Deloitte
 03/16/2021   KKY      RPO      Prepare for filing and service notice re OCP            0.10       460.00           $46.00
                                statement (January 2021)
 03/16/2021   JEO      RPO      Review Deloitte's additional service notice and         0.90      1050.00          $945.00
                                coordinate filing and service of same.
 03/17/2021   GVD      RPO      Correspondence with Sidley re Hunton retention          0.40       950.00          $380.00

                                                                                        4.40                     $3,870.00

  Tax Issues [B240]
 03/01/2021   GVD      TI       Conference with Hunton Andrews Kurth re tax             1.10       950.00        $1,045.00
                                issues and research re same
 03/03/2021   JNP      TI       Review of email relating to tax audit.                  0.10      1295.00          $129.50
 03/03/2021   GVD      TI       Correspondence re status of call re tax audit           0.10       950.00           $95.00
 03/03/2021   GVD      TI       Correspondence with team re tax audit issues            0.30       950.00          $285.00
 03/04/2021   JNP      TI       Conference with T. Surgent, Gregory V. Demo, J.         0.30      1295.00          $388.50
                                Seery and J. Romey regarding tax issues and
                                continued pursuit of defense of audit.
 03/04/2021   JNP      TI       Conference with J. Seery, T. Surgent, Gregory V.        0.90      1295.00        $1,165.50
                                Demo and Hunton regarding audit issues.
 03/04/2021   GVD      TI       Conference with Hunton re tax audit issues              0.90       950.00          $855.00
 03/04/2021   GVD      TI       Conference with J. Seery re tax audit issues            0.30       950.00          $285.00
 03/04/2021   GVD      TI       Attend internal conference re tax audit issues          0.30       950.00          $285.00
 03/12/2021   IDK      TI       E-mails with CEO, others re tax audit and Hunton        0.10      1325.00          $132.50
                                position.
 03/12/2021   JNP      TI       Review and respond to emails regarding tax audit.       0.10      1295.00          $129.50

                                                                                        4.50                     $4,795.50

  TOTAL SERVICES FOR THIS MATTER:                                                                           $1,277,710.00
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 Expenses

 02/01/2020   CC         Conference Call [E105] Loop Up Conference Call, GVD            12.88


 01/21/2021   LV         Legal Vision Atty/Mess. Service- Inv. 51400, From PSZJ         60.00
                         L.A. office to JNP resident


 01/22/2021   AT         Auto Travel Expense [E109]Elite Transportation Services,      131.16
                         Inv. 1822701, from PSZJ NY (package/package) New
                         Rochelle, NY,


 01/22/2021   AT         Auto Travel Expense [E109] Elite Transportation Services,     107.83
                         Inv. 1822701, from PSZJ NY to Residence, S. Winns


 01/23/2021   AT         Auto Travel Expense [E109] Elite Transportation Services,     122.08
                         Inv. 1822701, from PSZJ NY to Residence, JAM


 01/23/2021   AT         Auto Travel Expense [E109] Elite Transportation Services,      83.66
                         Inv. 1822701, from 1650 Ohim Ave. to PSZJ NY, S. Winns


 01/23/2021   AT         Auto Travel Expense [E109] Elite Transportation Services,      75.60
                         Inv. 1822701, from PSZJ NY to 2802 Webster Ave. S.
                         Winns


 01/25/2021   AT         Auto Travel Expense [E109] Elite Transportation Services,      74.12
                         Inv. 1822701, from PSZJ NY to Residence, BEL


 01/25/2021   LV         Legal Vision Atty/Mess. Service- Inv. 51401, From PSZJ         70.00
                         L.A. office to JNP resident


 01/26/2021   AT         Auto Travel Expense [E109] Elite Transportation Services,      83.66
                         Inv. 1822701, from PSZJ NY to Residence, S. Winns


 01/26/2021   AT         Auto Travel Expense [E109]Elite Transportation Services,       65.40
                         Inv. 1822701, from PSZJ NY to 54 Garden PL , S. Winns


 01/26/2021   AT         Auto Travel Expense [E109] Elite Transportation Services,      80.07
                         Inv. 1822701, from PSZJ NY to Residence, S. Winns


 02/01/2021   CC         Conference Call [E105] Loop Up Conference Call, GVD             0.49
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 02/01/2021   CC         Conference Call [E105] Loop Up Conference Call, GVD       4.41


 02/01/2021   CC         Conference Call [E105] AT&T Conference Call, JAM          5.26


 02/01/2021   CC         Conference Call [E105] AT&T Conference Call, JAM          5.97


 02/01/2021   CC         Conference Call [E105] AT&T Conference Call, JAM          3.33


 02/01/2021   CC         Conference Call [E105] AT&T Conference Call, JMF          3.66


 02/02/2021   CC         Conference Call [E105] Loop Up Conference Call, GVD       3.36


 02/02/2021   CC         Conference Call [E105] Loop Up Conference Call, GVD       2.17


 02/02/2021   CC         Conference Call [E105] Loop Up Conference Call, GVD       0.42


 02/02/2021   CC         Conference Call [E105] Loop Up Conference Call, GVD      12.46


 02/02/2021   CC         Conference Call [E105] Loop Up Conference Call, GVD      32.69


 02/02/2021   CC         Conference Call [E105] AT&T Conference Call, GVD         20.71


 02/02/2021   CC         Conference Call [E105] AT&T Conference Call, GVD         17.08


 02/02/2021   CC         Conference Call [E105] AT&T Conference Call, GVD          1.43


 02/03/2021   CC         Conference Call [E105] Loop Up Conference Call, GVD       1.82


 02/03/2021   CC         Conference Call [E105] Loop Up Conference Call, GVD       2.83


 02/03/2021   CC         Conference Call [E105] Loop Up Conference Call, GVD       7.98


 02/03/2021   CC         Conference Call [E105] AT&T Conference Call, GVD         11.15


 02/03/2021   CC         Conference Call [E105] AT&T Conference Call, GVD         18.45
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 02/03/2021   CC         Conference Call [E105] AT&T Conference Call, GVD          3.94


 02/04/2021   CC         Conference Call [E105] Loop Up Conference Call, GVD       2.94


 02/04/2021   CC         Conference Call [E105] Loop Up Conference Call, GVD      12.61


 02/04/2021   CC         Conference Call [E105] Loop Up Conference Call, GVD      40.32


 02/04/2021   CC         Conference Call [E105] AT&T Conference Call, JAM          2.78


 02/04/2021   CC         Conference Call [E105] AT&T Conference Call, MBL          3.21


 02/05/2021   CC         Conference Call [E105] Loop Up Conference Call, GVD      10.04


 02/05/2021   CC         Conference Call [E105] Loop Up Conference Call, GVD      11.84


 02/05/2021   CC         Conference Call [E105] Loop Up Conference Call, GVD      87.42


 02/05/2021   CC         Conference Call [E105] Loop Up Conference Call, GVD       0.77


 02/05/2021   CC         Conference Call [E105] Loop Up Conference Call, GVD      30.80


 02/05/2021   CC         Conference Call [E105] AT&T Conference Call, GVD          6.85


 02/06/2021   CC         Conference Call [E105] Loop Up Conference Call, GVD       7.91


 02/07/2021   CC         Conference Call [E105] Loop Up Conference Call, GVD      18.41


 02/08/2021   CC         Conference Call [E105] Loop Up Conference Call, GVD      16.17


 02/08/2021   CC         Conference Call [E105] Loop Up Conference Call, GVD      12.04


 02/09/2021   CC         Conference Call [E105] Loop Up Conference Call, GVD      18.68


 02/09/2021   CC         Conference Call [E105] Loop Up Conference Call, GVD      17.29
Pachulski Stang Ziehl & Jones LLP                                              Page:    87
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 02/09/2021   CC         Conference Call [E105] Loop Up Conference Call, GVD      37.61


 02/09/2021   CC         Conference Call [E105] Loop Up Conference Call, GVD       3.57


 02/09/2021   CC         Conference Call [E105] AT&T Conference Call, JAM          1.14


 02/10/2021   CC         Conference Call [E105] Loop Up Conference Call, GVD       0.07


 02/10/2021   CC         Conference Call [E105] Loop Up Conference Call, GVD      49.00


 02/10/2021   CC         Conference Call [E105] Loop Up Conference Call, GVD      18.93


 02/10/2021   CC         Conference Call [E105] Loop Up Conference Call, GVD      21.14


 02/10/2021   CC         Conference Call [E105] Loop Up Conference Call, GVD       0.91


 02/10/2021   CC         Conference Call [E105] Loop Up Conference Call, GVD       6.02


 02/10/2021   CC         Conference Call [E105] AT&T Conference Call, GVD          2.45


 02/11/2021   CC         Conference Call [E105] Loop Up Conference Call, GVD       4.02


 02/12/2021   CC         Conference Call [E105] Loop Up Conference Call, GVD     133.47


 02/13/2021   CC         Conference Call [E105] Loop Up Conference Call, GVD      43.47


 02/15/2021   CC         Conference Call [E105] Loop Up Conference Call, GVD       0.28


 02/15/2021   CC         Conference Call [E105] Loop Up Conference Call, GVD       4.76


 02/15/2021   CC         Conference Call [E105] Loop Up Conference Call, GVD      14.98


 02/15/2021   CC         Conference Call [E105] Loop Up Conference Call, GVD       3.57


 02/15/2021   CC         Conference Call [E105] Loop Up Conference Call, GVD      14.56
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 02/15/2021   CC         Conference Call [E105] AT&T Conference Call, GVD          1.68


 02/16/2021   CC         Conference Call [E105] Loop Up Conference Call, GVD      18.77


 02/16/2021   CC         Conference Call [E105] Loop Up Conference Call, GVD       2.80


 02/16/2021   CC         Conference Call [E105] Loop Up Conference Call, GVD       4.27


 02/16/2021   CC         Conference Call [E105] Loop Up Conference Call, GVD       2.38


 02/16/2021   CC         Conference Call [E105] Loop Up Conference Call, GVD       7.56


 02/16/2021   CC         Conference Call [E105] Loop Up Conference Call, GVD      18.99


 02/16/2021   CC         Conference Call [E105] AT&T Conference Call, JMF          6.54


 02/17/2021   CC         Conference Call [E105] Loop Up Conference Call, GVD      11.97


 02/17/2021   CC         Conference Call [E105] Loop Up Conference Call, GVD      10.71


 02/17/2021   CC         Conference Call [E105] AT&T Conference Call, JAM          3.36


 02/18/2021   CC         Conference Call [E105] Loop Up Conference Call, GVD      21.42


 02/18/2021   CC         Conference Call [E105] Loop Up Conference Call, GVD       0.07


 02/18/2021   CC         Conference Call [E105] AT&T Conference Call, GVD          6.01


 02/19/2021   CC         Conference Call [E105] Loop Up Conference Call, GVD      10.51


 02/19/2021   CC         Conference Call [E105] Loop Up Conference Call, GVD       0.07


 02/19/2021   CC         Conference Call [E105] Loop Up Conference Call, GVD       0.28


 02/19/2021   CC         Conference Call [E105] Loop Up Conference Call, GVD       9.31
Pachulski Stang Ziehl & Jones LLP                                                    Page:    89
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 02/20/2021   CC         Conference Call [E105] Loop Up Conference Call, GVD             5.25


 02/21/2021   CC         Conference Call [E105] Loop Up Conference Call, GVD             0.42


 02/21/2021   CC         Conference Call [E105] Loop Up Conference Call, GVD            28.28


 02/22/2021   CC         Conference Call [E105] Loop Up Conference Call, GVD             4.06


 02/22/2021   CC         Conference Call [E105] Loop Up Conference Call, GVD             0.98


 02/22/2021   CC         Conference Call [E105] Loop Up Conference Call, GVD             4.06


 02/22/2021   CC         Conference Call [E105] Loop Up Conference Call, GVD             0.91


 02/22/2021   CC         Conference Call [E105] Loop Up Conference Call, GVD            14.21


 02/22/2021   CC         Conference Call [E105] AT&T Conference Call, GVD                0.24


 02/22/2021   CC         Conference Call [E105] AT&T Conference Call, GVD                0.72


 02/22/2021   CC         Conference Call [E105] AT&T Conference Call, GVD                1.00


 02/22/2021   CC         Conference Call [E105] AT&T Conference Call, GVD                3.91


 02/23/2021   AT         Auto Travel Expense [E109] Elite Transportaiton Services,      80.07
                         Inv. 1823602, S. WInns


 02/23/2021   AT         Auto Travel Expense [E109] Elite Transportaiton Services,      63.16
                         Inv. 1823602, GVD


 02/23/2021   CC         Conference Call [E105] Loop Up Conference Call, GVD             2.29


 02/23/2021   CC         Conference Call [E105] Loop Up Conference Call, GVD             1.12


 02/23/2021   CC         Conference Call [E105] Loop Up Conference Call, GVD             5.25
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 02/23/2021   CC         Conference Call [E105] Loop Up Conference Call, GVD       0.21


 02/23/2021   CC         Conference Call [E105] Loop Up Conference Call, GVD      12.53


 02/23/2021   CC         Conference Call [E105] AT&T Conference Call, GVD         46.48


 02/23/2021   FE         36027.00002 FedEx Charges for 02-23-21                   60.28


 02/23/2021   FE         36027.00002 FedEx Charges for 02-23-21                   51.04


 02/23/2021   OS         Mobile Parcel Carriers, Inv. 225296, S. Winns            28.00


 02/24/2021   CC         Conference Call [E105] Loop Up Conference Call, GVD       7.70


 02/24/2021   CC         Conference Call [E105] Loop Up Conference Call, GVD      16.73


 02/24/2021   CC         Conference Call [E105] Loop Up Conference Call, GVD       5.16


 02/24/2021   CC         Conference Call [E105] Loop Up Conference Call, GVD       3.43


 02/24/2021   CC         Conference Call [E105] Loop Up Conference Call, GVD       5.43


 02/25/2021   CC         Conference Call [E105] Loop Up Conference Call, GVD       1.67


 02/25/2021   CC         Conference Call [E105] Loop Up Conference Call, GVD       6.56


 02/25/2021   CC         Conference Call [E105] Loop Up Conference Call, GVD       3.23


 02/26/2021   CC         Conference Call [E105] Loop Up Conference Call, GVD      95.08


 02/26/2021   CC         Conference Call [E105] Loop Up Conference Call, GVD      13.68


 02/26/2021   CC         Conference Call [E105] Loop Up Conference Call, GVD       4.34


 03/01/2021   LN         36027.00002 Lexis Charges for 03-01-21                   39.03
Pachulski Stang Ziehl & Jones LLP                                 Page:    91
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 03/01/2021   LN         36027.00002 Lexis Charges for 03-01-21      22.47


 03/01/2021   LN         36027.00002 Lexis Charges for 03-01-21      26.60


 03/01/2021   LN         36027.00002 Lexis Charges for 03-01-21      19.95


 03/01/2021   LN         36027.00001 Lexis Charges for 03-01-21      86.85


 03/01/2021   RE         ( 170 @0.10 PER PG)                         17.00


 03/01/2021   RE         ( 1 @0.10 PER PG)                            0.10


 03/01/2021   RE2        SCAN/COPY ( 34 @0.10 PER PG)                 3.40


 03/01/2021   RE2        SCAN/COPY ( 5 @0.10 PER PG)                  0.50


 03/01/2021   RE2        SCAN/COPY ( 5 @0.10 PER PG)                  0.50


 03/01/2021   RE2        SCAN/COPY ( 3 @0.10 PER PG)                  0.30


 03/01/2021   RE2        SCAN/COPY ( 162 @0.10 PER PG)               16.20


 03/01/2021   RE2        SCAN/COPY ( 161 @0.10 PER PG)               16.10


 03/01/2021   RE2        SCAN/COPY ( 15 @0.10 PER PG)                 1.50


 03/01/2021   RE2        SCAN/COPY ( 22 @0.10 PER PG)                 2.20


 03/01/2021   RE2        SCAN/COPY ( 15 @0.10 PER PG)                 1.50


 03/01/2021   RE2        SCAN/COPY ( 6 @0.10 PER PG)                  0.60


 03/01/2021   RE2        SCAN/COPY ( 3 @0.10 PER PG)                  0.30


 03/01/2021   RE2        SCAN/COPY ( 22 @0.10 PER PG)                 2.20
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Highland Capital Management LP                                    Invoice 127522
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 03/01/2021   RE2        SCAN/COPY ( 161 @0.10 PER PG)               16.10


 03/01/2021   RE2        SCAN/COPY ( 3 @0.10 PER PG)                  0.30


 03/01/2021   RE2        SCAN/COPY ( 3 @0.10 PER PG)                  0.30


 03/01/2021   RE2        SCAN/COPY ( 7 @0.10 PER PG)                  0.70


 03/01/2021   RE2        SCAN/COPY ( 5 @0.10 PER PG)                  0.50


 03/01/2021   RE2        SCAN/COPY ( 7 @0.10 PER PG)                  0.70


 03/01/2021   RE2        SCAN/COPY ( 3 @0.10 PER PG)                  0.30


 03/02/2021   LN         36027.00002 Lexis Charges for 03-02-21      23.42


 03/02/2021   LN         36027.00002 Lexis Charges for 03-02-21      26.60


 03/02/2021   LN         36027.00002 Lexis Charges for 03-02-21      19.95


 03/02/2021   LN         36027.00001 Lexis Charges for 03-02-21       7.24


 03/02/2021   RE         ( 1 @0.10 PER PG)                            0.10


 03/02/2021   RE2        SCAN/COPY ( 10 @0.10 PER PG)                 1.00


 03/02/2021   RE2        SCAN/COPY ( 31 @0.10 PER PG)                 3.10


 03/02/2021   RE2        SCAN/COPY ( 161 @0.10 PER PG)               16.10


 03/02/2021   RE2        SCAN/COPY ( 5 @0.10 PER PG)                  0.50


 03/02/2021   RE2        SCAN/COPY ( 3 @0.10 PER PG)                  0.30


 03/02/2021   RE2        SCAN/COPY ( 3 @0.10 PER PG)                  0.30
Pachulski Stang Ziehl & Jones LLP                                         Page:    93
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 03/02/2021   RE2        SCAN/COPY ( 31 @0.10 PER PG)                         3.10


 03/02/2021   RE2        SCAN/COPY ( 3 @0.10 PER PG)                          0.30


 03/02/2021   TE         Travel Expense [E110] Carole Storage, JAM           48.50


 03/03/2021   AT         Auto Travel Expense [E109] First City Cab, GVD      29.80


 03/03/2021   LN         36027.00002 Lexis Charges for 03-03-21              54.64


 03/03/2021   LN         36027.00002 Lexis Charges for 03-03-21              26.60


 03/03/2021   LN         36027.00002 Lexis Charges for 03-03-21              19.95


 03/03/2021   LN         36027.00001 Lexis Charges for 03-03-21              65.13


 03/03/2021   RE         ( 1 @0.10 PER PG)                                    0.10


 03/03/2021   RE         ( 4 @0.10 PER PG)                                    0.40


 03/03/2021   RE         ( 31 @0.10 PER PG)                                   3.10


 03/03/2021   RE2        SCAN/COPY ( 57 @0.10 PER PG)                         5.70


 03/03/2021   RE2        SCAN/COPY ( 20 @0.10 PER PG)                         2.00


 03/03/2021   RE2        SCAN/COPY ( 12 @0.10 PER PG)                         1.20


 03/03/2021   RE2        SCAN/COPY ( 14 @0.10 PER PG)                         1.40


 03/04/2021   LN         36027.00002 Lexis Charges for 03-04-21              39.03


 03/04/2021   LN         36027.00002 Lexis Charges for 03-04-21              14.98


 03/04/2021   LN         36027.00002 Lexis Charges for 03-04-21               7.81
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 03/04/2021   LN         36027.00002 Lexis Charges for 03-04-21      26.60


 03/04/2021   LN         36027.00002 Lexis Charges for 03-04-21      19.95


 03/04/2021   OS         Trial Graphix, Inv. 2103-043, JAM         1,787.50


 03/04/2021   RE         ( 1 @0.10 PER PG)                            0.10


 03/04/2021   RE2        SCAN/COPY ( 10 @0.10 PER PG)                 1.00


 03/04/2021   RE2        SCAN/COPY ( 12 @0.10 PER PG)                 1.20


 03/04/2021   RE2        SCAN/COPY ( 12 @0.10 PER PG)                 1.20


 03/05/2021   LN         36027.00002 Lexis Charges for 03-05-21     117.09


 03/05/2021   LN         36027.00002 Lexis Charges for 03-05-21       7.50


 03/05/2021   LN         36027.00002 Lexis Charges for 03-05-21      26.60


 03/05/2021   LN         36027.00002 Lexis Charges for 03-05-21      19.95


 03/05/2021   RE2        SCAN/COPY ( 6 @0.10 PER PG)                  0.60


 03/05/2021   RE2        SCAN/COPY ( 5 @0.10 PER PG)                  0.50


 03/05/2021   RE2        SCAN/COPY ( 45 @0.10 PER PG)                 4.50


 03/05/2021   RE2        SCAN/COPY ( 4 @0.10 PER PG)                  0.40


 03/05/2021   RE2        SCAN/COPY ( 3 @0.10 PER PG)                  0.30


 03/05/2021   RE2        SCAN/COPY ( 14 @0.10 PER PG)                 1.40


 03/06/2021   LN         36027.00002 Lexis Charges for 03-06-21     132.71
Pachulski Stang Ziehl & Jones LLP                                 Page:    95
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 03/06/2021   LN         36027.00002 Lexis Charges for 03-06-21      37.44


 03/07/2021   RE2        SCAN/COPY ( 24 @0.10 PER PG)                 2.40


 03/08/2021   LN         36027.00002 Lexis Charges for 03-08-21       7.82


 03/08/2021   LN         36027.00002 Lexis Charges for 03-08-21       7.24


 03/08/2021   LN         36027.00002 Lexis Charges for 03-08-21      26.60


 03/08/2021   LN         36027.00002 Lexis Charges for 03-08-21      19.95


 03/08/2021   RE         ( 2 @0.10 PER PG)                            0.20


 03/08/2021   RE         ( 1 @0.10 PER PG)                            0.10


 03/08/2021   RE2        SCAN/COPY ( 24 @0.10 PER PG)                 2.40


 03/08/2021   RE2        SCAN/COPY ( 12 @0.10 PER PG)                 1.20


 03/08/2021   RE2        SCAN/COPY ( 13 @0.10 PER PG)                 1.30


 03/08/2021   RE2        SCAN/COPY ( 1 @0.10 PER PG)                  0.10


 03/08/2021   RE2        SCAN/COPY ( 8 @0.10 PER PG)                  0.80


 03/08/2021   RE2        SCAN/COPY ( 8 @0.10 PER PG)                  0.80


 03/08/2021   RE2        SCAN/COPY ( 2 @0.10 PER PG)                  0.20


 03/08/2021   RE2        SCAN/COPY ( 5 @0.10 PER PG)                  0.50


 03/08/2021   RE2        SCAN/COPY ( 1 @0.10 PER PG)                  0.10


 03/08/2021   RE2        SCAN/COPY ( 4 @0.10 PER PG)                  0.40
Pachulski Stang Ziehl & Jones LLP                                                    Page:    96
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 03/08/2021   RE2        SCAN/COPY ( 3 @0.10 PER PG)                                     0.30


 03/08/2021   RE2        SCAN/COPY ( 2 @0.10 PER PG)                                     0.20


 03/08/2021   RE2        SCAN/COPY ( 2 @0.10 PER PG)                                     0.20


 03/08/2021   RE2        SCAN/COPY ( 2 @0.10 PER PG)                                     0.20


 03/08/2021   RE2        SCAN/COPY ( 7 @0.10 PER PG)                                     0.70


 03/08/2021   RE2        SCAN/COPY ( 3 @0.10 PER PG)                                     0.30


 03/08/2021   RE2        SCAN/COPY ( 164 @0.10 PER PG)                                  16.40


 03/08/2021   RE2        SCAN/COPY ( 5 @0.10 PER PG)                                     0.50


 03/08/2021   RE2        SCAN/COPY ( 5 @0.10 PER PG)                                     0.50


 03/09/2021   AT         Auto Travel Expense [E109] Elite Transportation Services,     113.14
                         Inv. 1824415, S. Winns


 03/09/2021   AT         Auto Travel Expense [E109] Elite Transportation Services,      80.07
                         Inv. 1824415, S. Winns


 03/09/2021   AT         Auto Travel Expense [E109] Elite Transportation Services,      89.02
                         Inv. 1824415, S. Winns


 03/09/2021   BM         Business Meal [E111] KFC, working meal, S. Winns               28.28


 03/09/2021   LN         36027.00002 Lexis Charges for 03-09-21                         39.03


 03/09/2021   LN         36027.00002 Lexis Charges for 03-09-21                         44.95


 03/09/2021   LN         36027.00002 Lexis Charges for 03-09-21                         26.60


 03/09/2021   LN         36027.00002 Lexis Charges for 03-09-21                         19.95
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 03/09/2021   RE         ( 33 @0.10 PER PG)                  3.30


 03/09/2021   RE         ( 2 @0.10 PER PG)                   0.20


 03/09/2021   RE         ( 24 @0.10 PER PG)                  2.40


 03/09/2021   RE         ( 380 @0.10 PER PG)                38.00


 03/09/2021   RE         ( 29 @0.10 PER PG)                  2.90


 03/09/2021   RE2        SCAN/COPY ( 20 @0.10 PER PG)        2.00


 03/09/2021   RE2        SCAN/COPY ( 18 @0.10 PER PG)        1.80


 03/09/2021   RE2        SCAN/COPY ( 78 @0.10 PER PG)        7.80


 03/09/2021   RE2        SCAN/COPY ( 54 @0.10 PER PG)        5.40


 03/09/2021   RE2        SCAN/COPY ( 45 @0.10 PER PG)        4.50


 03/09/2021   RE2        SCAN/COPY ( 1 @0.10 PER PG)         0.10


 03/09/2021   RE2        SCAN/COPY ( 7 @0.10 PER PG)         0.70


 03/09/2021   RE2        SCAN/COPY ( 2 @0.10 PER PG)         0.20


 03/09/2021   RE2        SCAN/COPY ( 3 @0.10 PER PG)         0.30


 03/09/2021   RE2        SCAN/COPY ( 4 @0.10 PER PG)         0.40


 03/09/2021   RE2        SCAN/COPY ( 3 @0.10 PER PG)         0.30


 03/09/2021   RE2        SCAN/COPY ( 2 @0.10 PER PG)         0.20


 03/09/2021   RE2        SCAN/COPY ( 142 @0.10 PER PG)      14.20
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 03/09/2021   RE2        SCAN/COPY ( 12 @0.10 PER PG)        1.20


 03/09/2021   RE2        SCAN/COPY ( 2 @0.10 PER PG)         0.20


 03/09/2021   RE2        SCAN/COPY ( 161 @0.10 PER PG)      16.10


 03/09/2021   RE2        SCAN/COPY ( 3 @0.10 PER PG)         0.30


 03/09/2021   RE2        SCAN/COPY ( 1 @0.10 PER PG)         0.10


 03/09/2021   RE2        SCAN/COPY ( 2 @0.10 PER PG)         0.20


 03/09/2021   RE2        SCAN/COPY ( 2 @0.10 PER PG)         0.20


 03/09/2021   RE2        SCAN/COPY ( 2 @0.10 PER PG)         0.20


 03/09/2021   RE2        SCAN/COPY ( 2 @0.10 PER PG)         0.20


 03/09/2021   RE2        SCAN/COPY ( 109 @0.10 PER PG)      10.90


 03/09/2021   RE2        SCAN/COPY ( 4 @0.10 PER PG)         0.40


 03/09/2021   RE2        SCAN/COPY ( 2 @0.10 PER PG)         0.20


 03/09/2021   RE2        SCAN/COPY ( 3 @0.10 PER PG)         0.30


 03/09/2021   RE2        SCAN/COPY ( 3 @0.10 PER PG)         0.30


 03/09/2021   RE2        SCAN/COPY ( 15 @0.10 PER PG)        1.50


 03/09/2021   RE2        SCAN/COPY ( 113 @0.10 PER PG)      11.30


 03/09/2021   RE2        SCAN/COPY ( 75 @0.10 PER PG)        7.50


 03/09/2021   RE2        SCAN/COPY ( 1 @0.10 PER PG)         0.10
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 03/09/2021   RE2        SCAN/COPY ( 203 @0.10 PER PG)      20.30


 03/09/2021   RE2        SCAN/COPY ( 4 @0.10 PER PG)         0.40


 03/09/2021   RE2        SCAN/COPY ( 4 @0.10 PER PG)         0.40


 03/09/2021   RE2        SCAN/COPY ( 4 @0.10 PER PG)         0.40


 03/09/2021   RE2        SCAN/COPY ( 3 @0.10 PER PG)         0.30


 03/09/2021   RE2        SCAN/COPY ( 2 @0.10 PER PG)         0.20


 03/09/2021   RE2        SCAN/COPY ( 3 @0.10 PER PG)         0.30


 03/09/2021   RE2        SCAN/COPY ( 4 @0.10 PER PG)         0.40


 03/09/2021   RE2        SCAN/COPY ( 4 @0.10 PER PG)         0.40


 03/09/2021   RE2        SCAN/COPY ( 2 @0.10 PER PG)         0.20


 03/09/2021   RE2        SCAN/COPY ( 3 @0.10 PER PG)         0.30


 03/09/2021   RE2        SCAN/COPY ( 1 @0.10 PER PG)         0.10


 03/09/2021   RE2        SCAN/COPY ( 3 @0.10 PER PG)         0.30


 03/09/2021   RE2        SCAN/COPY ( 21 @0.10 PER PG)        2.10


 03/09/2021   RE2        SCAN/COPY ( 78 @0.10 PER PG)        7.80


 03/09/2021   RE2        SCAN/COPY ( 41 @0.10 PER PG)        4.10


 03/09/2021   RE2        SCAN/COPY ( 12 @0.10 PER PG)        1.20


 03/09/2021   RE2        SCAN/COPY ( 6 @0.10 PER PG)         0.60
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 03/09/2021   RE2        SCAN/COPY ( 7 @0.10 PER PG)         0.70


 03/09/2021   RE2        SCAN/COPY ( 4 @0.10 PER PG)         0.40


 03/09/2021   RE2        SCAN/COPY ( 16 @0.10 PER PG)        1.60


 03/09/2021   RE2        SCAN/COPY ( 2 @0.10 PER PG)         0.20


 03/09/2021   RE2        SCAN/COPY ( 18 @0.10 PER PG)        1.80


 03/09/2021   RE2        SCAN/COPY ( 4 @0.10 PER PG)         0.40


 03/09/2021   RE2        SCAN/COPY ( 2 @0.10 PER PG)         0.20


 03/09/2021   RE2        SCAN/COPY ( 2 @0.10 PER PG)         0.20


 03/09/2021   RE2        SCAN/COPY ( 2 @0.10 PER PG)         0.20


 03/09/2021   RE2        SCAN/COPY ( 5 @0.10 PER PG)         0.50


 03/09/2021   RE2        SCAN/COPY ( 8 @0.10 PER PG)         0.80


 03/09/2021   RE2        SCAN/COPY ( 9 @0.10 PER PG)         0.90


 03/09/2021   RE2        SCAN/COPY ( 3 @0.10 PER PG)         0.30


 03/09/2021   RE2        SCAN/COPY ( 142 @0.10 PER PG)      14.20


 03/09/2021   RE2        SCAN/COPY ( 5 @0.10 PER PG)         0.50


 03/09/2021   RE2        SCAN/COPY ( 5 @0.10 PER PG)         0.50


 03/09/2021   RE2        SCAN/COPY ( 2 @0.10 PER PG)         0.20


 03/09/2021   RE2        SCAN/COPY ( 188 @0.10 PER PG)      18.80
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 03/09/2021   RE2        SCAN/COPY ( 2 @0.10 PER PG)                  0.20


 03/09/2021   RE2        SCAN/COPY ( 186 @0.10 PER PG)               18.60


 03/10/2021   LN         36027.00002 Lexis Charges for 03-10-21      54.64


 03/10/2021   LN         36027.00002 Lexis Charges for 03-10-21      26.60


 03/10/2021   LN         36027.00002 Lexis Charges for 03-10-21      19.95


 03/10/2021   RE         ( 1 @0.10 PER PG)                            0.10


 03/10/2021   RE         ( 11 @0.10 PER PG)                           1.10


 03/10/2021   RE2        SCAN/COPY ( 12 @0.10 PER PG)                 1.20


 03/10/2021   RE2        SCAN/COPY ( 11 @0.10 PER PG)                 1.10


 03/10/2021   RE2        SCAN/COPY ( 13 @0.10 PER PG)                 1.30


 03/10/2021   RE2        SCAN/COPY ( 23 @0.10 PER PG)                 2.30


 03/10/2021   RE2        SCAN/COPY ( 59 @0.10 PER PG)                 5.90


 03/10/2021   RE2        SCAN/COPY ( 14 @0.10 PER PG)                 1.40


 03/10/2021   RE2        SCAN/COPY ( 186 @0.10 PER PG)               18.60


 03/10/2021   RE2        SCAN/COPY ( 33 @0.10 PER PG)                 3.30


 03/10/2021   RE2        SCAN/COPY ( 25 @0.10 PER PG)                 2.50


 03/11/2021   LN         36027.00002 Lexis Charges for 03-11-21      26.60


 03/11/2021   LN         36027.00002 Lexis Charges for 03-11-21      19.95
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 03/11/2021   RE         ( 7 @0.10 PER PG)                                               0.70


 03/11/2021   RE         ( 81 @0.10 PER PG)                                              8.10


 03/11/2021   RE2        SCAN/COPY ( 52 @0.10 PER PG)                                    5.20


 03/11/2021   RE2        SCAN/COPY ( 14 @0.10 PER PG)                                    1.40


 03/11/2021   RE2        SCAN/COPY ( 14 @0.10 PER PG)                                    1.40


 03/11/2021   RE2        SCAN/COPY ( 54 @0.10 PER PG)                                    5.40


 03/11/2021   RE2        SCAN/COPY ( 12 @0.10 PER PG)                                    1.20


 03/11/2021   RE2        SCAN/COPY ( 2 @0.10 PER PG)                                     0.20


 03/11/2021   RE2        SCAN/COPY ( 4 @0.10 PER PG)                                     0.40


 03/12/2021   AT         Auto Travel Expense [E109] Elite Transportation Services,      63.16
                         Inv. 1824142, S. Winns


 03/12/2021   AT         Auto Travel Expense [E109] Elite Transportation Services,      80.07
                         Inv. 1824415, S. Winns


 03/12/2021   BM         Business Meal [E111]KFC, working meal, S. Winns                31.16


 03/12/2021   LN         36027.00002 Lexis Charges for 03-12-21                         26.40


 03/12/2021   LN         36027.00002 Lexis Charges for 03-12-21                         19.80


 03/12/2021   RE         ( 225 @0.10 PER PG)                                            22.50


 03/12/2021   RE         ( 21 @0.10 PER PG)                                              2.10


 03/12/2021   RE         ( 160 @0.10 PER PG)                                            16.00
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 03/12/2021   RE2        SCAN/COPY ( 10 @0.10 PER PG)        1.00


 03/12/2021   RE2        SCAN/COPY ( 8 @0.10 PER PG)         0.80


 03/12/2021   RE2        SCAN/COPY ( 12 @0.10 PER PG)        1.20


 03/12/2021   RE2        SCAN/COPY ( 3 @0.10 PER PG)         0.30


 03/12/2021   RE2        SCAN/COPY ( 16 @0.10 PER PG)        1.60


 03/12/2021   RE2        SCAN/COPY ( 20 @0.10 PER PG)        2.00


 03/12/2021   RE2        SCAN/COPY ( 8 @0.10 PER PG)         0.80


 03/12/2021   RE2        SCAN/COPY ( 121 @0.10 PER PG)      12.10


 03/12/2021   RE2        SCAN/COPY ( 11 @0.10 PER PG)        1.10


 03/12/2021   RE2        SCAN/COPY ( 13 @0.10 PER PG)        1.30


 03/12/2021   RE2        SCAN/COPY ( 26 @0.10 PER PG)        2.60


 03/12/2021   RE2        SCAN/COPY ( 32 @0.10 PER PG)        3.20


 03/12/2021   RE2        SCAN/COPY ( 5 @0.10 PER PG)         0.50


 03/12/2021   RE2        SCAN/COPY ( 8 @0.10 PER PG)         0.80


 03/12/2021   RE2        SCAN/COPY ( 6 @0.10 PER PG)         0.60


 03/12/2021   RE2        SCAN/COPY ( 19 @0.10 PER PG)        1.90


 03/12/2021   RE2        SCAN/COPY ( 17 @0.10 PER PG)        1.70


 03/12/2021   RE2        SCAN/COPY ( 7 @0.10 PER PG)         0.70
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 03/12/2021   RE2        SCAN/COPY ( 15 @0.10 PER PG)        1.50


 03/12/2021   RE2        SCAN/COPY ( 9 @0.10 PER PG)         0.90


 03/12/2021   RE2        SCAN/COPY ( 7 @0.10 PER PG)         0.70


 03/12/2021   RE2        SCAN/COPY ( 108 @0.10 PER PG)      10.80


 03/12/2021   RE2        SCAN/COPY ( 53 @0.10 PER PG)        5.30


 03/12/2021   RE2        SCAN/COPY ( 16 @0.10 PER PG)        1.60


 03/12/2021   RE2        SCAN/COPY ( 6 @0.10 PER PG)         0.60


 03/12/2021   RE2        SCAN/COPY ( 4 @0.10 PER PG)         0.40


 03/12/2021   RE2        SCAN/COPY ( 4 @0.10 PER PG)         0.40


 03/12/2021   RE2        SCAN/COPY ( 7 @0.10 PER PG)         0.70


 03/12/2021   RE2        SCAN/COPY ( 19 @0.10 PER PG)        1.90


 03/12/2021   RE2        SCAN/COPY ( 10 @0.10 PER PG)        1.00


 03/12/2021   RE2        SCAN/COPY ( 8 @0.10 PER PG)         0.80


 03/12/2021   RE2        SCAN/COPY ( 29 @0.10 PER PG)        2.90


 03/12/2021   RE2        SCAN/COPY ( 23 @0.10 PER PG)        2.30


 03/12/2021   RE2        SCAN/COPY ( 12 @0.10 PER PG)        1.20


 03/12/2021   RE2        SCAN/COPY ( 35 @0.10 PER PG)        3.50


 03/12/2021   RE2        SCAN/COPY ( 12 @0.10 PER PG)        1.20
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 03/12/2021   RE2        SCAN/COPY ( 7 @0.10 PER PG)        0.70


 03/12/2021   RE2        SCAN/COPY ( 8 @0.10 PER PG)        0.80


 03/12/2021   RE2        SCAN/COPY ( 24 @0.10 PER PG)       2.40


 03/12/2021   RE2        SCAN/COPY ( 3 @0.10 PER PG)        0.30


 03/12/2021   RE2        SCAN/COPY ( 2 @0.10 PER PG)        0.20


 03/12/2021   RE2        SCAN/COPY ( 7 @0.10 PER PG)        0.70


 03/12/2021   RE2        SCAN/COPY ( 12 @0.10 PER PG)       1.20


 03/12/2021   RE2        SCAN/COPY ( 6 @0.10 PER PG)        0.60


 03/12/2021   RE2        SCAN/COPY ( 4 @0.10 PER PG)        0.40


 03/12/2021   RE2        SCAN/COPY ( 4 @0.10 PER PG)        0.40


 03/12/2021   RE2        SCAN/COPY ( 8 @0.10 PER PG)        0.80


 03/12/2021   RE2        SCAN/COPY ( 8 @0.10 PER PG)        0.80


 03/12/2021   RE2        SCAN/COPY ( 5 @0.10 PER PG)        0.50


 03/12/2021   RE2        SCAN/COPY ( 14 @0.10 PER PG)       1.40


 03/12/2021   RE2        SCAN/COPY ( 9 @0.10 PER PG)        0.90


 03/12/2021   RE2        SCAN/COPY ( 17 @0.10 PER PG)       1.70


 03/12/2021   RE2        SCAN/COPY ( 19 @0.10 PER PG)       1.90


 03/12/2021   RE2        SCAN/COPY ( 12 @0.10 PER PG)       1.20
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 03/12/2021   RE2        SCAN/COPY ( 21 @0.10 PER PG)       2.10


 03/12/2021   RE2        SCAN/COPY ( 12 @0.10 PER PG)       1.20


 03/12/2021   RE2        SCAN/COPY ( 45 @0.10 PER PG)       4.50


 03/12/2021   RE2        SCAN/COPY ( 12 @0.10 PER PG)       1.20


 03/12/2021   RE2        SCAN/COPY ( 6 @0.10 PER PG)        0.60


 03/12/2021   RE2        SCAN/COPY ( 5 @0.10 PER PG)        0.50


 03/12/2021   RE2        SCAN/COPY ( 17 @0.10 PER PG)       1.70


 03/12/2021   RE2        SCAN/COPY ( 31 @0.10 PER PG)       3.10


 03/12/2021   RE2        SCAN/COPY ( 5 @0.10 PER PG)        0.50


 03/12/2021   RE2        SCAN/COPY ( 10 @0.10 PER PG)       1.00


 03/12/2021   RE2        SCAN/COPY ( 11 @0.10 PER PG)       1.10


 03/12/2021   RE2        SCAN/COPY ( 2 @0.10 PER PG)        0.20


 03/12/2021   RE2        SCAN/COPY ( 5 @0.10 PER PG)        0.50


 03/12/2021   RE2        SCAN/COPY ( 10 @0.10 PER PG)       1.00


 03/12/2021   RE2        SCAN/COPY ( 7 @0.10 PER PG)        0.70


 03/12/2021   RE2        SCAN/COPY ( 14 @0.10 PER PG)       1.40


 03/12/2021   RE2        SCAN/COPY ( 3 @0.10 PER PG)        0.30


 03/12/2021   RE2        SCAN/COPY ( 12 @0.10 PER PG)       1.20
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 03/12/2021   RE2        SCAN/COPY ( 27 @0.10 PER PG)        2.70


 03/12/2021   RE2        SCAN/COPY ( 8 @0.10 PER PG)         0.80


 03/12/2021   RE2        SCAN/COPY ( 42 @0.10 PER PG)        4.20


 03/12/2021   RE2        SCAN/COPY ( 22 @0.10 PER PG)        2.20


 03/12/2021   RE2        SCAN/COPY ( 14 @0.10 PER PG)        1.40


 03/12/2021   RE2        SCAN/COPY ( 15 @0.10 PER PG)        1.50


 03/12/2021   RE2        SCAN/COPY ( 7 @0.10 PER PG)         0.70


 03/12/2021   RE2        SCAN/COPY ( 31 @0.10 PER PG)        3.10


 03/12/2021   RE2        SCAN/COPY ( 6 @0.10 PER PG)         0.60


 03/12/2021   RE2        SCAN/COPY ( 6 @0.10 PER PG)         0.60


 03/12/2021   RE2        SCAN/COPY ( 6 @0.10 PER PG)         0.60


 03/12/2021   RE2        SCAN/COPY ( 22 @0.10 PER PG)        2.20


 03/12/2021   RE2        SCAN/COPY ( 7 @0.10 PER PG)         0.70


 03/12/2021   RE2        SCAN/COPY ( 37 @0.10 PER PG)        3.70


 03/12/2021   RE2        SCAN/COPY ( 32 @0.10 PER PG)        3.20


 03/12/2021   RE2        SCAN/COPY ( 12 @0.10 PER PG)        1.20


 03/12/2021   RE2        SCAN/COPY ( 168 @0.10 PER PG)      16.80


 03/12/2021   RE2        SCAN/COPY ( 3 @0.10 PER PG)         0.30
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 03/12/2021   RE2        SCAN/COPY ( 29 @0.10 PER PG)        2.90


 03/12/2021   RE2        SCAN/COPY ( 11 @0.10 PER PG)        1.10


 03/12/2021   RE2        SCAN/COPY ( 9 @0.10 PER PG)         0.90


 03/12/2021   RE2        SCAN/COPY ( 45 @0.10 PER PG)        4.50


 03/12/2021   RE2        SCAN/COPY ( 8 @0.10 PER PG)         0.80


 03/12/2021   RE2        SCAN/COPY ( 11 @0.10 PER PG)        1.10


 03/12/2021   RE2        SCAN/COPY ( 3 @0.10 PER PG)         0.30


 03/12/2021   RE2        SCAN/COPY ( 31 @0.10 PER PG)        3.10


 03/12/2021   RE2        SCAN/COPY ( 26 @0.10 PER PG)        2.60


 03/12/2021   RE2        SCAN/COPY ( 24 @0.10 PER PG)        2.40


 03/12/2021   RE2        SCAN/COPY ( 20 @0.10 PER PG)        2.00


 03/12/2021   RE2        SCAN/COPY ( 24 @0.10 PER PG)        2.40


 03/12/2021   RE2        SCAN/COPY ( 5 @0.10 PER PG)         0.50


 03/12/2021   RE2        SCAN/COPY ( 10 @0.10 PER PG)        1.00


 03/12/2021   RE2        SCAN/COPY ( 7 @0.10 PER PG)         0.70


 03/12/2021   RE2        SCAN/COPY ( 6 @0.10 PER PG)         0.60


 03/12/2021   RE2        SCAN/COPY ( 6 @0.10 PER PG)         0.60


 03/12/2021   RE2        SCAN/COPY ( 168 @0.10 PER PG)      16.80
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 03/12/2021   RE2        SCAN/COPY ( 8 @0.10 PER PG)        0.80


 03/12/2021   RE2        SCAN/COPY ( 3 @0.10 PER PG)        0.30


 03/12/2021   RE2        SCAN/COPY ( 8 @0.10 PER PG)        0.80


 03/12/2021   RE2        SCAN/COPY ( 35 @0.10 PER PG)       3.50


 03/12/2021   RE2        SCAN/COPY ( 14 @0.10 PER PG)       1.40


 03/12/2021   RE2        SCAN/COPY ( 19 @0.10 PER PG)       1.90


 03/12/2021   RE2        SCAN/COPY ( 7 @0.10 PER PG)        0.70


 03/12/2021   RE2        SCAN/COPY ( 15 @0.10 PER PG)       1.50


 03/12/2021   RE2        SCAN/COPY ( 6 @0.10 PER PG)        0.60


 03/12/2021   RE2        SCAN/COPY ( 13 @0.10 PER PG)       1.30


 03/12/2021   RE2        SCAN/COPY ( 10 @0.10 PER PG)       1.00


 03/12/2021   RE2        SCAN/COPY ( 11 @0.10 PER PG)       1.10


 03/12/2021   RE2        SCAN/COPY ( 2 @0.10 PER PG)        0.20


 03/12/2021   RE2        SCAN/COPY ( 3 @0.10 PER PG)        0.30


 03/12/2021   RE2        SCAN/COPY ( 16 @0.10 PER PG)       1.60


 03/12/2021   RE2        SCAN/COPY ( 32 @0.10 PER PG)       3.20


 03/12/2021   RE2        SCAN/COPY ( 12 @0.10 PER PG)       1.20


 03/12/2021   RE2        SCAN/COPY ( 12 @0.10 PER PG)       1.20
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 03/12/2021   RE2        SCAN/COPY ( 8 @0.10 PER PG)         0.80


 03/12/2021   RE2        SCAN/COPY ( 15 @0.10 PER PG)        1.50


 03/12/2021   RE2        SCAN/COPY ( 7 @0.10 PER PG)         0.70


 03/12/2021   RE2        SCAN/COPY ( 6 @0.10 PER PG)         0.60


 03/12/2021   RE2        SCAN/COPY ( 7 @0.10 PER PG)         0.70


 03/12/2021   RE2        SCAN/COPY ( 190 @0.10 PER PG)      19.00


 03/12/2021   RE2        SCAN/COPY ( 34 @0.10 PER PG)        3.40


 03/12/2021   RE2        SCAN/COPY ( 10 @0.10 PER PG)        1.00


 03/12/2021   RE2        SCAN/COPY ( 4 @0.10 PER PG)         0.40


 03/12/2021   RE2        SCAN/COPY ( 1 @0.10 PER PG)         0.10


 03/12/2021   RE2        SCAN/COPY ( 11 @0.10 PER PG)        1.10


 03/12/2021   RE2        SCAN/COPY ( 8 @0.10 PER PG)         0.80


 03/12/2021   RE2        SCAN/COPY ( 65 @0.10 PER PG)        6.50


 03/12/2021   RE2        SCAN/COPY ( 190 @0.10 PER PG)      19.00


 03/12/2021   RE2        SCAN/COPY ( 4 @0.10 PER PG)         0.40


 03/12/2021   RE2        SCAN/COPY ( 23 @0.10 PER PG)        2.30


 03/12/2021   RE2        SCAN/COPY ( 8 @0.10 PER PG)         0.80


 03/12/2021   RE2        SCAN/COPY ( 5 @0.10 PER PG)         0.50
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 03/12/2021   RE2        SCAN/COPY ( 12 @0.10 PER PG)       1.20


 03/12/2021   RE2        SCAN/COPY ( 7 @0.10 PER PG)        0.70


 03/12/2021   RE2        SCAN/COPY ( 12 @0.10 PER PG)       1.20


 03/12/2021   RE2        SCAN/COPY ( 21 @0.10 PER PG)       2.10


 03/12/2021   RE2        SCAN/COPY ( 2 @0.10 PER PG)        0.20


 03/12/2021   RE2        SCAN/COPY ( 5 @0.10 PER PG)        0.50


 03/12/2021   RE2        SCAN/COPY ( 7 @0.10 PER PG)        0.70


 03/12/2021   RE2        SCAN/COPY ( 53 @0.10 PER PG)       5.30


 03/12/2021   RE2        SCAN/COPY ( 7 @0.10 PER PG)        0.70


 03/12/2021   RE2        SCAN/COPY ( 8 @0.10 PER PG)        0.80


 03/12/2021   RE2        SCAN/COPY ( 8 @0.10 PER PG)        0.80


 03/12/2021   RE2        SCAN/COPY ( 32 @0.10 PER PG)       3.20


 03/12/2021   RE2        SCAN/COPY ( 5 @0.10 PER PG)        0.50


 03/12/2021   RE2        SCAN/COPY ( 42 @0.10 PER PG)       4.20


 03/12/2021   RE2        SCAN/COPY ( 14 @0.10 PER PG)       1.40


 03/12/2021   RE2        SCAN/COPY ( 32 @0.10 PER PG)       3.20


 03/12/2021   RE2        SCAN/COPY ( 4 @0.10 PER PG)        0.40


 03/12/2021   RE2        SCAN/COPY ( 16 @0.10 PER PG)       1.60
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 03/12/2021   RE2        SCAN/COPY ( 8 @0.10 PER PG)         0.80


 03/12/2021   RE2        SCAN/COPY ( 6 @0.10 PER PG)         0.60


 03/12/2021   RE2        SCAN/COPY ( 4 @0.10 PER PG)         0.40


 03/12/2021   RE2        SCAN/COPY ( 4 @0.10 PER PG)         0.40


 03/12/2021   RE2        SCAN/COPY ( 19 @0.10 PER PG)        1.90


 03/12/2021   RE2        SCAN/COPY ( 164 @0.10 PER PG)      16.40


 03/12/2021   RE2        SCAN/COPY ( 164 @0.10 PER PG)      16.40


 03/12/2021   RE2        SCAN/COPY ( 1 @0.10 PER PG)         0.10


 03/12/2021   RE2        SCAN/COPY ( 19 @0.10 PER PG)        1.90


 03/12/2021   RE2        SCAN/COPY ( 12 @0.10 PER PG)        1.20


 03/12/2021   RE2        SCAN/COPY ( 121 @0.10 PER PG)      12.10


 03/12/2021   RE2        SCAN/COPY ( 17 @0.10 PER PG)        1.70


 03/12/2021   RE2        SCAN/COPY ( 17 @0.10 PER PG)        1.70


 03/12/2021   RE2        SCAN/COPY ( 12 @0.10 PER PG)        1.20


 03/12/2021   RE2        SCAN/COPY ( 12 @0.10 PER PG)        1.20


 03/12/2021   RE2        SCAN/COPY ( 9 @0.10 PER PG)         0.90


 03/12/2021   RE2        SCAN/COPY ( 5 @0.10 PER PG)         0.50


 03/12/2021   RE2        SCAN/COPY ( 17 @0.10 PER PG)        1.70
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 03/12/2021   RE2        SCAN/COPY ( 10 @0.10 PER PG)                 1.00


 03/12/2021   RE2        SCAN/COPY ( 22 @0.10 PER PG)                 2.20


 03/12/2021   RE2        SCAN/COPY ( 108 @0.10 PER PG)               10.80


 03/12/2021   RE2        SCAN/COPY ( 14 @0.10 PER PG)                 1.40


 03/12/2021   RE2        SCAN/COPY ( 12 @0.10 PER PG)                 1.20


 03/12/2021   RE2        SCAN/COPY ( 27 @0.10 PER PG)                 2.70


 03/12/2021   RE2        SCAN/COPY ( 3 @0.10 PER PG)                  0.30


 03/12/2021   RE2        SCAN/COPY ( 7 @0.10 PER PG)                  0.70


 03/12/2021   RE2        SCAN/COPY ( 37 @0.10 PER PG)                 3.70


 03/12/2021   RE2        SCAN/COPY ( 22 @0.10 PER PG)                 2.20


 03/12/2021   RE2        SCAN/COPY ( 31 @0.10 PER PG)                 3.10


 03/12/2021   RE2        SCAN/COPY ( 12 @0.10 PER PG)                 1.20


 03/12/2021   RE2        SCAN/COPY ( 6 @0.10 PER PG)                  0.60


 03/15/2021   LN         36027.00002 Lexis Charges for 03-15-21      11.88


 03/15/2021   LN         36027.00002 Lexis Charges for 03-15-21       6.60


 03/15/2021   RE         ( 1 @0.10 PER PG)                            0.10


 03/15/2021   RE         ( 11 @0.10 PER PG)                           1.10


 03/15/2021   RE2        SCAN/COPY ( 20 @0.10 PER PG)                 2.00
Pachulski Stang Ziehl & Jones LLP                                                  Page: 114
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 03/15/2021   RE2        SCAN/COPY ( 5 @0.10 PER PG)                                   0.50


 03/15/2021   RE2        SCAN/COPY ( 11 @0.10 PER PG)                                  1.10


 03/15/2021   RE2        SCAN/COPY ( 58 @0.10 PER PG)                                  5.80


 03/15/2021   RE2        SCAN/COPY ( 28 @0.10 PER PG)                                  2.80


 03/15/2021   RE2        SCAN/COPY ( 21 @0.10 PER PG)                                  2.10


 03/15/2021   RE2        SCAN/COPY ( 12 @0.10 PER PG)                                  1.20


 03/15/2021   RE2        SCAN/COPY ( 34 @0.10 PER PG)                                  3.40


 03/15/2021   RE2        SCAN/COPY ( 1 @0.10 PER PG)                                   0.10


 03/15/2021   RE2        SCAN/COPY ( 5 @0.10 PER PG)                                   0.50


 03/15/2021   RE2        SCAN/COPY ( 28 @0.10 PER PG)                                  2.80


 03/15/2021   RE2        SCAN/COPY ( 5 @0.10 PER PG)                                   0.50


 03/15/2021   RE2        SCAN/COPY ( 5 @0.10 PER PG)                                   0.50


 03/15/2021   RE2        SCAN/COPY ( 5 @0.10 PER PG)                                   0.50


 03/15/2021   RE2        SCAN/COPY ( 5 @0.10 PER PG)                                   0.50


 03/15/2021   RE2        SCAN/COPY ( 5 @0.10 PER PG)                                   0.50


 03/16/2021   FE         36027.00002 FedEx Charges for 03-16-21                       16.70


 03/16/2021   FE         36027.00002 FedEx Charges for 03-16-21                       23.32


 03/16/2021   FF         Filing Fee [E112] USDC, District Court of New York, JAM      20.00
Pachulski Stang Ziehl & Jones LLP                                                  Page: 115
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 03/16/2021   FF         Filing Fee [E112] USBC, District Court of New York, GVD      16.00


 03/16/2021   LN         36027.00002 Lexis Charges for 03-16-21                       26.40


 03/16/2021   LN         36027.00002 Lexis Charges for 03-16-21                       19.80


 03/16/2021   OS         Clerk of the Supreme court of California, R. Mori             1.00


 03/16/2021   RE         ( 3 @0.10 PER PG)                                             0.30


 03/16/2021   RE2        SCAN/COPY ( 11 @0.10 PER PG)                                  1.10


 03/16/2021   RE2        SCAN/COPY ( 2 @0.10 PER PG)                                   0.20


 03/16/2021   RE2        SCAN/COPY ( 3 @0.10 PER PG)                                   0.30


 03/16/2021   RE2        SCAN/COPY ( 8 @0.10 PER PG)                                   0.80


 03/16/2021   RE2        SCAN/COPY ( 2 @0.10 PER PG)                                   0.20


 03/16/2021   RE2        SCAN/COPY ( 2 @0.10 PER PG)                                   0.20


 03/17/2021   BM         Business Meal [E111] Chodang Gol, working meal, GVD          29.38


 03/17/2021   LN         36027.00002 Lexis Charges for 03-17-21                       25.08


 03/17/2021   LN         36027.00002 Lexis Charges for 03-17-21                       18.48


 03/17/2021   RE         ( 60 @0.10 PER PG)                                            6.00


 03/17/2021   RE         ( 1 @0.10 PER PG)                                             0.10


 03/17/2021   RE2        SCAN/COPY ( 11 @0.10 PER PG)                                  1.10


 03/17/2021   RE2        SCAN/COPY ( 116 @0.10 PER PG)                                11.60
Pachulski Stang Ziehl & Jones LLP                                   Page: 116
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 03/17/2021   RE2        SCAN/COPY ( 89 @0.10 PER PG)                   8.90


 03/17/2021   RE2        SCAN/COPY ( 24 @0.10 PER PG)                   2.40


 03/17/2021   RE2        SCAN/COPY ( 11 @0.10 PER PG)                   1.10


 03/17/2021   RE2        SCAN/COPY ( 2 @0.10 PER PG)                    0.20


 03/17/2021   RE2        SCAN/COPY ( 58 @0.10 PER PG)                   5.80


 03/17/2021   RE2        SCAN/COPY ( 22 @0.10 PER PG)                   2.20


 03/17/2021   RE2        SCAN/COPY ( 24 @0.10 PER PG)                   2.40


 03/17/2021   RE2        SCAN/COPY ( 22 @0.10 PER PG)                   2.20


 03/17/2021   RE2        SCAN/COPY ( 22 @0.10 PER PG)                   2.20


 03/17/2021   RE2        SCAN/COPY ( 10 @0.10 PER PG)                   1.00


 03/17/2021   RE2        SCAN/COPY ( 30 @0.10 PER PG)                   3.00


 03/17/2021   RE2        SCAN/COPY ( 22 @0.10 PER PG)                   2.20


 03/18/2021   AT         Auto Travel Expense [E109] NYC Taxi, GVD      32.85


 03/18/2021   LN         36027.00002 Lexis Charges for 03-18-21         6.95


 03/18/2021   LN         36027.00002 Lexis Charges for 03-18-21        26.40


 03/18/2021   LN         36027.00002 Lexis Charges for 03-18-21        19.80


 03/18/2021   RE         ( 15 @0.10 PER PG)                             1.50


 03/18/2021   RE         ( 1 @0.10 PER PG)                              0.10
Pachulski Stang Ziehl & Jones LLP                        Page: 117
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 03/18/2021   RE         ( 2 @0.10 PER PG)                   0.20


 03/18/2021   RE2        SCAN/COPY ( 82 @0.10 PER PG)        8.20


 03/18/2021   RE2        SCAN/COPY ( 56 @0.10 PER PG)        5.60


 03/18/2021   RE2        SCAN/COPY ( 257 @0.10 PER PG)      25.70


 03/18/2021   RE2        SCAN/COPY ( 13 @0.10 PER PG)        1.30


 03/18/2021   RE2        SCAN/COPY ( 83 @0.10 PER PG)        8.30


 03/18/2021   RE2        SCAN/COPY ( 249 @0.10 PER PG)      24.90


 03/18/2021   RE2        SCAN/COPY ( 51 @0.10 PER PG)        5.10


 03/18/2021   RE2        SCAN/COPY ( 1 @0.10 PER PG)         0.10


 03/18/2021   RE2        SCAN/COPY ( 3 @0.10 PER PG)         0.30


 03/18/2021   RE2        SCAN/COPY ( 13 @0.10 PER PG)        1.30


 03/18/2021   RE2        SCAN/COPY ( 588 @0.10 PER PG)      58.80


 03/18/2021   RE2        SCAN/COPY ( 111 @0.10 PER PG)      11.10


 03/18/2021   RE2        SCAN/COPY ( 99 @0.10 PER PG)        9.90


 03/18/2021   RE2        SCAN/COPY ( 139 @0.10 PER PG)      13.90


 03/18/2021   RE2        SCAN/COPY ( 53 @0.10 PER PG)        5.30


 03/18/2021   RE2        SCAN/COPY ( 50 @0.10 PER PG)        5.00


 03/18/2021   RE2        SCAN/COPY ( 53 @0.10 PER PG)        5.30
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 03/18/2021   RE2        SCAN/COPY ( 50 @0.10 PER PG)        5.00


 03/18/2021   RE2        SCAN/COPY ( 161 @0.10 PER PG)      16.10


 03/18/2021   RE2        SCAN/COPY ( 178 @0.10 PER PG)      17.80


 03/18/2021   RE2        SCAN/COPY ( 7 @0.10 PER PG)         0.70


 03/18/2021   RE2        SCAN/COPY ( 2 @0.10 PER PG)         0.20


 03/18/2021   RE2        SCAN/COPY ( 3 @0.10 PER PG)         0.30


 03/18/2021   RE2        SCAN/COPY ( 3 @0.10 PER PG)         0.30


 03/18/2021   RE2        SCAN/COPY ( 1 @0.10 PER PG)         0.10


 03/18/2021   RE2        SCAN/COPY ( 6 @0.10 PER PG)         0.60


 03/18/2021   RE2        SCAN/COPY ( 5 @0.10 PER PG)         0.50


 03/18/2021   RE2        SCAN/COPY ( 6 @0.10 PER PG)         0.60


 03/18/2021   RE2        SCAN/COPY ( 10 @0.10 PER PG)        1.00


 03/18/2021   RE2        SCAN/COPY ( 395 @0.10 PER PG)      39.50


 03/18/2021   RE2        SCAN/COPY ( 404 @0.10 PER PG)      40.40


 03/18/2021   RE2        SCAN/COPY ( 67 @0.10 PER PG)        6.70


 03/18/2021   RE2        SCAN/COPY ( 127 @0.10 PER PG)      12.70


 03/18/2021   RE2        SCAN/COPY ( 50 @0.10 PER PG)        5.00


 03/18/2021   RE2        SCAN/COPY ( 55 @0.10 PER PG)        5.50
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 03/18/2021   RE2        SCAN/COPY ( 52 @0.10 PER PG)        5.20


 03/18/2021   RE2        SCAN/COPY ( 49 @0.10 PER PG)        4.90


 03/18/2021   RE2        SCAN/COPY ( 48 @0.10 PER PG)        4.80


 03/18/2021   RE2        SCAN/COPY ( 66 @0.10 PER PG)        6.60


 03/18/2021   RE2        SCAN/COPY ( 295 @0.10 PER PG)      29.50


 03/18/2021   RE2        SCAN/COPY ( 7 @0.10 PER PG)         0.70


 03/18/2021   RE2        SCAN/COPY ( 164 @0.10 PER PG)      16.40


 03/18/2021   RE2        SCAN/COPY ( 2 @0.10 PER PG)         0.20


 03/18/2021   RE2        SCAN/COPY ( 3 @0.10 PER PG)         0.30


 03/18/2021   RE2        SCAN/COPY ( 1 @0.10 PER PG)         0.10


 03/18/2021   RE2        SCAN/COPY ( 5 @0.10 PER PG)         0.50


 03/18/2021   RE2        SCAN/COPY ( 1 @0.10 PER PG)         0.10


 03/18/2021   RE2        SCAN/COPY ( 1 @0.10 PER PG)         0.10


 03/18/2021   RE2        SCAN/COPY ( 31 @0.10 PER PG)        3.10


 03/18/2021   RE2        SCAN/COPY ( 22 @0.10 PER PG)        2.20


 03/18/2021   RE2        SCAN/COPY ( 148 @0.10 PER PG)      14.80


 03/18/2021   RE2        SCAN/COPY ( 49 @0.10 PER PG)        4.90


 03/18/2021   RE2        SCAN/COPY ( 53 @0.10 PER PG)        5.30
Pachulski Stang Ziehl & Jones LLP                                                      Page: 120
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 03/18/2021   RE2        SCAN/COPY ( 1 @0.10 PER PG)                                       0.10


 03/18/2021   RE2        SCAN/COPY ( 1 @0.10 PER PG)                                       0.10


 03/18/2021   RE2        SCAN/COPY ( 1136 @0.10 PER PG)                                  113.60


 03/18/2021   RE2        SCAN/COPY ( 5 @0.10 PER PG)                                       0.50


 03/18/2021   RE2        SCAN/COPY ( 3 @0.10 PER PG)                                       0.30


 03/18/2021   RE2        SCAN/COPY ( 3 @0.10 PER PG)                                       0.30


 03/18/2021   RE2        SCAN/COPY ( 2 @0.10 PER PG)                                       0.20


 03/18/2021   RE2        SCAN/COPY ( 11 @0.10 PER PG)                                      1.10


 03/19/2021   FF         Filing Fee [E112] U.S. Court of Appeals, Fifth Circuit, JAM     238.00


 03/19/2021   LN         36027.00002 Lexis Charges for 03-19-21                            7.06


 03/19/2021   LN         36027.00002 Lexis Charges for 03-19-21                            7.24


 03/19/2021   LN         36027.00002 Lexis Charges for 03-19-21                           21.71


 03/19/2021   LN         36027.00002 Lexis Charges for 03-19-21                            7.31


 03/19/2021   LN         36027.00002 Lexis Charges for 03-19-21                           27.77


 03/19/2021   LN         36027.00002 Lexis Charges for 03-19-21                           26.40


 03/19/2021   LN         36027.00002 Lexis Charges for 03-19-21                           19.80


 03/19/2021   RE         ( 1 @0.10 PER PG)                                                 0.10


 03/19/2021   RE         ( 73 @0.10 PER PG)                                                7.30
Pachulski Stang Ziehl & Jones LLP                                         Page: 121
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 03/19/2021   RE         ( 9 @0.10 PER PG)                                    0.90


 03/19/2021   RE2        SCAN/COPY ( 37 @0.10 PER PG)                         3.70


 03/19/2021   RE2        SCAN/COPY ( 11 @0.10 PER PG)                         1.10


 03/20/2021   LN         36027.00002 Lexis Charges for 03-20-21              79.60


 03/20/2021   LN         36027.00002 Lexis Charges for 03-20-21              36.54


 03/20/2021   LN         36027.00002 Lexis Charges for 03-20-21             187.51


 03/20/2021   LN         36027.00002 Lexis Charges for 03-20-21              11.61


 03/21/2021   AT         Auto Travel Expense [E109] NYC Taxi, GVD            33.54


 03/21/2021   LN         36027.00002 Lexis Charges for 03-21-21              15.63


 03/21/2021   LN         36027.00002 Lexis Charges for 03-21-21               7.06


 03/21/2021   LN         36027.00002 Lexis Charges for 03-21-21              86.85


 03/21/2021   LN         36027.00002 Lexis Charges for 03-21-21              14.61


 03/21/2021   LN         36027.00002 Lexis Charges for 03-21-21              11.61


 03/21/2021   LN         36027.00002 Lexis Charges for 03-21-21              41.67


 03/21/2021   RE2        SCAN/COPY ( 18 @0.10 PER PG)                         1.80


 03/21/2021   RE2        SCAN/COPY ( 18 @0.10 PER PG)                         1.80


 03/21/2021   RE2        SCAN/COPY ( 16 @0.10 PER PG)                         1.60


 03/22/2021   BB         36027.00002 Bloomberg Charges through 03-22-21     134.60
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 03/22/2021   LN         36027.00002 Lexis Charges for 03-22-21      56.42


 03/22/2021   LN         36027.00002 Lexis Charges for 03-22-21       6.77


 03/22/2021   LN         36027.00002 Lexis Charges for 03-22-21      14.10


 03/22/2021   LN         36027.00002 Lexis Charges for 03-22-21      36.18


 03/22/2021   LN         36027.00002 Lexis Charges for 03-22-21      26.40


 03/22/2021   LN         36027.00002 Lexis Charges for 03-22-21      19.80


 03/22/2021   RE         ( 1 @0.10 PER PG)                            0.10


 03/22/2021   RE         ( 17 @0.10 PER PG)                           1.70


 03/22/2021   RE2        SCAN/COPY ( 116 @0.10 PER PG)               11.60


 03/22/2021   RE2        SCAN/COPY ( 20 @0.10 PER PG)                 2.00


 03/22/2021   RE2        SCAN/COPY ( 2 @0.10 PER PG)                  0.20


 03/22/2021   RE2        SCAN/COPY ( 8 @0.10 PER PG)                  0.80


 03/22/2021   RE2        SCAN/COPY ( 8 @0.10 PER PG)                  0.80


 03/22/2021   RE2        SCAN/COPY ( 20 @0.10 PER PG)                 2.00


 03/22/2021   RE2        SCAN/COPY ( 8 @0.10 PER PG)                  0.80


 03/22/2021   RE2        SCAN/COPY ( 13 @0.10 PER PG)                 1.30


 03/22/2021   RE2        SCAN/COPY ( 1 @0.10 PER PG)                  0.10


 03/22/2021   RE2        SCAN/COPY ( 2 @0.10 PER PG)                  0.20
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 03/22/2021   RE2        SCAN/COPY ( 116 @0.10 PER PG)      11.60


 03/22/2021   RE2        SCAN/COPY ( 6 @0.10 PER PG)         0.60


 03/22/2021   RE2        SCAN/COPY ( 5 @0.10 PER PG)         0.50


 03/22/2021   RE2        SCAN/COPY ( 12 @0.10 PER PG)        1.20


 03/22/2021   RE2        SCAN/COPY ( 2 @0.10 PER PG)         0.20


 03/22/2021   RE2        SCAN/COPY ( 15 @0.10 PER PG)        1.50


 03/22/2021   RE2        SCAN/COPY ( 10 @0.10 PER PG)        1.00


 03/22/2021   RE2        SCAN/COPY ( 4 @0.10 PER PG)         0.40


 03/22/2021   RE2        SCAN/COPY ( 16 @0.10 PER PG)        1.60


 03/22/2021   RE2        SCAN/COPY ( 18 @0.10 PER PG)        1.80


 03/22/2021   RE2        SCAN/COPY ( 8 @0.10 PER PG)         0.80


 03/22/2021   RE2        SCAN/COPY ( 13 @0.10 PER PG)        1.30


 03/22/2021   RE2        SCAN/COPY ( 16 @0.10 PER PG)        1.60


 03/22/2021   RE2        SCAN/COPY ( 2 @0.10 PER PG)         0.20


 03/22/2021   RE2        SCAN/COPY ( 1 @0.10 PER PG)         0.10


 03/22/2021   RE2        SCAN/COPY ( 1 @0.10 PER PG)         0.10


 03/22/2021   RE2        SCAN/COPY ( 18 @0.10 PER PG)        1.80


 03/22/2021   RE2        SCAN/COPY ( 1 @0.10 PER PG)         0.10
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 03/22/2021   RE2        SCAN/COPY ( 1 @0.10 PER PG)        0.10


 03/22/2021   RE2        SCAN/COPY ( 12 @0.10 PER PG)       1.20


 03/22/2021   RE2        SCAN/COPY ( 3 @0.10 PER PG)        0.30


 03/22/2021   RE2        SCAN/COPY ( 15 @0.10 PER PG)       1.50


 03/22/2021   RE2        SCAN/COPY ( 8 @0.10 PER PG)        0.80


 03/22/2021   RE2        SCAN/COPY ( 7 @0.10 PER PG)        0.70


 03/22/2021   RE2        SCAN/COPY ( 16 @0.10 PER PG)       1.60


 03/22/2021   RE2        SCAN/COPY ( 20 @0.10 PER PG)       2.00


 03/22/2021   RE2        SCAN/COPY ( 18 @0.10 PER PG)       1.80


 03/22/2021   RE2        SCAN/COPY ( 12 @0.10 PER PG)       1.20


 03/22/2021   RE2        SCAN/COPY ( 8 @0.10 PER PG)        0.80


 03/22/2021   RE2        SCAN/COPY ( 7 @0.10 PER PG)        0.70


 03/22/2021   RE2        SCAN/COPY ( 2 @0.10 PER PG)        0.20


 03/22/2021   RE2        SCAN/COPY ( 15 @0.10 PER PG)       1.50


 03/22/2021   RE2        SCAN/COPY ( 10 @0.10 PER PG)       1.00


 03/22/2021   RE2        SCAN/COPY ( 3 @0.10 PER PG)        0.30


 03/22/2021   RE2        SCAN/COPY ( 18 @0.10 PER PG)       1.80


 03/22/2021   RE2        SCAN/COPY ( 15 @0.10 PER PG)       1.50
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 03/22/2021   RE2        SCAN/COPY ( 2 @0.10 PER PG)         0.20


 03/22/2021   RE2        SCAN/COPY ( 4 @0.10 PER PG)         0.40


 03/22/2021   RE2        SCAN/COPY ( 8 @0.10 PER PG)         0.80


 03/22/2021   RE2        SCAN/COPY ( 6 @0.10 PER PG)         0.60


 03/22/2021   RE2        SCAN/COPY ( 2 @0.10 PER PG)         0.20


 03/22/2021   RE2        SCAN/COPY ( 8 @0.10 PER PG)         0.80


 03/22/2021   RE2        SCAN/COPY ( 15 @0.10 PER PG)        1.50


 03/22/2021   RE2        SCAN/COPY ( 116 @0.10 PER PG)      11.60


 03/22/2021   RE2        SCAN/COPY ( 31 @0.10 PER PG)        3.10


 03/22/2021   RE2        SCAN/COPY ( 31 @0.10 PER PG)        3.10


 03/22/2021   RE2        SCAN/COPY ( 4 @0.10 PER PG)         0.40


 03/22/2021   RE2        SCAN/COPY ( 7 @0.10 PER PG)         0.70


 03/22/2021   RE2        SCAN/COPY ( 6 @0.10 PER PG)         0.60


 03/22/2021   RE2        SCAN/COPY ( 1 @0.10 PER PG)         0.10


 03/22/2021   RE2        SCAN/COPY ( 2 @0.10 PER PG)         0.20


 03/22/2021   RE2        SCAN/COPY ( 4 @0.10 PER PG)         0.40


 03/22/2021   RE2        SCAN/COPY ( 43 @0.10 PER PG)        4.30


 03/22/2021   RE2        SCAN/COPY ( 12 @0.10 PER PG)        1.20
Pachulski Stang Ziehl & Jones LLP                                                      Page: 126
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 03/22/2021   RE2        SCAN/COPY ( 46 @0.10 PER PG)                                      4.60


 03/22/2021   RE2        SCAN/COPY ( 3 @0.10 PER PG)                                       0.30


 03/22/2021   RE2        SCAN/COPY ( 7 @0.10 PER PG)                                       0.70


 03/22/2021   RE2        SCAN/COPY ( 20 @0.10 PER PG)                                      2.00


 03/22/2021   RE2        SCAN/COPY ( 3 @0.10 PER PG)                                       0.30


 03/22/2021   RE2        SCAN/COPY ( 3 @0.10 PER PG)                                       0.30


 03/22/2021   RE2        SCAN/COPY ( 96 @0.10 PER PG)                                      9.60


 03/23/2021   FF         Filing Fee [E112] U.S. Court of Appeals, Fifth Circuit, HRW     238.00


 03/23/2021   LN         36027.00002 Lexis Charges for 03-23-21                           14.46


 03/23/2021   LN         36027.00002 Lexis Charges for 03-23-21                           26.40


 03/23/2021   LN         36027.00002 Lexis Charges for 03-23-21                           19.80


 03/23/2021   RE         ( 14 @0.10 PER PG)                                                1.40


 03/23/2021   RE         ( 1 @0.10 PER PG)                                                 0.10


 03/23/2021   RE         ( 19 @0.10 PER PG)                                                1.90


 03/23/2021   RE2        SCAN/COPY ( 43 @0.10 PER PG)                                      4.30


 03/23/2021   RE2        SCAN/COPY ( 11 @0.10 PER PG)                                      1.10


 03/23/2021   RE2        SCAN/COPY ( 15 @0.10 PER PG)                                      1.50


 03/23/2021   RE2        SCAN/COPY ( 11 @0.10 PER PG)                                      1.10
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 03/23/2021   RE2        SCAN/COPY ( 2 @0.10 PER PG)                               0.20


 03/23/2021   RE2        SCAN/COPY ( 2 @0.10 PER PG)                               0.20


 03/23/2021   RE2        SCAN/COPY ( 1 @0.10 PER PG)                               0.10


 03/23/2021   RE2        SCAN/COPY ( 2 @0.10 PER PG)                               0.20


 03/23/2021   RE2        SCAN/COPY ( 1 @0.10 PER PG)                               0.10


 03/23/2021   RE2        SCAN/COPY ( 11 @0.10 PER PG)                              1.10


 03/23/2021   RE2        SCAN/COPY ( 11 @0.10 PER PG)                              1.10


 03/23/2021   RE2        SCAN/COPY ( 11 @0.10 PER PG)                              1.10


 03/23/2021   RE2        SCAN/COPY ( 2 @0.10 PER PG)                               0.20


 03/23/2021   RE2        SCAN/COPY ( 2 @0.10 PER PG)                               0.20


 03/23/2021   RE2        SCAN/COPY ( 2 @0.10 PER PG)                               0.20


 03/23/2021   RE2        SCAN/COPY ( 3 @0.10 PER PG)                               0.30


 03/23/2021   RE2        SCAN/COPY ( 4 @0.10 PER PG)                               0.40


 03/23/2021   RE2        SCAN/COPY ( 5 @0.10 PER PG)                               0.50


 03/23/2021   TR         Transcript [E116] TSG Reporting, Inv. 20341441, JAM   1,276.80


 03/24/2021   AT         Auto Travel Expense [E109] JTL Management Cab, GVD       30.94


 03/24/2021   BM         Business Meal [E111] BCD Tofu House, working meal,       45.30
                         GVD


 03/24/2021   LN         36027.00002 Lexis Charges for 03-24-21                   31.22
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 03/24/2021   LN         36027.00002 Lexis Charges for 03-24-21       6.95


 03/24/2021   LN         36027.00002 Lexis Charges for 03-24-21      26.40


 03/24/2021   LN         36027.00002 Lexis Charges for 03-24-21      19.80


 03/24/2021   OS         5th Circuit CT/APP, GVD                    238.00


 03/24/2021   RE         ( 1 @0.10 PER PG)                            0.10


 03/24/2021   RE         ( 82 @0.10 PER PG)                           8.20


 03/24/2021   RE         ( 2 @0.10 PER PG)                            0.20


 03/24/2021   RE2        SCAN/COPY ( 39 @0.10 PER PG)                 3.90


 03/24/2021   RE2        SCAN/COPY ( 26 @0.10 PER PG)                 2.60


 03/24/2021   RE2        SCAN/COPY ( 11 @0.10 PER PG)                 1.10


 03/24/2021   RE2        SCAN/COPY ( 9 @0.10 PER PG)                  0.90


 03/24/2021   RE2        SCAN/COPY ( 16 @0.10 PER PG)                 1.60


 03/24/2021   RE2        SCAN/COPY ( 3 @0.10 PER PG)                  0.30


 03/24/2021   RE2        SCAN/COPY ( 11 @0.10 PER PG)                 1.10


 03/24/2021   RE2        SCAN/COPY ( 26 @0.10 PER PG)                 2.60


 03/24/2021   RE2        SCAN/COPY ( 3 @0.10 PER PG)                  0.30


 03/24/2021   RE2        SCAN/COPY ( 1 @0.10 PER PG)                  0.10


 03/24/2021   RE2        SCAN/COPY ( 4 @0.10 PER PG)                  0.40
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 03/24/2021   RE2        SCAN/COPY ( 3 @0.10 PER PG)                  0.30


 03/24/2021   RE2        SCAN/COPY ( 1 @0.10 PER PG)                  0.10


 03/24/2021   RE2        SCAN/COPY ( 19 @0.10 PER PG)                 1.90


 03/24/2021   RE2        SCAN/COPY ( 4 @0.10 PER PG)                  0.40


 03/24/2021   RE2        SCAN/COPY ( 11 @0.10 PER PG)                 1.10


 03/24/2021   RE2        SCAN/COPY ( 5 @0.10 PER PG)                  0.50


 03/24/2021   RE2        SCAN/COPY ( 17 @0.10 PER PG)                 1.70


 03/24/2021   RE2        SCAN/COPY ( 26 @0.10 PER PG)                 2.60


 03/24/2021   RE2        SCAN/COPY ( 5 @0.10 PER PG)                  0.50


 03/24/2021   RE2        SCAN/COPY ( 3 @0.10 PER PG)                  0.30


 03/24/2021   RE2        SCAN/COPY ( 19 @0.10 PER PG)                 1.90


 03/25/2021   LN         36027.00002 Lexis Charges for 03-25-21      26.40


 03/25/2021   LN         36027.00002 Lexis Charges for 03-25-21      19.80


 03/25/2021   RE         ( 1 @0.10 PER PG)                            0.10


 03/25/2021   RE         ( 12 @0.10 PER PG)                           1.20


 03/25/2021   RE         ( 37 @0.10 PER PG)                           3.70


 03/25/2021   RE         ( 8 @0.10 PER PG)                            0.80


 03/25/2021   RE2        SCAN/COPY ( 3 @0.10 PER PG)                  0.30
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 03/25/2021   RE2        SCAN/COPY ( 2 @0.10 PER PG)                  0.20


 03/25/2021   RE2        SCAN/COPY ( 2 @0.10 PER PG)                  0.20


 03/26/2021   LN         36027.00002 Lexis Charges for 03-26-21      26.40


 03/26/2021   LN         36027.00002 Lexis Charges for 03-26-21      19.80


 03/26/2021   RE         ( 1 @0.10 PER PG)                            0.10


 03/26/2021   RE         ( 3 @0.10 PER PG)                            0.30


 03/28/2021   LN         36027.00002 Lexis Charges for 03-28-21     195.42


 03/28/2021   LN         36027.00002 Lexis Charges for 03-28-21      58.46


 03/28/2021   LN         36027.00002 Lexis Charges for 03-28-21       7.31


 03/28/2021   LN         36027.00002 Lexis Charges for 03-28-21       7.74


 03/28/2021   LN         36027.00002 Lexis Charges for 03-28-21     108.03


 03/28/2021   LN         36027.00002 Lexis Charges for 03-28-21      34.84


 03/29/2021   FE         36027.00002 FedEx Charges for 03-29-21      85.73


 03/29/2021   LN         36027.00002 Lexis Charges for 03-29-21      21.15


 03/29/2021   LN         36027.00002 Lexis Charges for 03-29-21     202.66


 03/29/2021   LN         36027.00002 Lexis Charges for 03-29-21       3.87


 03/29/2021   LN         36027.00002 Lexis Charges for 03-29-21      90.27


 03/29/2021   LN         36027.00002 Lexis Charges for 03-29-21      61.96
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 03/29/2021   LN         36027.00002 Lexis Charges for 03-29-21      26.40


 03/29/2021   LN         36027.00002 Lexis Charges for 03-29-21      19.80


 03/29/2021   PO         Postage Charges                              7.16


 03/29/2021   PO         Postage Charges                             60.45


 03/29/2021   PO         Postage Charges                             76.16


 03/29/2021   RE2        SCAN/COPY ( 4 @0.10 PER PG)                  0.40


 03/29/2021   RE2        SCAN/COPY ( 2 @0.10 PER PG)                  0.20


 03/29/2021   RE2        SCAN/COPY ( 1 @0.10 PER PG)                  0.10


 03/29/2021   RE2        SCAN/COPY ( 1 @0.10 PER PG)                  0.10


 03/29/2021   RE2        SCAN/COPY ( 2 @0.10 PER PG)                  0.20


 03/29/2021   RE2        SCAN/COPY ( 4 @0.10 PER PG)                  0.40


 03/29/2021   RE2        SCAN/COPY ( 2 @0.10 PER PG)                  0.20


 03/29/2021   RE2        SCAN/COPY ( 3 @0.10 PER PG)                  0.30


 03/29/2021   RE2        SCAN/COPY ( 2 @0.10 PER PG)                  0.20


 03/29/2021   RE2        SCAN/COPY ( 4 @0.10 PER PG)                  0.40


 03/29/2021   RE2        SCAN/COPY ( 8 @0.10 PER PG)                  0.80


 03/29/2021   RE2        SCAN/COPY ( 3 @0.10 PER PG)                  0.30


 03/29/2021   RE2        SCAN/COPY ( 679 @0.10 PER PG)               67.90
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 03/29/2021   RE2        SCAN/COPY ( 1 @0.10 PER PG)         0.10


 03/29/2021   RE2        SCAN/COPY ( 1 @0.10 PER PG)         0.10


 03/29/2021   RE2        SCAN/COPY ( 1 @0.10 PER PG)         0.10


 03/29/2021   RE2        SCAN/COPY ( 1 @0.10 PER PG)         0.10


 03/29/2021   RE2        SCAN/COPY ( 4 @0.10 PER PG)         0.40


 03/29/2021   RE2        SCAN/COPY ( 1 @0.10 PER PG)         0.10


 03/29/2021   RE2        SCAN/COPY ( 1 @0.10 PER PG)         0.10


 03/29/2021   RE2        SCAN/COPY ( 1 @0.10 PER PG)         0.10


 03/29/2021   RE2        SCAN/COPY ( 4 @0.10 PER PG)         0.40


 03/29/2021   RE2        SCAN/COPY ( 1 @0.10 PER PG)         0.10


 03/29/2021   RE2        SCAN/COPY ( 26 @0.10 PER PG)        2.60


 03/29/2021   RE2        SCAN/COPY ( 1 @0.10 PER PG)         0.10


 03/29/2021   RE2        SCAN/COPY ( 27 @0.10 PER PG)        2.70


 03/29/2021   RE2        SCAN/COPY ( 2 @0.10 PER PG)         0.20


 03/29/2021   RE2        SCAN/COPY ( 16 @0.10 PER PG)        1.60


 03/29/2021   RE2        SCAN/COPY ( 11 @0.10 PER PG)        1.10


 03/29/2021   RE2        SCAN/COPY ( 15 @0.10 PER PG)        1.50


 03/29/2021   RE2        SCAN/COPY ( 155 @0.10 PER PG)      15.50
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 03/29/2021   RE2        SCAN/COPY ( 1 @0.10 PER PG)         0.10


 03/29/2021   RE2        SCAN/COPY ( 1 @0.10 PER PG)         0.10


 03/29/2021   RE2        SCAN/COPY ( 1 @0.10 PER PG)         0.10


 03/29/2021   RE2        SCAN/COPY ( 1 @0.10 PER PG)         0.10


 03/29/2021   RE2        SCAN/COPY ( 1 @0.10 PER PG)         0.10


 03/29/2021   RE2        SCAN/COPY ( 1 @0.10 PER PG)         0.10


 03/29/2021   RE2        SCAN/COPY ( 7 @0.10 PER PG)         0.70


 03/29/2021   RE2        SCAN/COPY ( 24 @0.10 PER PG)        2.40


 03/29/2021   RE2        SCAN/COPY ( 29 @0.10 PER PG)        2.90


 03/29/2021   RE2        SCAN/COPY ( 205 @0.10 PER PG)      20.50


 03/29/2021   RE2        SCAN/COPY ( 155 @0.10 PER PG)      15.50


 03/29/2021   RE2        SCAN/COPY ( 22 @0.10 PER PG)        2.20


 03/29/2021   RE2        SCAN/COPY ( 15 @0.10 PER PG)        1.50


 03/29/2021   RE2        SCAN/COPY ( 1 @0.10 PER PG)         0.10


 03/29/2021   RE2        SCAN/COPY ( 27 @0.10 PER PG)        2.70


 03/29/2021   RE2        SCAN/COPY ( 27 @0.10 PER PG)        2.70


 03/29/2021   RE2        SCAN/COPY ( 2 @0.10 PER PG)         0.20


 03/29/2021   RE2        SCAN/COPY ( 9 @0.10 PER PG)         0.90
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 03/29/2021   RE2        SCAN/COPY ( 4 @0.10 PER PG)                        0.40


 03/30/2021   LN         36027.00002 Lexis Charges for 03-30-21             7.06


 03/30/2021   LN         36027.00002 Lexis Charges for 03-30-21             7.24


 03/30/2021   LN         36027.00002 Lexis Charges for 03-30-21            26.40


 03/30/2021   LN         36027.00002 Lexis Charges for 03-30-21            19.80


 03/30/2021   RE         ( 46 @0.10 PER PG)                                 4.60


 03/30/2021   RE         ( 1 @0.10 PER PG)                                  0.10


 03/30/2021   RE         ( 5 @0.10 PER PG)                                  0.50


 03/30/2021   RE2        SCAN/COPY ( 13 @0.10 PER PG)                       1.30


 03/31/2021   BM         Business Meal [E111] Naya, working meal, GVD      22.01


 03/31/2021   LN         36027.00002 Lexis Charges for 03-31-21            14.10


 03/31/2021   LN         36027.00002 Lexis Charges for 03-31-21             3.77


 03/31/2021   LN         36027.00002 Lexis Charges for 03-31-21            86.85


 03/31/2021   LN         36027.00002 Lexis Charges for 03-31-21             7.31


 03/31/2021   LN         36027.00002 Lexis Charges for 03-31-21            36.54


 03/31/2021   LN         36027.00002 Lexis Charges for 03-31-21             6.95


 03/31/2021   LN         36027.00002 Lexis Charges for 03-31-21            19.36


 03/31/2021   LN         36027.00002 Lexis Charges for 03-31-21            26.40
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 03/31/2021   LN         36027.00002 Lexis Charges for 03-31-21      19.80


 03/31/2021   PAC        Pacer - Court Research                     422.70


 03/31/2021   PO         Postage Charges                            302.25


 03/31/2021   RE         ( 9 @0.10 PER PG)                            0.90


 03/31/2021   RE         ( 1 @0.10 PER PG)                            0.10


 03/31/2021   RE2        SCAN/COPY ( 5 @0.10 PER PG)                  0.50


 03/31/2021   RE2        SCAN/COPY ( 5 @0.10 PER PG)                  0.50


 03/31/2021   RE2        SCAN/COPY ( 5 @0.10 PER PG)                  0.50


 03/31/2021   RE2        SCAN/COPY ( 5 @0.10 PER PG)                  0.50


 03/31/2021   RE2        SCAN/COPY ( 5 @0.10 PER PG)                  0.50


 03/31/2021   RE2        SCAN/COPY ( 5 @0.10 PER PG)                  0.50


 03/31/2021   RE2        SCAN/COPY ( 5 @0.10 PER PG)                  0.50


 03/31/2021   RE2        SCAN/COPY ( 5 @0.10 PER PG)                  0.50


 03/31/2021   RE2        SCAN/COPY ( 5 @0.10 PER PG)                  0.50


 03/31/2021   RE2        SCAN/COPY ( 5 @0.10 PER PG)                  0.50


 03/31/2021   RE2        SCAN/COPY ( 5 @0.10 PER PG)                  0.50


 03/31/2021   RE2        SCAN/COPY ( 5 @0.10 PER PG)                  0.50


 03/31/2021   RE2        SCAN/COPY ( 5 @0.10 PER PG)                  0.50
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 03/31/2021   RE2        SCAN/COPY ( 5 @0.10 PER PG)            0.50


 03/31/2021   RE2        SCAN/COPY ( 5 @0.10 PER PG)            0.50


 03/31/2021   RE2        SCAN/COPY ( 5 @0.10 PER PG)            0.50


 03/31/2021   RE2        SCAN/COPY ( 32 @0.10 PER PG)           3.20


 03/31/2021   RE2        SCAN/COPY ( 1 @0.10 PER PG)            0.10


 03/31/2021   RE2        SCAN/COPY ( 5 @0.10 PER PG)            0.50


 03/31/2021   RE2        SCAN/COPY ( 5 @0.10 PER PG)            0.50


 03/31/2021   RE2        SCAN/COPY ( 5 @0.10 PER PG)            0.50


 03/31/2021   RE2        SCAN/COPY ( 5 @0.10 PER PG)            0.50


 03/31/2021   RE2        SCAN/COPY ( 5 @0.10 PER PG)            0.50


 03/31/2021   RE2        SCAN/COPY ( 8 @0.10 PER PG)            0.80


 03/31/2021   RE2        SCAN/COPY ( 7 @0.10 PER PG)            0.70


 03/31/2021   RE2        SCAN/COPY ( 3 @0.10 PER PG)            0.30


 03/31/2021   RE2        SCAN/COPY ( 19 @0.10 PER PG)           1.90


 03/31/2021   RE2        SCAN/COPY ( 55 @0.10 PER PG)           5.50

   Total Expenses for this Matter                       $13,687.50
